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                         ACCREDITATION STANDARDS
                                   and Related Policies

            SIGNIFICANT ADDITIONS & CHANGES 2011-2015
 2015
  Important Notes: NEW 1. Documentation
  Animal Care, Welfare, & Management NEW 1.4.0, 1.5.12
  Animal Care, Welfare, & Management REVISED 1.3.1, 1.3.2, 1.4.4, 1.4.7, 1.4.9
  Conservation REVISED 3.2.1
  Physical Facilities REVISED 10.2.2
  Safety/Security REVISED 11.1.2
  Related Policies: NEW Acquisitions, Transfers, and Transitions Policy; Maximizing
  Occupational Safety of Elephant Care Professionals At AZA-accredited and AZA-certified
  Facilities
  General Administrative Policies: NEW Accidents Resulting In Human Fatality , Mid-Cycle
    Inspections
  NEW Index
 2014
  Animal Care, Welfare, & Management REVISED 1.1.1, 1.5.4, 1.5.6, 1.5.7, 1.5.11, 1.6.1
  Safety/Security REVISED 11.8.1, General Administrative Policies
 2013
  Safety/Security REVISED 11.2.5, 11.7.1
 2012
  Animal Care, Welfare, & Management NEW 1.4.9, 1.5.1
  Animal Care, Welfare, & Management REVISED 1.2.1, 1.3.1, 1.3.2, 1.4.4, 1.5.2, 1.5.4, 1.5.5, 1.5.8,
    1.5.10, 1.6.1, 1.7.1
  Veterinary Care NEW 2.8.1
  Veterinary Care REVISED 2.1.1, 2.4.1, 2.5.1, 2.6.1, 2.6.2, 2.7.3
  Conservation REVISED 3.1.1, 3.2.1, 3.2.2, 3.3.2, 3.3.5
  Education & Interpretation REVISED 4.1.1, 4.2.1, 4.2.3, 4.2.4, 4.3.3
  Staff REVISED 7.4, 7.5, 7.7, 7.8
  Support Organization REVISED 8.2, 8.3
  Finance NEW 9.5; REVISED 9.4
  Physical Facilities NEW 10.1.2, 10.3.4; REVISED 10.1.1, 10.2.1, 10.3.1, 10.3.3
  Safety/Security NEW 11.2.2, 11.2.5, 11.7.2, 11.7.3, 11.7.4
  Safety/Security REVISED 11.1.2, 11.1.3, 11.2.3, 11.3.1, 11.3.2, 11.3.5, 11.3.6, 11.4.1, 11.6.1, 11.8.1
 2011
  Animal Care, Welfare, & Management REVISED 1.4.4, 1.4.7
  Staff NEW 7.11
  Support Organization REVISED 8.1




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            IMPORTANT NOTES & DEFINITIONS REGARDING THESE STANDARDS:
1. Documentation: Having proper documentation of programs, activities, and other occurrences is essential to
meeting these standards. If an institution is taking proper steps to comply with a standard but fails to document such
action, it will not be considered in compliance (for example, having determined that collectors have the necessary
permits, but having no documentation of this).

 2. Accreditation and certification standards: These standards are for accreditation applicants and
certification applicants alike. In the case of certification, an education program is not required, nor are standards
directly related to the presence of the visiting public. However, if the facility has an education program, and/or hosts
public groups on a regular basis, all related standards must be met.

3. Zoo or Aquarium Definition: For the purposes of AZA’s accreditation program, a zoological park
or aquarium is defined as: “a permanent institution which owns and maintains wildlife, under the direction of a
professional staff, provides its animals with appropriate care and exhibits them in an aesthetic manner to the public
on a regular basis. The institution, division, or section shall further be defined as having as their primary mission
the exhibition, conservation, and preservation of the earth’s fauna in an educational and scientific manner.” The
Accreditation Commission, and its agents, shall determine whether an institution meets the definition of a zoological
park or aquarium.

4. Related Facility Definition: For the purposes of AZA’s certification program, the Related Facility
membership category is defined as: “organizations holding wildlife that are not commercial entities, and are
not open to the public on a regularly scheduled, predictable basis. The facility shall be under the direction of a
professional staff trained in animal husbandry, and shall be further defined as having conservation and
preservation as part of its mission—a mission that shall have a beneficial, tangible, supportive impact on the
zoological and aquarium professions. This includes wildlife ranches, wildlife refuges or rehab centers, research
facilities, survival centers, breeding farms, and/or similar organizations.” The Accreditation Commission, and its
agents, shall determine whether a facility meets the definition of a related facility.

5. Other Definitions:

     AESTHETIC: pertaining to the beautiful.

     CEO/DIRECTOR: The person with the authority and responsibility for the operation of the institution: other
     titles may include president, chief executive officer, superintendent, supervisor, manager, or other similar title.

     CONSERVATION: Conservation is understood to be active stewardship of the natural environment,
     including wildlife, plants, energy and other natural resources.

     GOVERNING AUTHORITY: The agency which has authority for governing the operations of the institution:
     such may include city, county/provincial, or federal government bodies, or private corporation, foundation,
     society, or other similar entities.

     INSTITUTIONAL COLLECTION PLAN (ICP): An ICP is a document designed to thoughtfully assess the reasons
     for having each taxon in the collection. The ICP should be updated on a regular basis (minimally every 5 years).
     The ICP should include a statement of justification for all species and individuals in the institution's planned
     collection. The ICP should consider such criteria as status in the wild, status in zoos and aquariums, existence
     and priorities of cooperative management programs, ability to maintain the species in a physically,
     psychologically and socially healthy environment, exhibit value, exhibit suitability, need for husbandry and
     other research, recommendations stated in AZA TAG's Regional Collection Plans and any other issues specific to
     the institution's mission and vision.

     MODERN ZOOLOGICAL PRACTICES AND PHILOSOPHIES: practices and philosophies that are commonly
     accepted as the norm by the profession. The word “practices” represents the tangible while “philosophies” refers
     to an overall perspective.




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     PERMANENT (cultural institution): an institution founded by an authority which intends it to continue
     indefinitely.

     PROFESSIONAL STAFF: at least one paid full-time employee who commands an appropriate body of special
     knowledge and has the professional experience and ability to reach zoological park or aquarium management
     decisions consonant with the experience of peers and who has access to and knowledge of the literature of the
     field.

     REGULAR BASIS: regular hours, so that access is reasonably convenient to the public.

     WILDLIFE: non-domesticated animal life.

6. Authority: The Accreditation Commission, and its agents, shall determine if a facility is meeting standards, and
incorporating modern zoological practices and philosophies. The Visiting Committee is an arm of the Accreditation
Commission. However, the Accreditation Commission is the final authority in interpreting these standards.

7. Order of Sections: Placement of items in this document has no bearing on importance to accreditation
processing as all areas are considered pertinent for the operation of a professional institution.

8. Performance standards versus engineering standards: With few exceptions, AZA standards are primarily
performance standards (i.e., measuring the level of achievement considered acceptable to fulfill a performance
characteristic, and choice in method for meeting the goal). This differs from engineering standards, where exact and
precisely measured steps are required to fulfill an engineering characteristic, with little or no variation in method for
meeting the goal.

9. Subjectivity: Due to the large number of variables existing between institutions, some standards necessarily
allow for certain levels of subjectivity by both the Visiting Committee and the Accreditation Commission.




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                       Accreditation Standards


PREAMBLE

Zoos and aquariums accredited by the Association of Zoos & Aquariums (AZA) are
continuously evolving. A primary goal of AZA institutions is to achieve the highest
standard of welfare for the animals in our care. Standards are constantly being raised,
ensuring that animals in AZA institutions are receiving the best possible care from highly
qualified staff, in modern facilities that represent best practice in our profession. 21st
century AZA-accredited institutions and certified related facilities are expected to be
leaders in the field and to embrace the highest quality facilities, programs, and staff
available. Animals must be well cared for and housed in appropriate settings that
provide an educational experience for visitors, and meet the animals’ physical,
psychological, and social needs. Animals must be managed as appropriate for long-term
genetic viability of the species, which means careful planning of resource allocation, ex-
situ breeding, and ex-situ/in-situ conservation and research.

The phrase “modern zoological practices and philosophies” refers to practices and
philosophies that are commonly accepted as the norm by the profession. The word
“practices” represents the tangible while “philosophies” refers to an overall perspective.
AZA-accredited institutions and certified related facilities must be incorporating modern
zoological practices and philosophies as basic tenets.

All AZA accredited institutions and Certified Related facilities must follow all local, state, and
federal laws and/or regulations. Some AZA standards may be more stringent than existing
laws and/or regulations and, in these cases, the AZA standards must be met.

Primarily, AZA standards are performance standards (i.e., measuring the level of
achievement considered acceptable to fulfill a performance characteristic, and choice in
method for meeting the goal). This differs from engineering standards, where exact and
precisely measured steps are required to fulfill an engineering characteristic, with little or
no variation in method for meeting the goal.




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1. ANIMAL CARE, WELFARE, & MANAGEMENT


          General Considerations:


          Animal care, welfare and management are among the most critical and complex
          tasks performed by zoos and aquariums. Administration and management must
          be guided by modern professional principles establishing plans and procedures
          to execute those functions in addition to sustainable ex situ wildlife
          conservation.

          Providing excellent animal care and public education about wildlife results in
          direct and indirect contact between animals and humans, whether staff,
          volunteers, or visitors. Benefits of such contact are multifold. They include
          maximizing quality in healthcare, behavior management, and sanitation, along
          with the educational value of connecting an increasingly urban public to animals
          and nature. In doing this there are significant risks to consider as well, such as
          injury to animals and people, psychological stress, and potential transmission of
          infectious disease. It is important for all zoos and aquariums to strategically
          assess the benefits and risks of animal contact throughout their institutions, and
          to implement the best, most productive and safe human-animal interactions
          possible. (See standard 11.4.1, and pages 60 - 75 of these standards for further
          information.)




1.1. Local, State and Federal Wildlife Laws
     1.1.1.   The institution must comply with all relevant local, state/provincial, and federal wildlife laws
              and regulations. It is understood that, in some cases, AZA accreditation standards are more
              stringent than existing laws and regulations. In these cases the AZA standard must be met.

1.2. Animal Care Manuals
     1.2.1. As available, the institution must provide access for all animal care staff to all AZA Animal
            Care Manuals (ACMs) that have been approved by the AZA Board of Directors and that apply
            to species at the institution.

                Explanation: Institutions should regularly review the guidelines and suggestions within
                the ACMs, and tailor their animal care programs, protocols, and exhibits accordingly. A
                listing of Board-approved ACMs is available on AZA’s website at:
                http://www.aza.org/animal-care-manuals/. Institutions should check regularly for
                updates.

1.3. Documents and Policies
     1.3.1. The institution must have an Institutional Collection Plan (ICP). The ICP must be re-
            evaluated and updated at minimum every five years.

                 Explanation: The purpose of an ICP is to thoughtfully assess, on a regular basis, the
                 reason for having each taxon in the collection. The ICP should be pertinent and relative
                 to the size and nature of the institution. The ICP must include a statement of justification
                 for all species and individuals or groups in the institution’s planned collection. The ICP
                 must consider some, but not necessarily all, of the following criteria, in addition to others




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                that may be relevant: status in the wild, status in zoos and aquariums, existence and
                priorities of cooperative management programs, ability to maintain the species in a
                physically, psychologically, and socially healthy environment, exhibit value, exhibit
                suitability (may include climatic considerations), need for husbandry and other
                research, recommendations stated in AZA TAGs’ Regional Collection Plans, and any
                other issues specific to the institution’s mission and vision.

    1.3.2. The institution must have a written acquisitions, transfers, and transitions policy that, at
           minimum, incorporates all requirements contained in AZA’s Policy On Responsible
           Population Management: Acquisitions, Transfers, and Transitions By Zoos & Aquariums
           [AZA’s “ATT Policy”]. (See pages 80 - 86 of these standards for further information).

               Explanation: Animal acquisitions, transfers, and transitions policies (including breeding
               loans) should be continually reviewed to keep them current with all applicable laws
               and/or regulations. Such policies must also incorporate all policies and/or resolutions
               adopted by AZA regarding hunting ranches, animal auctions, research, pets, participation
               in SSPs, TAGs, and CAPs, and other issues involving the acquisition, transfer, or transition
               of wildlife.

               Records must be maintained for all transactions involving acquisition, transfer, or
               transition of animals to and from the institution and must include the terms of the
               transaction. In making the decision to transfer an animal(s) to a non-AZA accredited
               facility the AZA institution must document that the receiving institution is willing and
               able to provide proper care and welfare for the animal(s) and that the transfer is done in
               accordance with AZA’s ATT Policy.

               Copies of all relevant permits, importation papers, declaration forms, titles, and other
               appropriate documents establishing a paper trail of legal acquisition must be maintained
               (as detailed in AZA’s ATT Policy). When such information does not exist (the institution's
               maintenance of confiscated wildlife) an explanation must be provided regarding such
               animals.

1.4. Records
     1.4.0. The institution must show evidence of having a records management program for managing
            animal records, veterinary records, and other relevant information.

    1.4.1. An animal inventory must be compiled at least once a year and include data regarding
           acquisitions, transfers, and transitions at the institution.

    1.4.2. All species owned by the institution must be listed on the inventory, including those animals
           on loan to and from the institution. In both cases, notations should be made on the inventory.

    1.4.3. Animals must be identifiable, whenever practical, and have corresponding ID numbers. For
           animals maintained in colonies/groups or other animals not considered readily identifiable,
           the institution must provide a statement explaining how record keeping is maintained.

    1.4.4. Animal records, whether in electronic or paper form, must be duplicated and stored in a
           separate location. Animal records are defined as data, regardless of physical form or medium,
           providing information about individual animals, or samples or parts thereof, or groups of
           animals.

               Explanation: The institution must prevent records from being lost or destroyed in a
               catastrophe. A complete and up-to-date set of animal records must be duplicated and
               stored in separate locations (e.g., not in the same building, if kept on site). Consideration
               should be given to physical distance and natural hazards when selecting the separate
               location. Electronic systems are acceptable.




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    1.4.5. At least one set of the institution's historical animal records must be stored and protected.
           Those records should include permits, titles, declaration forms, and other pertinent
           information.

    1.4.6. A staff member must be designated as being responsible for the institution's animal record-
           keeping system. That person must be charged with establishing and maintaining the
           institution's animal records, as well as with keeping all animal care staff members apprised of
           relevant laws and regulations regarding the institution's animals.

    1.4.7. Animal records must be kept current.

                Explanation: For keepers and other line staff, event, identification, and husbandry
                information should be recorded in keeper reports or other written forms on the same day
                whenever possible, but no later than the day following. Registrars should enter
                acquisitions, transfers, and transitions data into the institutional records database (e.g.,
                ARKS/ZIMS/TRACKS, or other, etc.) within two weeks. Records must be kept for at least
                five years (or until the next accreditation cycle is completed). Prior to disposal of any
                animal record files (e.g., keeper reports), all pertinent information must be transferred to
                the animal's permanent historical file.

    1.4.8. The institution must have a record-keeping system that provides sufficient detail to enhance
           husbandry, breeding, conservation, and medical health advancements to move forward the
           critical knowledge of the species through permanent and retrievable documentation.

                Explanation: ISIS participation is recommended (not required) for all species, and
                especially for all endangered, CITES I, SSP, and studbook species.

    1.4.9. At least one member of an institution’s staff responsible for animal record-keeping should
           have the proper training.

                Explanation: AZA’s Institutional Records-Keeping course is one option to obtain
                appropriate training.

1.5. Animal Care and Welfare
      1.5.0. The animals in the institution should be representative of the mission statement of the
             institution.

    1.5.1. Animals should be presented in a manner reflecting modern zoological practices in exhibit
           design, balancing animals’ functional welfare requirements with aesthetic and educational
           considerations.

    1.5.2. All animals must be housed in enclosures and in appropriate groupings which meet their
           physical, psychological, and social needs. Wherever possible and appropriate, animals should
           be provided the opportunity to choose among a variety of conditions within their environment.
           Display of single animals should be avoided unless biologically correct for the species.

    1.5.3. If animal demonstrations are part of the institution's programs, an educational/conservation
           message must be an integral component.

    1.5.4. If ambassador animals are used, a written policy on the use of live animals in programs must
           be on file. An education, conservation, and welfare message must be an integral component of
           all programs. Animals in education programs must be maintained and cared for by trained
           staff, and housing conditions must meet standards required for the remainder of the animals
           in the institution. While outside their primary enclosure, although the conditions may be
           different, animal safety and welfare need to be ensured at all times.

                Explanation: As stated in the AZA Ambassador Animal Policy, the management of
                ambassador animals requires special consideration. Although the housing conditions for



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           ambassador animals may look different at times to those provided to exhibit animals,
           institutions must provide similar social, physical, behavioral and nutritional opportunities
           to ambassador animals. Overall, regular holding enclosures (this does not include short-
           term holding for programs or transport) for any given ambassador animal species should
           follow the same standards required for the same species on exhibit. Also, providing
           ambassador animals with choices and control over their environment (e.g., whether they
           want to participate in a program on any given day), where and when appropriate, is
           essential to ensuring effective care and management. Activities associated with programs
           may provide some of these needs from time to time.

1.5.5. For animals used in offsite programs and for educational purposes, the institution must have
       adequate protocols in place to protect the rest of the animals at the institution from exposure
       to infectious agents.

           Explanation: A veterinary risk assessment should be made when developing and
           implementing institution protocols to protect animal health in situations where education
           or institution animals are taken off site.

1.5.6. Institutions that include elephants in their collection must follow the AZA Standards For
       Elephant Management And Care.

1.5.7. The animals must be protected from weather or other environmental conditions clearly known
       to be detrimental to their health.

           Explanation: Animals must be provided with an environment in which they can acclimate
           sufficiently to remain healthy and support their well-being. For example, animals not
           normally exposed to cold weather in their natural habitats should be provided heated
           enclosures. Likewise, protection from excessive heat should be provided to animals
           normally living in cold climates.

1.5.8. The institution must develop a clear process for identifying, communicating, and addressing
       animal welfare concerns within the institution in a timely manner, and without retribution.

           Explanation: A committee or some other process must be identified to address staff
           concerns for animal welfare within the institution. The committee or process should
           include staff with the experience and authority necessary to evaluate and implement any
           necessary changes. Examples of Institutional Animal Welfare Processes can be obtained
           at http://www.aza.org/detail.aspx?id=16596 (you will be requested to log in using your
           individual membership user name and password).

1.5.9. The institution must have a regular program of monitoring water quality for fish, pinnipeds,
       cetaceans, and other aquatic animals. A written record must be maintained to document
       long-term water quality results and chemical additions.

            Explanation: Monitoring of selected water quality parameters will provide confirmation
            of the correct operation of filtration and disinfection of the water supply available for the
            animals. Additionally, high quality water enhances animal health programs instituted for
            aquatic animals.

1.5.10. Temporary, seasonal and traveling live animal exhibits (regardless of ownership or
        contractual arrangements) must meet the same accreditation standards as the institution’s
        permanent resident animals.




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1.5.11.   Animal transportation must be conducted in a manner that is safe, well-planned and
           coordinated, and minimizes risk to the animal(s), employees, and general public. All
           applicable laws and/or regulations must be adhered to.

                Explanation: Planning and coordination for animal transport requires good
                communication among all involved parties, plans for a variety of emergencies and
                contingencies that may arise, and timely execution of the transport. Safe animal
                transport requires the use of appropriate conveyance and equipment that is in good
                working order. The equipment must provide for the adequate containment, life support,
                comfort, temperature control, food/water, and safety of the animal(s). Safe transport also
                requires the assignment of an adequate number of appropriately trained personnel (by
                institution or contractor) who are equipped and prepared to handle contingencies and/or
                emergencies that may occur in the course of transport. At no time should the animal(s)
                or people be subjected to unnecessary risk or danger.

    1.5.12. Staff or volunteers assigned to handle animals during demonstrations or educational programs
            must be trained in accordance with the institution’s written animal handling protocols. Such
            training must take place before handling may occur.

1.6. Enrichment
     1.6.1. The institution must have a formal written enrichment and training program that promotes
            species-appropriate behavioral opportunities, and a training program that facilitates
            husbandry and veterinary procedures where appropriate.

                Explanation: An enrichment and training program should be based on current
                information in biology, and should include the following elements: goal-setting, planning
                and approval process, implementation, documentation/record-keeping, evaluation, and
                subsequent program refinement. The enrichment program should also apply to animals
                in quarantine, as appropriate and possible. Some birds, fish, reptiles, amphibians, and
                invertebrates may not require enrichment beyond the natural or social environment
                provided in their enclosure. Further information on the establishment of an enrichment
                program is available from AZA, and online at http://www.aza.org/detail.aspx?id=16596
                (you will be requested to log in using your individual membership user name and
                password).

     1.6.2. The institution must have a specific staff member(s) or committee assigned for enrichment
            program oversight, implementation, training, and interdepartmental coordination of
            enrichment efforts.

1.7. Commercial Collectors
      1.7.1. Institutions that acquire aquatic animals from the wild will make a good faith effort to
             determine that collecting procedures are done in a sustainable manner.

     1.7.2. Institutions dealing with commercial collectors must determine that the collectors are
            properly permitted to conduct legal collections of animals (including aquatic animals) from
            the wild.

                Explanation: The institution must be proactive in ensuring that any commercial collectors
                utilized are properly permitted to conduct legal collections of animals from the wild.




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2. VETERINARY CARE
     General Considerations:

     The institution should adopt the Guidelines for Zoo and Aquarium Veterinary
     Medical Programs and Veterinary Hospitals, and policies developed or
     supported by the American Association of Zoo Veterinarians (AAZV). The most
     recent edition of the medical programs and hospitals booklet is available at
     http://www.aazv.org/displaycommon.cfm?an=1&subarticlenbr=839, under
     “Publications”, and can also be obtained in PDF format by contacting AZA staff.


2.1. Staff
     2.1.1. A full-time staff veterinarian is recommended. In cases where such is not practical, a
            consulting/part-time veterinarian must be under written contract to make at least twice
            monthly inspections of the animals and to respond as soon as possible to any emergencies.

               Explanation: Because of their size or nature, exceptions may be made to the twice
               monthly inspection requirement for certain institutions (e.g., insects only, etc.).

    2.1.2. So that indications of disease, injury, or stress may be dealt with promptly, veterinary coverage
           must be available to the animals 24 hours a day, 7 days a week.

2.2. Pharmaceutical
     2.2.1. Written, formal procedures must be available to the animal care staff for the use of animal
            drugs for veterinary purposes, and appropriate security of the drugs must be provided.

               Explanation: Such procedures should include at minimum the following: those persons
               authorized to administer animal drugs, situations in which they are to be utilized, location
               of animal drugs and those persons with access to them, and emergency procedures in the
               event of accidental human exposure. Outdated drugs must be marked as such and stored
               separately from all other drugs. All controlled substances must be stored in a securely
               locked container of substantial construction appropriate for the types of drugs in the
               inventory. Carfentinel, Etorphine hydrochloride (M99), and Diprenorphine (M50-50)
               must be stored in a safe or steel cabinet equivalent to a U.S. Government Class V security
               container. [NOTE: Underwriters Laboratories (UL) listed burglary-resistant safe (UL-TL
               15, TL 30, or TL 45 with a Group 1-R lock). The safe or steel cabinet shall have the
               following specifications or the equivalent: 30 man-minutes against surreptitious entry, 10
               man-minutes against forced entry, 20 man-hours against lock manipulation, and 20 man-
               hours against radiological techniques.]

    2.2.2. The use of drugs in aquariums or aquatic exhibits must comply with FDA Guidelines.

               Explanation: The AZA has established an agreement with the Food and Drug
               Administration (FDA) resulting in a statement from the FDA indicating that it has no
               objection to the use of drugs in public zoos and aquariums under the supervision of a
               licensed veterinarian. The AZA agreed to implement measures designed to address
               specific concerns raised by the FDA regarding drug use and possible diversion to use with
               food fishes and the pet industry. The AZA membership appreciates the fact that the FDA
               understands that our institutions are primarily education and conservation organizations
               and that we require the use of drugs to keep our animals healthy. This agreement has
               been reviewed by AZA Institution directors, curators, and veterinarians and resulted in
               the procedures on page 76 of this booklet.




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2.3. Equipment
     2.3.1. Capture equipment must be in good working order and available to authorized, trained
            personnel at all times.

    2.3.2. Institution facilities should have radiographic equipment or have access to radiographic
           services.

2.4. Preventative Medicine
     2.4.1. The veterinary care program must emphasize disease prevention.

               Explanation: Preventative medicine programs (vaccinations, TB testing, parasite exams,
               etc.) must be in force for all of the institution’s animals and must be under the direction of
               a qualified veterinarian.

    2.4.2. Keepers should be trained to recognize abnormal behavior and clinical signs of illness and
           have knowledge of the diets, husbandry (including enrichment items and strategies), and
           restraint procedures required for the animals under their care. However, keepers should not
           diagnose illnesses nor prescribe treatment.

2.5. Necropsy
     2.5.1. Deceased animals should be necropsied to determine the cause of death. Cadavers must be
            stored in a dedicated storage area. Disposal after necropsy must be done in accordance with
            local/federal laws.

                Explanation: Necropsies performed on animals in the institution provide critical
                information as to the cause of death as well as underlying pathology that may be related
                to nutritional status or other aspects of husbandry. Causes of mortality, including
                necropsy data, should be reviewed on a regular basis in order to reveal any group health
                implications or necessary changes to animal management. In general, all animals that die
                in the institution should be necropsied. However, certain cases (e.g., mortalities of a
                group of individuals) may only require the examination of a smaller number of
                representative individuals.

2.6. Nutrition
     2.6.1. Animal food preparation and storage must meet all applicable laws and/or regulations.

    2.6.2. The institution should have a written nutrition program that meets the behavioral and
           nutritional needs of all species, individuals, and colonies/groups in the institution. Animal
           diets must be of a quality and quantity suitable for each animal’s nutritional and psychological
           needs.

                Explanation: Nutrition programs should be developed using the recommendations of
                appropriate AZA TAGs or SAGs, and the AZA Nutrition Advisory Group
                http://www.nagonline.net/Feeding%20Guidelines/feeding_guidelines.htm. Diet
                formulation criteria should include each animal’s individual history and natural history,
                feeding ecology and behavioral needs. Meat processed on site must be processed
                following all USDA (or federal) standards.

    2.6.3. The institution should assign at least one person to oversee appropriate browse material for
           the animals.

               Explanation: If the institution uses browse plants as part of the diet or as enrichment
               items for its animals, the items must be identified and reviewed for safety. The
               responsibility for approval of browse items and oversight of the program should be
               assigned to at least one qualified individual. The program should identify what plants are
               safe to feed and to which species, which parts of the plant are safe, whether the browse
               plants have been treated with any chemicals or if they are near any point sources of




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                pollution. If animals have access to plants in and around their exhibits, there should be a
                staff member responsible for ensuring that the animals are not exposed to toxic plants.

    2.6.4. If not in separate buildings, animal food preparation areas must be physically separated from
           other functions such as the animal hospital (including animal treatment, isolation, holding,
           deceased animal storage) and employee lounges. Animal food must not be stored in the same
           area as animal drugs. Animal food and human food must not be stored in the same location
           (refrigerators, freezers, etc.).

2.7. Quarantine
     2.7.1. The institution must have holding facilities or procedures for the quarantine of newly arrived
            animals and isolation facilities or procedures for the treatment of sick/injured animals.

    2.7.2. Written, formal procedures for quarantine must be available and familiar to all staff working
           with quarantined animals.

    2.7.3. Quarantine, hospital, and isolation areas should be in compliance with standards/guidelines
           contained within the Guidelines for Zoo and Aquarium Veterinary Medical Programs and
           Veterinary Hospitals developed by the American Association of Zoo Veterinarians (AAZV),
           which can be obtained at:
           http://www.aazv.org/associations/6442/files/veterinary_standards_2009_final.docx.

2.8. Pest Control
     2.8.1. Pest control management programs must be administered in such a manner that the animals,
            staff, and public are not threatened by the pests, contamination from pests, or the control
            methods used.


3. CONSERVATION

        General Considerations:

        Conservation efforts have been identified as a priority for AZA-accredited
        institutions. These include interpretive materials and programs, participation in
        AZA animal management programs, in-situ efforts, and resource support for
        cooperative conservation programs. Participation in conservation programs, to
        the extent appropriate, must be demonstrated.


3.1. Mission
    3.1.1. Conservation must be a key component of the institution’s mission.

                Explanation: Conservation is understood to be active stewardship of the natural
                environment, including wildlife, plants, energy, and other natural resources.

3.2. Conservation Program
     3.2.1. The institution must have a written conservation action plan/strategy in proportion to the size
            and scope of the organization. The plan shall include components outlining the institution’s
            commitments to its conservation practices:

                    ● Participation in AZA conservation programs (Could include SSPs, TAGS, Task
                      Forces)
                    ● Cooperative programs (Could include Local, Regional, National, International)
                    ● In-Situ conservation efforts (Could include Staff/field support, Financial support,
                      Capacity building)




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                     ● Natural resource conservation and sustainability (Could include water
                       conservation initiatives; energy use reduction and alternative sources; waste
                       management for recyclables, compostables, combustibles, and toxic and
                       hazardous materials; sustainable purchasing; green construction, and other green
                       practices
                     ● Education awareness programs for guests, staff, volunteers, supporters members,
                       and vendor/contractors
                     ● Education/awareness programs

                 Explanation: Each institution must participate in conservation activities that implement
                 its conservation action plan and include a variety of measurable and impactful
                 components. AZA institutions have the responsibility to demonstrate responsible
                 resource management and local/regional involvement in conservation activities, acting as
                 leaders in their communities. Partnering with other agencies/organizations on in-situ
                 conservation programs is one of the most significant ways AZA institutions can
                 demonstrate support of wild populations. Engaging guests in the complete scope of
                 conservation commitments of the institution is core to our missions.

    3.2.2. Each institution should evaluate/measure the impact of its conservation program/activities.

                Explanation: Some form of regular evaluation of conservation efforts should occur.
                Measurement of impact can include assessment of achievement of programmatic goals,
                actual measure of impact on species and habitat conservation, and/or some other
                quantitative measure of success.

3.3. Participation/Support
     3.3.1. The institution must participate in every SSP that pertains to an animal belonging to the
            institution. The institution may indicate at what level it desires to participate in each SSP.

    3.3.2. The institution must actively support and participate in AZA wildlife conservation programs,
           and cooperate in providing pertinent information on its animals in a timely fashion to sources
           such as studbook keepers, SSP species coordinators, TAGs, and CAPs.

                Explanation: To meet AZA’s primary goal of cooperative animal management and
                conservation, accredited facilities must participate in SSPs (see 3.3.1.), and should
                participate in other appropriate AZA programs. Such programs include the Taxon
                Advisory Groups (TAGs), Conservation Action Plans (CAPs), Scientific Advisory Groups
                (SAGs) and regional/international studbooks. Accredited facilities should encourage staff
                members to assume leadership roles in these programs.

    3.3.3. The institution must support wildlife conservation programs and AZA Animal Programs.

                Explanation: Such programs may include AZA’s Taxon Advisory Groups (TAGs),
                Conservation Action Plans (CAPs), Scientific Advisory Groups (SAGs),
                regional/international studbooks, the World Association of Zoos and Aquariums (WAZA),
                the Species Survival Commission (SSC), and the Conservation Breeding Specialist Group
                (CBSG), local universities, conservation organizations, etc.

    3.3.4. The institution must have involvement in regional or international conservation programs
           through staff or resources.

                Explanation: Conservation programs should aim to be multidisciplinary and involve at
                least some of the following: applied research, species recovery, conservation awareness
                and education, local community participation, establishment of protected areas, habitat
                restoration.




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4. EDUCATION AND INTERPRETATION


       General Considerations:

       This section includes all questions related to education and interpretation.
       Collectively, education and interpretation refer to: programming on-site and off-
       site for targeted audiences such as school groups, teachers and families, as well as
       all types of interpretive methods for guests, for example, graphics, exhibits,
       ambassador animal use, and docent/keeper talks. Institutions may differ
       organizationally in how they accomplish these tasks (e.g., some institutions may
       have an Exhibits Department, or graphics may be coordinated by the Art
       Department). What is key is the role of the education staff in the accomplishment
       of these tasks. Institutions are encouraged to share educational and interpretive
       programming, materials, and evaluation techniques with other AZA institutions.



4.1. Mission
     4.1.1. Education must be a key component of the institution’s mission.

                Explanation: Education is an important component in the conservation mission of each
                institution. Effective educational programming is a proven method of increasing
                awareness and participation in stewardship of the natural world.

4.2. Education Program
     4.2.1. The institution must have a written education plan that matches current industry standards,
            and that includes goals and objectives.

                Explanation: The institution’s education plan must include a copy of its education
                vision/mission, as well as strategic goals and objectives. The plan may include a copy of
                the organizational chart, and description of how the education department interacts with
                other departments on issues such as exhibit and graphics’ development, keeper
                presentations, in situ conservation programs, etc. The plan should include the
                institution’s conservation messages (preferably referencing the AZA Conservation
                Education Messages).

    4.2.2. The education department must be under the direction of a paid staff person who is trained or
           has experience in educational programming. Education personnel should be involved in the
           development of exhibits, graphics, and interpretation, as well as all structured programs for
           the visiting public.

    4.2.3. Institutions should participate in active, ongoing collaborative partnerships with
           organizations and individuals that can contribute to the expansion of their educational
           dimension. Such partnerships may include community groups, other informal education
           institutions (museums, science centers, nature centers, etc.), school districts, institutes of
           higher learning, other conservation organizations and government agencies.

    4.2.4. Institutions should provide staff access to informational resources with the goal of supporting
           excellence in programs, animal management, and exhibits. These resources may include a
           facility library, access to an offsite library or electronic access to internet resources.

4.3. Evaluation/Interpretation
     4.3.1. Exhibits, interpretive programs and other education programs should be evaluated on a
             regular basis for effectiveness and content. Programs should be updated with current
             scientific information. These programs should assess more than participant satisfaction,




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            looking also at program impact (ideally including impact on conservation-related knowledge,
            attitudes/affect, and behavior). Results from evaluations should be used to improve the
            existing programs and to create new programs.

    4.3.2. The institution should have a thorough understanding of the needs of its audiences and as
           such provide programs to meet these needs.

                Explanation: Zoo and aquarium education can be accomplished by programs offered to a
                wide variety of audiences and staff through an assortment of programmatic methods:
                publications, exhibit interpretation, on-site presentations, tours, summer camps,
                speaker's bureau, outreach programs, teacher training, etc. The institution need not
                reach ALL audiences equally, but a thoughtful approach to audience selection should be
                evident – e.g., a clear understanding of their audience’s needs, including the needs of
                under-represented groups and groups with special abilities. Similarly, not all types of
                programming must be used equally, but a thoughtful approach to program development
                must be evident. Programming should include local/global conservation issues and
                topics, the role of zoos and aquariums in conservation, information on AZA and other
                conservation-oriented organizations; as well as ways that the institution acts as a resource
                in its community for wildlife conservation education and related issues. Programming
                should clearly address cognitive, affective, and behavior outcomes (i.e., options for
                individual action that encourages stewardship in conserving the environment).

    4.3.3. The exhibit graphics and other interpretive devices should be in good condition and
           functioning, and be based upon current scientific knowledge and reflect current interpretive
           methods.

                Explanation: The interpretive program must be based on the thoughtful development of
                conservation messages for the institution, preferably including reference to the AZA
                Conservation Education Messages. Exhibit interpretation may include information
                regarding the animal’s natural history, conservation, care and welfare, ecology, relation to
                humans, correct taxonomic identification and current status (i.e. endangered or
                threatened), as well as botanical collections, and specific environmentally responsible
                behaviors visitors are being encouraged to take. In particular, inclusion of interpretation on
                AZA’s cooperative management programs (e.g., SSPs and TAGs) is strongly encouraged.



5. RESEARCH


       General Considerations:

       Contemporary animal management, husbandry, veterinary care and conservation
       practices should be based in science. A commitment to scientific research, both basic
       and applied, is a trademark of the modern zoological park and aquarium. An AZA
       accredited institution must have a demonstrated commitment to scientific research
       that is in proportion to the size and scope of its facilities, staff and animals. There
       must be a formal written research policy including a process for the evaluation and
       approval of scientific research project proposals.



5.1. Research activities must be under the direction of a person qualified to make informed decisions
     regarding research.




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5.2. The institution must have a written policy that outlines the type of research that it conducts,
     methods, staff involvement, evaluations, animals to be involved, and guidelines for publication of
     findings.

5.3. The institution should maximize the generation of scientific knowledge gained from the animals.
     This might be achieved by participating in AZA TAG/SSP sponsored research when applicable,
     conducting original research projects, affiliating with local universities, and/or employing staff with
     scientific credentials.



6. GOVERNING AUTHORITY
6.1. The governing authority must be supportive of the institution abiding by the AZA Accreditation
     Standards, Code of Professional Ethics, and Bylaws.

          Explanation: The Commission must be assured that the institution's governing authority
          understands and is supportive of the institution abiding by the AZA Accreditation Standards,
          Code of Professional Ethics, and Bylaws.

6.2. The governing authority must recognize and support the institution's goals and objectives.

6.3. The governing authority has the responsibility for policy matters and oversight of the institution. The
     CEO/Director must be responsible for the day-to-day management of the institution, including
    animal acquisitions, transfers, and transitions, staff, and programs.

6.4. While the governing authority may have input, the decisions regarding the institution’s animals must
     be made by the professionals who are specifically trained to handle the institution's animals, staff,
     and programs.

6.5. The lines of communication between the CEO/Director and the governing authority must be clearly
     defined. Additionally, the governing authority should be structured so that its relationship to the
     professional staff is clearly understood and followed.

          Explanation: If clear lines of communication do not exist, a breakdown in the operation of the
          institution and care of the animals could occur. It is essential to have a good working
          relationship between the governing authority, CEO/Director, and staff.

6.6. The CEO/Director should be an ex officio member of the governing authority board or have the
     opportunity to attend meetings that would affect operations of the institution.



7. STAFF
7.1. The institution must be under the direction of a compensated CEO/Director. The CEO/Director
     should be available to the institution on a full-time basis.

7.2. In the event a CEO/Director has several "jobs" (i.e., also directs other areas of a park system), clear
     priorities must be established, with each job having separate and distinct descriptions.

7.3. There must be an adequate number of trained staff to care for the animals and to conduct the
     institution's programs.

         Explanation: Although there is no set formula for prescribing the size of the staff, the number
         and type of species within the institution, the general condition of the animals and exhibits, and
         past staffing practices may be used to define what is considered "adequate."



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7.4. Staff compensation should be competitive with other similar organizations in the
     local/regional/national market, as appropriate.

         Explanation: Institutions must be able to recruit and retain qualified staff. Competitive
         compensation is a key component in staff recruitment and retention. Some positions can be
         successfully recruited for locally, while others are competitive on a more regional or national
         basis (e.g., animal care specialists).

7.5. Staff members should receive opportunities for continuing education and training programs.

          Explanation: All staff members institution-wide should be provided opportunities for training
          and professional development. Funding should be provided for travel, meeting/conference
          participation, tuition, on-line training, and other professional opportunities when possible.
          Staff may receive outside training from professional conferences and professional development
          courses, including taxon-specific training offered by various AZA TAGs, SSPs, advisory groups,
          and other professionals. The institution should be certain that outside professionals are well-
          informed and in agreement with best-practices established by AZA’s professional taxon-specific
          specialist groups. Continuing education opportunities can also be offered by qualified staff
          within the institution.

7.6. A professional attitude in the working relationship between staff members should be maintained so
     as to enhance the operations of the institution.

7.7. Staff members should be encouraged to actively participate in AZA programs, as well as other
     programs developed by conservation-oriented organizations, including through virtual means such
     as email, teleconference, etc.

7.8. Staff members must be provided access to the latest edition of the AZA accreditation
     standards and related policies (available at http://www.aza.org/accred-materials/)
     prior to processing for accreditation. The standards and related policies should be reviewed by
     institutional leadership annually to maintain continued compliance between accreditation visits.

         Explanation: It is also important that staff understand the significance of accreditation and
         what to expect during the accreditation process and Visiting Committee inspection.

7.9. The institution should have a staff diversity statement or program.

7.10.Programs utilizing volunteers/docents should also include provisions for recruitment, interviewing,
     retention, and training, and periodic evaluation. This process must be under the supervision of a
     staff member(s) charged with overseeing volunteer programs.

7.11. The institution's CEO/Director must hold individual membership in AZA at the Professional Fellow
      level.

         Explanation: In applying for accreditation, AZA-accredited institutions, along with their staff
         and their governing authority, agree to abide by AZA's: accreditation standards; Code of
         Professional Ethics; Bylaws; Acquisitions, Transfers, and Transitions Policy; all duly adopted
         resolutions and position statements; and to support AZA's objectives. To fulfill this commitment
         it is expected that an institution's senior executive (at minimum, i.e., zoo or aquarium
         CEO/Director) should participate in AZA at the Professional Fellow level. The CEO/Director of
         an institution that is not AZA-accredited at the time application is made must obtain individual
         membership as a Professional Fellow at such time as accreditation of the institution is granted.




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8. SUPPORT ORGANIZATION
8.1. The support organization must recognize the overall authority of the institution’s CEO/Director for
     the management of the institution and its programs.

         Explanation: The institution’s CEO/Director must have final authority over the support
         organization regarding the animals, exhibits, staff, programs, long-range plan, and any matters
         affecting the institution.

8.2. A support organization must share the institution's goals and objectives and provide
     resources/support for same.

         Explanation: A support organization must have a good working relationship with the institution
         and share its objectives.

8.3. A formal agreement must be in place that delineates the roles and responsibilities of the support
     organization. This agreement must be kept up to date, reflecting the most current relationship, and
     be adhered to in practice.



9. FINANCE
9.1. The institution, regardless of whether operating on a profit or nonprofit basis, must provide sufficient
     evidence of its financial stability by submitting complete financial reports, including an operating
     budget indicating that the financial support from the governing authority and/or support
     organization meets the needs of the institution.

         Explanation: Proof of financial support includes the submission of an operating budget
         reflecting sources of income, as well as expenses. In the case of financial reports other than
         audited statements, the Primary Reviewer or the Commission shall determine what constitutes
         sufficient evidence.

9.2. The financial information must include a breakdown of salaries or salary ranges for all full-time staff
     members.

9.3. Insurance coverage, via independent carrier or internal means, must be provided for visitors, staff,
     volunteers/docents, and physical facilities.

9.4. The institution should indicate sources of funding for capital improvements, maintenance, and major
     repairs and replacements.

         Explanation: Capital improvements, maintenance, and major repairs include renovations,
         maintenance of buildings/grounds/exhibits, new construction, and demolition of outdated
         structures.

9.5. The institution, regardless of whether operating on a profit or nonprofit basis, must have a written
     contingency plan in the event that significant decreases in operating income should occur.




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10. PHYSICAL FACILITIES

        General Considerations:

        While the Commission is interested in the institution's future plans,
        accreditation will be based upon operations and facilities existing at the time of
        the Visiting Committee inspection.

        All United States institutions must comply with the Americans with Disabilities Act.


10.1. Housekeeping, Improvements, and Maintenance
      10.1.1. Good housekeeping must be regularly practiced.

                Explanation: Pest control, proper drainage, clutter in work areas, excessive use of
                extension cords, “permanent” extension cords, and other housekeeping activities require
                continuous attention.

      10.1.2. The institution should have a capital improvements, maintenance, and major repair
              and replacement program.

                Explanation: Capital improvements, maintenance, and major repairs include
                renovations, maintenance of buildings, grounds, exhibits, new construction, and
                demolition of outdated structures.

10.2. Equipment
      10.2.1. Critical life-support systems for the animals, including but not limited to plumbing,
              heating, cooling, aeration, and filtration, must be equipped with a warning mechanism, and
              emergency backup systems must be available. All mechanical equipment must be kept in
              working order and should be under a preventative maintenance program as evidenced
              through a record-keeping system. Special equipment should be maintained under a
              maintenance agreement, or a training record should show that staff members are trained
              for specified maintenance of special equipment.

                Explanation: Facilities such as aquariums, tropical rainforest buildings, or other exhibits
                which rely on climate control for life-sustaining conditions must have emergency backup
                systems and a mechanism for warning if those systems are malfunctioning. The life-
                support assessment and warning mechanisms may be automated systems or may be
                monitored by qualified staff.

      10.2.2. Systems and methods for fire protection and security must be in place and functional to
              provide a reasonable level of safety for the animal collection on a 24-hour basis. Routine
              maintenance records that detail safety checks of the equipment should be kept current.

                Explanation: Any appropriate combination of night security, patrols, fire and smoke
                detection systems and alarms, monitors, or building design features can be used.
                Compliance with local building codes is required, including fire extinguishers, sprinkler
                systems, etc.

10.3. Animal Enclosures
      10.3.1. Lighting must be sufficient in all indoor facilities, including night houses, so that
              maintenance can be accomplished and animals can be observed. If animals are housed
              either long-term or permanently in indoor facilities, the appropriate UV spectrum for the
              species (based on the knowledge available to date) should be provided in these enclosures.
              A means for emergency lighting must be available.




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      10.3.2. Ventilation must be sufficient in all indoor facilities, including animal holding.

      10.3.3. All animal enclosures (exhibits, holding areas, hospital, and quarantine/isolation) must be
              of a size and complexity sufficient to provide for the animal’s physical, social, and
              psychological well-being; and exhibit enclosures must include provisions for the behavioral
              enrichment of the animals. AZA housing guidelines outlined in the Animal Care Manuals
              should be followed.

      10.3.4. When sunlight is likely to cause overheating of or discomfort to the animals, sufficient
              shade (in addition to shelter structures) must be provided by natural or artificial means to
              allow all animals kept outdoors to protect themselves from direct sunlight.

10.4. Public Areas
      10.4.1. Lighting in public areas must be sufficient for the safe maneuvering of the visiting public.

      10.4.2. All walkways must be kept in good repair.



11. SAFETY/SECURITY
11.1. General
      11.1.1. The institution must be in compliance with all applicable laws and/or regulations regarding
              employee training for safety in the workplace.

    11.1.2. Training and procedures must be in place regarding zoonotic diseases.

                Explanation: Diseases that can be transmitted between animals and humans (Zoonotic
                disease, zoonoses) present a potential risk for both zoo staff and the visiting public. The
                institution should design facilities, develop animal care protocols and present animals for
                public contact in ways that minimize this risk (e.g., hand-washing or hand sanitizing
                stations and signage, where applicable, etc.). Institutions must train appropriate staff in
                methods to prevent zoonotic disease. The National Association of State Public Health
                Veterinarians (NASPHV) has prepared a Compendium of Measures to Prevent Disease
                Associated with Animals in Public Settings which should be followed by institutions
                presenting animals for public contact.
                http://www.nasphv.org/documentsCompendiumAnimals.html


    11.1.3. A tuberculin (TB) testing/surveillance program must be established for appropriate staff in
            order to ensure the health of both the employees and the animals. Each institution must have
            an employee occupational health and safety program.

                Explanation: An effective occupational health and safety program is based on hazard
                identification and risk assessment. The nature of the program will depend upon
                animal species, potential hazards, facility design, and workplace activities. The extent
                and level of employee participation (e.g. vaccinations, TB testing, parasite exams,
                immunizations, personal protective equipment, etc.) will vary depending upon
                potential hazard exposure and risk management.

    11.1.4. A written policy for the handling and storage of toxic/hazardous materials must be available
            to all staff working with those materials, and staff must be trained in the proper handling of
            those materials.

    11.1.5. Safety Data Sheets (SDS) must be located in areas for easy access by employees.




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11.2. Emergency Procedures
      11.2.1. The institution should have an automated emergency defibrillator (AED) and provide training
              to appropriate staff.

    11.2.2. The institution should have appropriate alarms and fire extinguishers readily available and
            provide training to appropriate staff.

    11.2.3. The institution must have a written plan available to staff for first-aid and other various
            health emergencies and provide training to appropriate staff.

    11.2.4. All emergency procedures must be written and provided to staff and, where appropriate, to
            volunteers. Appropriate emergency procedures must be readily available for reference in the
            event of an actual emergency.

    11.2.5. Live-action emergency drills must be conducted at least once annually for each of the four
            basic types of emergency (fire; weather/environment appropriate to the region; injury to staff
            or a visitor; animal escape). Four separate drills are required. These drills must be recorded
            and evaluated to determine that procedures are being followed, that staff training is effective,
            and that what is learned is used to correct and/or improve the emergency procedures.
            Records of these drills must be maintained and improvements in the procedures documented
            whenever such are identified. (See 11.5.2 and 11.7.4 for other required drills.)

                Explanation: Emergency drills determine if institution staff are aware of emergency
                procedures, and understand their respective duties and responsibilities. Emergency drills
                enable the institution to identify potential areas that could cause problems in the case of
                an actual emergency. The institution must have in place appropriate emergency
                procedures to handle the four basic types of emergencies identified above, and
                procedures for additional types of emergencies to which the institution may be
                particularly vulnerable. Staff must be trained in these procedures, and records of such
                training must be maintained.

                A drill is defined as a training exercise that physically re-creates an emergency situation
                and response outside the circumstances of an actual emergency. Results stemming from
                an actual emergency are of interest, and should be appropriately analyzed, but cannot be
                counted as a drill for accreditation purposes. These live-action drills may be
                supplemented (not replaced) with table-top drills or other emergency preparedness
                scenarios.

    11.2.6. The institution must have a communication system that can be quickly accessed in case of an
            emergency.

                Explanation: There should be immediate access to designated persons in case of an
                emergency via walkie/talkie, pager, mobile telephone, intercom, telephone, alarm, or
                other electronic devices.

    11.2.7. A written protocol should be developed involving local police or other emergency agencies
            and include response times to emergencies.

11.3. Facilities/Animal Exhibits
      11.3.1. All animal exhibits and holding areas must be secured to prevent unintentional animal egress.

                Explanation: Particular attention must be given to shift doors, gates, and keeper access
                doors (as well as double-door safe entry systems), and exhibit barrier dimensions and
                construction, to provide for staff and public safety. Locking or latching mechanisms are
                necessary to meet this standard for dangerous animals.




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    11.3.2. All exhibit service areas must be safely lighted, free of debris and other hazards, and provide
            space to allow for safe servicing. Also, service exit doors must be clearly marked and in good
            working order. All locks and shift doors must be in good working order.

    11.3.3. Special attention must be given to free-ranging animals so that no undue threat is posed to
            either the institution’s animals, the free-ranging animals, or the visiting public. Animals
            maintained where they will be in contact with the visiting public must be carefully monitored,
            and treated humanely at all times.

    11.3.4. Electrical service in all wet environments, aquatic exhibits, and associated service areas must
            be equipped with ground fault circuit interrupters (GFI).

    11.3.5. All public access areas must be equipped with exit signs. Doors must be unobstructed, open
            outward, and be equipped with emergency hardware.

    11.3.6. In areas where the public is not intended to have contact with animals, some means of
            deterring public contact with animals (e.g., guardrails/barriers) must be in place.

11.4. Risk Management
      11.4.1. A written risk management plan must be developed and implemented.

                Explanation: Risk management is defined as identification and assessment of potential
                risk for injury/harm to the visiting public and employees, and mitigating or preventing
                injury or harm via best-practice methods. Examples of risk to employees include
                potential contact with any of the institution’s animals, wet floors and poor lighting and
                ventilation in work areas, poorly constructed/planned exhibit service areas, cluttered
                work space, inadequate training, animal shift mechanisms not in proper repair, and
                potential contact with narcotic drugs and used hypodermic needles.

                Examples of risk to the visiting public include human-animal contact, wet floors, poor
                lighting, insufficient barrier fencing, cracks and/or holes in visitor walkways, condition of
                handrails, steps and walkways, rotted wood, etc. Such potential hazards must be
                minimized whenever possible.

                While recognizing potential benefits of human-animal contact, the institution’s risk
                management plan should follow best practices to protect humans (staff, visitors, etc.)
                from potential injury or disease resulting from physical contact with animals. The plan
                should include an assessment, and determination of those species and individual animals
                with which staff, volunteers, and visitors may, or must not, have direct or indirect contact.

11.5. Dangerous Animals
      11.5.1. Institutions maintaining venomous animals must have appropriate antivenin readily available,
              and its location must be known by all staff members working in those areas. An individual
              must be responsible for inventory, disposal/replacement, and storage of antivenin.

                Explanation: It is the responsibility of the institution to verify that appropriate antivenins
                are available locally for all venomous species maintained at their institution, and for
                which antivenin is produced. Institutions may rely on the antivenin supply of local
                hospitals and treatment facilities, but it is also the institution’s responsibility to guarantee
                that these inventories are maintained adequately. Such arrangements must be
                documented.

    11.5.2. All areas housing venomous animals, or animals which pose a serious threat of catastrophic
            injury and/or death (e.g. large carnivores, large reptiles, medium to large primates, large
            hoofstock, killer whales, sharks, venomous animals, and others, etc.) must be equipped with
            appropriate alarm systems, and/or have protocols and procedures in place which will notify
            staff in the event of a bite injury, attack, or escape from the enclosure. These systems and/or



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            protocols and procedures must be routinely checked to insure proper functionality, and
            periodic drills must be conducted to insure that appropriate staff members are notified. (See
            11.2.5 and 11.7.4 for other required drills.)

    11.5.3. Institutions maintaining potentially dangerous animals (e.g. large carnivores, large reptiles,
            medium to large primates, large hoofstock, killer whales, sharks, venomous animals, and
            others, etc.) must have appropriate safety procedures in place to prevent attacks and injuries
            by these animals. Appropriate response procedures must also be in place to deal with an
            attack resulting in an injury. These procedures must be practiced routinely per the
            emergency drill requirements contained in these standards. Whenever injuries result from
            these incidents, a written account outlining the cause of the incident, how the injury was
            handled, and a description of any resulting changes to either the safety procedures or the
            physical facility must be prepared and maintained for five years from the date of the incident.

11.6. Security/Firearms
      11.6.1. Adequate security systems must be provided on a 24-hour, year-round basis.

                Explanation: The Commission recognizes that all institutions may not be able to
                provide security personnel on a 24-hour basis; however, every attempt should be
                made to provide security when the institution is closed to the visiting public. Security
                responsibilities should include regular rounds of the entire institution to detect
                problems. If it is impractical to provide security personnel, the Commission may
                approve the use of electronic systems or other security measures.

    11.6.2. Security personnel, whether staff of the institution, or a provided and/or contracted service,
            must be trained to handle all emergencies in full accordance with the policies and procedures
            of the institution. In some cases, it is recognized that Security personnel may be in charge of
            the respective emergency (i.e. shooting teams).

    11.6.3. Stored firearms must be in a locked cabinet of sufficient construction and design to impede
            unauthorized entry, and located in a secure area and accessible only to authorized personnel
            trained in their use.

                Explanation: Personnel authorized to utilize firearms should have professional
                training and regular practice.

11.7. Diving
      11.7.1. Institutions which utilize underwater diving with compressed air (SCUBA or surface-
              supplied) as a part of regular operations and/or maintenance shall meet minimal operational
              safety standards for such diving. Such institutions must comply with applicable laws and
              regulations for their location and follow standards mandated by the Federal Occupational
              Safety and Health Administration (OSHA).

                Explanation: Underwater diving programs range in complexity from intermittent exhibit
                maintenance to bona fide in situ scientific diving. Additionally, recreational diving in the
                form of “pay to dive with…” programs may be offered to zoo and aquarium visitors.
                Institutions should make an assessment of their individual underwater diving
                components in order to determine which OSHA standard (commercial diving, scientific
                diving, recreational diving) is most appropriate for that aspect of the institution’s
                underwater diving program.

    11.7.2. Institutions which utilize underwater diving with compressed air (SCUBA or surface-
            supplied) as a part of regular operations and/or maintenance must appoint a dive safety
            officer with the credentials, responsibilities, and authority to fulfill that role.

                Explanation: Underwater diving programs vary in their complexity, work load, size, and
                function from institution to institution. The qualifications of the dive safety officer must




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                 be commensurate with the nature of the institution’s dive program. The dive safety
                 officer’s responsibilities must be structured such that she/he is familiar with and capable
                 of assessing dive safety.

    11.7.3. Institutions which utilize underwater diving with compressed air (SCUBA or surface-
            supplied) as a part of regular operations and/or maintenance must have a dive manual which
            has, as one of its components, a section on diving safety.

    11.7.4. Institutions which utilize underwater diving with compressed air (SCUBA or surface-
            supplied) as a part of regular operations and/or maintenance must conduct at least one live-
            action emergency dive safety drill annually. These drills must be recorded and evaluated to
            ensure that procedures are being followed, that staff training is effective, and that what is
            learned is used to correct and/or improve the emergency procedures. Records of these drills
            must be maintained and improvements in the procedures duly noted whenever such are
            identified. (See 11.2.5 and 11.5.2 for other required drills.)

                 Explanation: at least one live-action drill is required annually. Additional
                 practice exercises may consist of a variety of activities, including discussions,
                 tabletop simulations, or actual drills. A drill is defined as a training exercise that
                 physically re-creates an emergency situation and response outside the
                 circumstances of an actual emergency. Results stemming from an actual
                 emergency are of interest, but may not be counted as a drill for accreditation
                 purposes.

11.8. Perimeter Fence
      11.8.1. Perimeter fencing must be separate from all exhibit fencing or other enclosures, and be of
              good quality and construction. All facilities must be enclosed by a perimeter fence which is at
              least 8' in height or by a viable barrier. The fence must be constructed so that it protects the
              animals in the facility by restricting animals outside the facility and unauthorized persons
              from going through it or under it and having contact with the animals in the facility, and so
              that it can function as a secondary containment system for the animals in the facility.

                 Explanation: There are rare instances where the terrain surrounding the facility provides
                 a viable barrier. The Accreditation Commission will determine what constitutes a “viable
                 barrier” and must approve a waiver. However, most facilities must be enclosed by a
                 perimeter fence. Facilities located in rural areas and which are PPEQ-approved must
                 meet special USDA standards for fencing. Institutions which are entirely enclosed within
                 a building may be exempt from this requirement.




12. GUEST SERVICES

      General Considerations:

      All United States institutions must comply with the Americans with Disabilities Act.




12.1. The institution must provide accessibility and public amenities for all visitors, and should address
      the needs of both children and adults.

          Explanation: Each institution must consider accessibility for all visitors as improvements are
          made.




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12.2. The institution must have certain basic facilities to accommodate guests, including restrooms,
      drinking fountains, food facilities, and rest areas.

12.3. The institution should have common conveniences for guests, including sufficient parking, gift
      facilities, institution trail maps, unobstructed and visible directional signage, etc.

12.4. The institution must present to the visiting public a positive, professional, and aesthetically pleasing
      environment.



13. OTHER PROGRAMS/ACTIVITIES
13.1. The institution should have a strategic master plan to guide the institution in its development.

13.2. The institution should have a facilities master plan to guide the institution in its development.


Rev: 09/14




     NOTE:    For General Administrative Policies of the AZA Accreditation
     Commission, please see pages 92 - 97 of this booklet.




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                 AZA Standards for Elephant Management and Care
                                Approved March 2011, Revised April 2012

This revision of the Standards includes new information from AZA’s policy on Maximizing
Occupational Safety of Elephant Care Professionals at AZA-accredited and AZA-certified
Facilities which was distributed on August 15, 2011. At the time of this revision, there are
several pending objectives on which the AZA Elephant TAG/SSP Steering Committee and
the AZA Professional Development Committee are currently working. Over the next four
years as these objectives are completed, the Standards will be reviewed annually and, if
necessary, revised to include new information and new standardized protocols and forms.

The Standards below are written to focus on a results-based assessment. They will serve as
a guide for institutions to measure their success in managing and caring for their
elephants and for AZA accreditation inspectors to measure the success of the programs.
Thus, in addition to each Standard, there is a Measurement and an Explanation to assist
with understanding and meeting each Standard.

The ultimate goals of these Standards are to provide the safest work environment for
elephant care professionals and to provide the highest quality of elephant management
and care which will result in excellent overall elephant well-being in our institutions.
Ultimately, the success of AZA’s elephant care programs will allow AZA institutions to
contribute to elephant conservation and ensure that elephants are in our future for
generations to come.

1. Abiotic Environmental Variables (address both exhibit and off-exhibit holding)

1.1    Temperature

Standard – Outdoor – Daytime: All elephants must have access to shade when they are exposed to
direct sunlight. Water suitable for drinking or bathing must be available daily or at greater frequency as
needed to meet the elephant’s cooling needs in the ambient environment.

Measurement: No instances of frostbite, heatstroke, sunburn, illnesses or elephant deaths related to
environmental temperature/weather exposure.

Explanation: Water, mud, dust, soil or sand must be available for elephants to dust themselves to assist
with thermoregulation. Sufficient sheltered areas must be provided to protect elephants from adverse
weather. When sunlight is likely to cause overheating or discomfort of elephants, sufficient shade by
natural or artificial means shall be provided to allow all elephants protection from direct sunlight. Shade
areas must be provided to assure that all individuals can have access to shade when desired and that
subordinate elephants are not excluded from the shade. Elephants exposed to temperatures below 40°F
(5°C) for longer than 60 minutes, must be monitored hourly to assess the potential for hypothermia. If
needed to prevent hypothermia, supplemental heat, an area of direct sunlight protected from
wind/precipitation, access to indoor barn stalls or other options for thermal management must be
provided for the elephants.

Standard – Outdoor – Nighttime: Elephants kept outdoors when temperatures are under 40°F (5°C)
overnight, must be provided with supplementary heat and adequate shelter from adverse weather.

Measurement: No instances of frostbite, illnesses or elephant deaths related to environmental
temperature/weather exposure.

Explanation: Institutions should consider designing exhibits that allow elephants outdoor access as
much as possible – weather, health, and safety permitting. Elephants kept outdoors can tolerate
moderate temperature extremes if they have been acclimatized to the ambient conditions. Multiple




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sheltered areas must be provided to ensure that all elephants have sufficient access to shelter and
protection from the elements. Facilities may install outdoor heat sources to extend the amount of time the
elephants are able to remain outside. Radiant or forced air heating are examples of acceptable heat. There
may be a need to provide supplemental heat for young or compromised elephants at temperatures above
40°F (5°C).

Standard – Indoor: Indoor holding areas must be able to be heated to a minimum temperature of at
least 55°F (13°C) at all times of the year. One room must be capable of maintaining a temperature of at
least 70°F (21°C) and be free of drafts for accommodating sick or debilitated elephants. Care should be
taken to control excessive heat indoors. At elevated indoor temperatures, the use of fans, cross-
ventilation, access to water, cool substrate, allowing elephants access to an outside area or other cooling
measures must be employed as needed.

Measurement: No instances            of   illnesses   or   elephant   deaths    related   to   environmental
temperature/weather exposure.

Explanation: Elephants should be provided with the opportunity to thermoregulate themselves as
much as possible.

1.2        Humidity and Ventilation

Standard: There are no standards for humidity or ventilation at this time.

Measurement: Not applicable

Explanation: There are no standards for humidity or ventilation at this time.

1.3        Illumination - Light intensity, spectral, and duration requirements

Standard: Ample lighting must be provided for staff to work safely around the elephants day or night.

Measurement: When staff are working around or interacting with the elephants, the elephants should
be able to be clearly seen and their movements/behavior observed at all times within their indoor
enclosures. Adequate light must be provided to monitor the safe use of all equipment (ERD) and the
movement of all doors and gates.

Explanation: Natural daylight cycles are adequate for elephants, even in temperate regions. When kept
indoors for extended periods, fluorescent, or incandescent lights provide a sufficient spectrum of
illumination. Skylights, in addition to interior lighting, are effective and recommended.

1.4        Facilities

1.4.1.       Space requirements, behavioral repertoire, and complexity

1.4.1.1.     Indoor space

Standard: Indoor facilities must provide adequate room for elephants to move about and lie down
without restriction. Appropriate space should be available to allow elephants to be separated either
through individual stalling or through the use of restraints (See 3.3.2.7). Indoor housing for both males
and females must be designed to accommodate an elephant that can reach up to 24 ft (7.3 m) vertically.
All ceilings, wire, pipes, etc. must be out of reach or adequately protected.

Measurement: If there are elephant behavioral, social, or medical issues shown to be caused by
insufficient space, there must be a program in place (from a programmatic and/or facility perspective) to
address the issue.




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Explanation: For facilities in climates that require elephants to be indoors for significant amounts of
time, it is highly recommended that larger interior common spaces be developed to enhance social
interactions and allow for greater movement and diversity of space during inclement weather conditions
as well as overnight. Minimum recommended stall space (i.e. temporary holding, overnight, etc) is not
less than 600 sq ft (56 sq m) for males or females with calves, and not less than 400 sq ft (37 sq m) for
females.

1.4.1.2.    Outdoor space

Standard: Outdoor habitats must provide sufficient space and environmental complexity to both allow
for and stimulate natural behavioral activities and social interactions resulting in healthy and well-
adapted elephants.

Measurement: If there are elephant behavioral, social, or medical issues shown to be caused by
insufficient space, there must be a program in place (from a programmatic and/or facility perspective) to
address the issue.

Explanation: Space is one of the most difficult measures to standardize. There is no scientific data
which clearly indicates the amount of space needed for an elephant to be healthy and well adjusted. It is
the quality of the overall programmatic approach to good elephant management and the quality of the
space from an elephant perspective that determines adequacy of the facility, not simply the square footage
of the environment. Thus, if the elephants are healthy and socially adapted, then whatever is being
provided meets the standard. It is inaccurate to say that because a facility has a certain amount of space,
then it has good elephant management. Recommended minimum size for outdoor habitats is not less than
5400 sq ft (500 sq m) per elephant using the habitat.

1.4.1.3.    Behavior

Standard: The facility and program provides a complex physical and social environment which
stimulates natural behaviors, social interactions and activity levels resulting in healthy, well-adapted
elephants.

Measurement: The elephants are physically healthy and socially well-adapted without aberrant
behavior or excessive aggression within the social group.

Explanation: There is no current data to indicate what amount of activity, or what daily walking
distance is most appropriate for optimal elephant welfare. The basic needs may be different for each
elephant. Since the goal is healthy, socially well-adapted elephants, how it is achieved is less important
than that it is achieved.

1.4.1.4 .   New exhibits and renovations

Standard: All institutions planning new construction for elephants or modifying existing elephant
facilities must include holding space for adult males in their construction/renovation plans. All new
construction and major renovations must be designed in a manner that minimizes the regular need for
tethering.

Measurement: Review the facilities submitted commitment to be either a holding, holding/breeding or
breeding facility and review their plans to ensure compliance with the AZA Elephant Vision and
Commitment statements.

Explanation: AZA’s commitment to elephants will only be successful if all facilities live up to their
commitment in the ability to hold males and comply with TAG breeding recommendations.

1.4.2.      Minimum inter-individual distances that will influence size of space




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Standard: There are no standards for minimum inter-individual distances that will influence size of
space at this time.

Measurement: Not applicable.

Explanation: See 2.2.2.2. Facility must have sufficient structures for all elephants to participate in all
ranges of natural behaviors. Elephants are a social species and herds often perform activities together,
such as feeding, drinking, walking, resting, and wallowing.

1.4.3.    Furnishings to accommodate an array of locomotive and foraging behaviors as
well as resting and sleeping

Standard: See 1.4.1

Measurement: See 1.4.1

Explanation: A key consideration in the design of elephant habitats is the promotion of species-
appropriate behaviors. Enrichment opportunities should be integral parts of both indoor and outdoor
enclosures. Outdoor areas should encourage locomotion for exercise and natural footwear. Rocks, tree
stumps, or large sturdy objects must be provided in the exhibit so that the elephants may use them for
rubbing and scratching. The use of both wet and dry wallows is encouraged to assist with skin care and
protection against the sun and biting insects. The AZA Elephant Exhibit Design Resource has extensive
information on facility design and enrichment activities.

1.4.4.      Visual, acoustic, and olfactory barriers within the space

Standard: The design of indoor and outdoor enclosures must contain areas where elephants can
exercise and socialize together, and avoid socializing if/when desired.

Measurement: Determine the level of choice the elephants have to join or separate themselves from
other elephants.

Explanation: Barriers within and between exhibits should allow some degree of auditory, olfactory, and
tactile contact between separated herd members as appropriate at their choice.

1.4.5.     Substrates and nesting/bedding materials

1.4.5.1.    Outdoor

Standard: Outdoor habitat surfaces must consist primarily of natural substrates (e.g., soil, sand, grass)
that provide good drainage. Enclosures must be made up of a variety of substrates.

Measurement: Elephant feet are in good condition and need only periodic pad and nail trimming.
Excessive buildup of dead skin is not apparent and dusting materials are available for the elephants.

Explanation: Providing a variety of soft substrates will promote behaviors, such as foraging, wallowing,
bathing, digging, and resting. The use of both wet and dry wallows is encouraged to assist with skin care
and protection against the sun and biting insects. Elephants can lie on mounds of earth. Providing a
combination of hard substrates to promote normal wear of footpads and soft substrates, such as earth and
sand, to promote dust bathing is preferred.

1.4.5.2     Indoor

Standard: Substrate must be able to be cleaned daily and must be quick to dry. Hard floor surfaces
must be relatively smooth to prevent excessive pad wear, but not so smooth that they become slippery
when wet.




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Measurement: Interior floors are cleaned daily and dry within two hours of cleaning. No excessive pad
wear due to floor roughness and no elephant injuries due to slipping on the floors.

Explanation: Many institutions are experimenting with the use of sand in place of some cement stall
floor surfaces. Some institutions use barn stall mats, straw, or shavings for insulation and/or to provide a
softer surface for elephants to stand or lie on. In new construction and renovations, consideration should
be made for incorporation of natural, changeable substrates indoors.

1.4.6.      Provision of change and variation in the environment

Standard: All holding institutions must have a written environmental enrichment plan for their
elephants and show evidence of implementation (See 4.3). An effective enrichment program includes the
rotation of exhibit furniture and enrichment initiatives on a regular schedule, and based on the elephants’
behavior, maximizes the stimulation offered by these exhibit features (See 1.4.5.1).

Measurement: Enrichment plan and records of daily enrichment activities should be reviewed (See
1.4.5.1 and 4.3).

Explanation: A varied terrain provides more complexity in the environment as well as exercise
opportunities, such as walking, turning, reaching, stretching, climbing, bending, digging, pushing, pulling,
and lifting. Providing a variety of soft substrates will promote behaviors such as foraging, wallowing,
bathing, digging, and resting.

1.4.7.   Cleaning related to issues like scent-marking, that may influence how and how
often space is cleaned.

Standard: There are currently no scent-marking issues identified for elephants that influence cleaning.

Measurement: Not applicable.

Explanation: Enclosures, both indoor and outdoor, must be cleaned of excrement daily. Frequent daily
manure removal is recommended and may be necessary for both sanitary and aesthetic reasons.

1.4.8.     Air or water changes/hour required

Standard: See 1.2 and 1.5.2

Measurement: See 1.2 and 1.5.2

Explanation: Indoor ventilation systems for elephants should provide enough fresh air to meet the
respiration needs of the elephants, control moisture build-up within the structure, and move enough air to
dilute airborne disease organisms. The recommended ventilation for indoor housing for elephants is 4-6
air changes per hour.

1.4.9.     Identify necessary measures for safety and containment

1.4.9.1  Containment
Standard: Elephant containment barriers must be sufficient to prevent elephant escapes.

Measurement: There should be no failure of barriers.

Explanation: A recommended minimum height of walls, cables and horizontal railings for adult
elephants is 8 ft (2.4 m). The use of electric fences is not sufficient as a primary containment barrier. A
wide variety of building materials can be used for elephant containment barriers. The barriers must be
safe for the elephants, must be able to withstand an elephant’s strength, must contain the elephant in a
specific space, and must prohibit direct contact between elephants and the visitors. Recommended
materials for barriers include solid concrete, rock walls or horizontal steel rails, pipe or cable.




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1.4.9.2     Barriers (Standard applicable beginning September 1, 2014)
Standard: All institutions must have in place and be implementing adequate infrastructure to manage
and care for elephants with barriers and/or restraints in place to increase employee safety. If a facility
cannot meet this standard, it must apply for a variance after describing its plan to meet the standard to
the Accreditation Commission. No variances shall be granted after June 1, 2017.

Measurement: Adequate infrastructure exists and is used by elephant care providers to care for their
elephants without sharing the same unrestricted space with the elephants, except in certain, well-defined
circumstances.

Explanation: AZA is committed to maximizing the safety of elephant care staff.

1.4.9.3     Dry moats

Standard: The use of dry moats with steep sides and hard bottoms as primary containment should be
limited.

Measurement: A written elephant extraction protocol must be in place for facilities employing moats
out of which an elephant cannot easily climb.

Explanation: Dry moats can pose a substantial threat to elephants, especially those out of which an
elephant cannot easily climb. Where present, moats should be wide enough for an elephant to turn
around, have a soft, dry bottom, and should include a gradually sloped ramp so that the elephant can
easily climb out of the moat or ditch.

1.4.9.4     Doors and gates

Standard: Doors and gates must be in good condition and must be engineered to withstand an
elephant’s strength.

Measurement: All doors and gates must operate properly and contain elephants. No elephant injuries
or keeper injuries because of hydraulic or electrically-powered door operation.

Explanation: Door and gate design is extremely important to ensure the safety of both elephants and
keeper staff. If hydraulic or electrically powered drives are used to operate doors or gates, there must be a
manual back-up system or a back-up generator in place in case of failure. Door operation must be
continually monitored with a direct line of sight or with video the entire time the door is in motion in
order to prevent elephant or keeper injury.

1.4.9.5    General exhibit considerations

Standard: Ceiling and fixture heights (e.g., lights, heating units, plumbing, etc.) must be built so that
elephants do not harm themselves or damage the facility.

Measurement: There should be no elephant injuries due to poor design or insufficient heights of
ceilings and fixtures.

Explanation: Mature elephants can reach a vertical height of 24 ft (7.3 m).

1.4.9.6     Safety assessment program

Standard: Each elephant-holding institution must have an established method of regularly evaluating
its elephant facility and program safety. The institution must document and be able to demonstrate how
this established program assesses safety on a regular and consistent basis and how safety issues are
resolved. Facilities shall conduct safety evaluations at least semi-annually.

Between August 15, 2011 and January 1, 2012, each institution must have performed one semi-
annual program safety assessment.



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Between August 15, 2011 and January 1, 2012, each institution must have specifically addressed its
elephant program in the risk management policy required by AZA Accreditation Standard 11.4.1.

Measurement: Program and facility safety evaluations and safety issue resolutions are documented. All
identified safety issues are resolved or are in the process of resolution.

Explanation: Each facility should establish a Safety Assessment Program based on its own needs and
resources. A Safety Assessment Program may include a safety assessment team, including elephant staff,
management staff, animal health care staff and experts in the area of risk management and safety.

1.4.10.      Transport (in accordance with IATA)

Standard: All applicable Federal regulations and/or IATA requirements must be met.

Measurement: Elephant transports have been accomplished safely and in an appropriate manner.

Explanation: The method of transport, as well as preshipment health screening protocols, should follow
TAG/SSP guidelines. Other resources for the transport of elephants include the Elephant Husbandry
Resource Guide and Fowler (1995).

1.4.10.1.    Type of transport container

Standard: See 1.4.10

Measurement: See 1.4.10

Explanation: Elephants are typically transported in custom semi trailers, specifically designed for
moving elephants. On occasion, elephants are moved in crates, most commonly for overseas shipments.

1.4.10.2.    Appropriate size of transport container

Standard: See 1.4.10

Measurement: See 1.4.10

Explanation: The crate or trailer compartment used for shipping should be sized so that the elephant
can stand up comfortably, but not turn around. The elephant should not be compressed by the
containment front or back. The crate should be equipped with tethering options as needed.

1.4.10.3.    Provision of food and water during transport

Standard: See 1.4.10

Measurement: See 1.4.10

Explanation: Elephants should be provided with food (e.g., hay) and water at regular intervals during
the transport.

1.4.10.4.    Provision of bedding or substrate in transport container

See 1.4.10

1.4.10.5.    Mechanism(s) for separating animal from urine and feces during transport

See 1.4.10

1.4.10.6.    Temperature range during transport



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See 1.4.10

1.4.10.7.     Light levels and how to minimize noise during transport

See 1.4.10

1.4.10.8      Group size or need for separation of individuals during transport

See 1.4.10

1.4.10.9      Handler/veterinarian access to animal during transport

See 1.4.10

1.4.10.10 Duration of transport allowable before temporary transfer to “normal housing”
is required

See 1.4.10

1.4.10.11      Timing of release, size and type of enclosure at transport destination

See 1.4.10

1.5     Water

1.5.1        Acceptable water quality parameters

Standard: Water suitable for drinking must be made available daily. Frequent drinking opportunities
throughout the day may be necessary to meet the elephant's needs in the ambient environment.

Measurement: Water sources for exhibit and barn are identified and method of delivery determined to
meet the standard.

Explanation: Most facilities provide either continually running or automatic watering devices in
outdoor enclosures and barns. If these are not present, the method of providing water must be identified
and written protocols in place to ensure appropriate water availability to the elephants.

1.5.2        Presentation of water, and water sources

Standard: While outdoors and weather permitting, elephants must have regular access to water sources,
such as a pools, waterfalls, misters/sprinklers, or wallows that provide enrichment and allow the
elephants to cool and/or bathe themselves.

Measurement: Outdoor water sources are present in sufficient quantity to accommodate all elephants
at one time.

Explanation: It is recommended that pools be constructed with rounded edges, and without corners.
Artificial pools should have either multiple or lengthy gently sloping exit and entrance areas, with non-slip
surfaces, and at an angle no greater than 30°. Vertical sides on pools should be avoided in areas where
elephants have direct access to the pool side. Steps should be wide enough for elephants to place more
than one foot on at a time and small enough for baby elephants to step up or down. There should be more
than one entry/exit point to the pool in order to prevent one elephant from inhibiting the exit or entrance
of other elephants into or out of the pool.

1.5.3        Pool depth and need for variation in depth




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Standard: There are no standards for pool depth and variation in depth at this time.
Measurement: Not applicable

Explanation: It is recommended that one body of water or pool be deep enough to allow for buoyancy,
as this can allow for non weight-bearing exercise and that it be deep enough to allow an adult to be fully
immersed when laying on its side, or at least six feet deep. However, shallow wading and splashing pools
are also excellent activity areas for elephants and are to be encouraged. Recycled water over a waterfall or
spraying out over the pool is an excellent activity stimulant.

2.        Biotic Variables

2.1       Food and Water.

2.1.1.      Containers and protocols for the provision of food and water

2.1.1.1     Water

Standard: See 1.5.1. When water containers are used, drinking water must be cleaned and refreshed
daily. Containers must also be cleaned daily.

Measurement: Water sources are clean and water is fresh.

Explanation: The ability to monitor water consumption by the elephants may be important in sick or
compromised elephants.

2.1.1.2     Food

See 3.1. Other resources include the Elephant Husbandry and Resource Guide, Appendix 1, Nutrition
Advisory Group Handbook, “Elephants: Nutrition and Dietary Husbandry” (Ullrey et al. 1997).

2.1.1.3     Food items - Variability in food type

Standard: Elephants must be offered a balanced diet composed of an appropriate variety of food items
provided in quantities that are sufficient for each elephant to maintain appropriate body condition. Diets
must be developed under the direction of the institution’s nutritionist or veterinary staff. Consideration
must be given to recommendations provided by the Elephant TAG/SSP Nutrition Advisor, as they become
available.

Measurement: Diet sheets and written feeding protocols must be maintained and meet the Elephant
TAG/SSP Nutrition Advisor recommendations. For the purpose of this section, elephant weights and/or
body condition scores should be recorded three times a year.

Explanation: Nutritional content is a critical tool for assessing overall nutritional well-being. Daily
intake records may also be valuable to maintain. Elephants have evolved to be generalist feeders.
Recommended food items include hay (e.g., meadow or timothy), supplemented with fruits, vegetables, a
pelleted supplement or grain. Fresh browse should be made available daily, if possible. Overall energy
content of the diet must be assessed in relation to the body condition scores for each elephant and diet
composition adapted as needed.

2.1.1.4   Feeding schedules - Variability food presentation (e.g. spatial and temporal
dispersal of food resources)

Standard: Varied feeding schedules dispersed both spatially and temporally throughout the day and
night are required.

Measurement: Written feeding protocols and schedules must be maintained.




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Explanation: Mechanisms to deliver food to elephants during the day and night should be implemented
(e.g., changing animal care staff schedules, automated feeders, hanging feeder nets, etc.). Feeders should
be located in multiple locations to discourage undue competition or aggression over feed items.

2.1.1.5   Provision of opportunities for elephants to process food in ways similar to their
wild counterparts and mechanisms that enable animals to work for food

Standard: Opportunities must be provided for elephants to acquire food using multiple foraging
behaviors. Food must be provided in areas where it is less likely to be soiled. Excess or waste food must be
removed daily.

Measurement: Written feeding and enrichment protocols must be maintained.

Explanation: Opportunities for searching, browsing, grazing, reaching, opening, etc. can be provided by
scatter-feeding, hiding foods in crevices and substrates around the exhibit, or by using elevated feeders
such as hanging hay nets that encourage an elephant to reach for and manipulate its trunk to gain access
to the food. Mechanisms that promote physically active feeding behaviors can be incorporated into a
comprehensive enrichment plan for the elephants.

2.2       Social Considerations

2.2.1       Group Composition

2.2.1.1     Suggested age and sex structure of social group

Standard: Each zoo holding elephants must hold a minimum of three females (or the space to hold
three females), two males or three elephants of mixed gender. If a zoo cannot meet this standard, they
must apply for a variance. Before the variance can be issued by the Accreditation Commission the zoo (a)
must describe their plan to obtain additional elephants or describe their plan for
transferring/transitioning their elephants and (b) must describe what will occur if they experience the loss
of one elephant. In most cases where an institution has one remaining elephant, the remaining elephant
will receive a recommendation for relocation at another AZA institution from the Elephant TAG/SSP.

By 1 September 2016, no further variances will be issued.

Adult males (6 years and older) may be housed alone, but not in complete isolation. Opportunities for
tactile, olfactory, visual, and/or auditory interaction with other elephants must be provided (Rasmussen
et al. 1982).

Measurement: The institutional commitment to elephants must be reviewed if the institution is not in
compliance with the Standard. Plans for meeting the Standard and a timeline must be submitted to the
Elephant TAG/SSP and to the Accreditation Commission. The Elephant TAG/SSP will determine
acceptable animal welfare and plans.

Explanation: Due to multiple species differences and possible disease transmission issues, when
forming new herds, Asian and African elephants should not be placed together in the same enclosure.

2.2.1.2 Temporary individual care of parturient females and young or of males, and
corresponding adequate and appropriate space for animals when removed

Standard: All facilities must include the ability to flexibly manage the elephant herd, allowing the
separation of groups or individuals as required.

Measurement: Each institution must be able to demonstrate and/or describe how they would
successfully isolate individuals or groups as needed for elephant management or care.

Explanation: The ability to adapt to changing conditions and situations is critical to the success of any
elephant program.



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2.2.1.3       Male elephant socialization

Standard: If males are housed, separate facilities for isolation must be available, and a program of social
contact in place.

Measurement: Each institution must be able to demonstrate and/or describe how they would
successfully isolate and socialize males.

Explanation: Males (six years and older) may be housed alone, but not in complete isolation;
opportunities for tactile, olfactory, visual, and/or auditory interaction with other elephants must be
provided (Rasmussen et al. 1982). In the wild adult males are primarily solitary. However, they do have
regular contact with other elephants.

2.2.1.4         Nursery groups (groups of mothers with most recent young)

Standard: Isolation facilities for birth and postpartum management must be available.

Measurement: Each institution must be able to demonstrate and/or describe how they would
successfully isolate mothers and calves during birth and postpartum period. Written protocols must be in
place for births and reintroductions of mothers/calves to herd.

Explanation: First time mothers in particular may require significant management. Initial protection of
the calf and control of the mother are critical to a successful birth. Introduction of the new calves and
mothers to the herd must be accomplished both cautiously and expeditiously. Reintroduction of the calves
and mothers to the natal group or herd should be accomplished as quickly as possible.

2.2.1.5.      “Emigration” of adolescents

Standard: Offspring should remain with their mothers until they are weaned and mother and calf are
acclimated to separation.

Measurement: Offspring must remain with their mothers until they are at least three years old.

Explanation: Some flexibility is necessary in cases of health challenges, maternal rejection and/or when
infants cannot be re-established in their social group. In cases of maternal rejection, calves should be
introduced to other conspecifics as soon as possible. Males are generally separated from the herd during
adolescence due to natural age-related behavioral changes. There is no specific age when this may occur.
Indicators that males may need to be separated include aggression, play-fighting or reproductive behavior
that causes disruption within the herd or risk of injury to individuals in the herd.

2.2.1.6       Multigenerational groups

Standard: When possible, multigenerational groups should be maintained.

Measurement: Multigenerational groups are maintained when possible.

Explanation: Multigenerational groups are a goal of the TAG/SSP breeding program. Much of the
behavioral repertoire of elephants is learned, rather than innate. A multi-generational group allows the
transfer of species-appropriate behaviors within a herd through experience and observational learning.
2.2.1.7      Groups deriving from cohorts

See 2.2.1.8

2.2.1.8        All male groups

Standard: There are no standards for all male groups at this time.
Measurement: Not applicable




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Explanation: Guidelines for the creation and long-term management of all-male elephant groups will
need to be developed as this may become increasingly more important with increased breeding success
and the production of more male calves.

2.2.1.9       Daily and life stage variation in patterns of social affiliation

Standard: A behavioral profile must be maintained for each individual elephant and updated annually.

Measurement: Protocols and profiles in place and up-to-date.

Explanation: Staff must be aware of each elephant’s social compatibility and the dominance hierarchies
of the herd. Institutions must have the ability to manage social compatibility as well as dominance and
aggression among an elephant group. Institutions must have the ability to manage introductions and
separations of elephants, including; a new female to an existing herd, females to males for breeding,
calves to their mothers, and calves and mothers to the herd. Elephant enclosures must be designed to
allow for separate and group housing during periods of social incompatibilities, without interfering with
the normal movement of elephants in and out of enclosures.

2.2.2.        Group Size

2.2.2.1       Minimum and optimum group sizes

See 2.2.1.1

2.2.2.2        Inter-individual distances required

Standard: Facility must be designed, and resources provided, to allow for ample feeding, shade, water,
and wallowing locations.

Measurement: Facility must have sufficient structures for all elephants to participate in all ranges of
natural behaviors.

Explanation: Elephants are a social species and herds often perform activities together, such as feeding,
drinking, walking, resting, and wallowing.

2.2.3.      Conspecific groups, the need for/influence of adjacent groups, similar taxa, or
territorial species

More research is needed to develop guidelines for this section.

2.2.3.1       Key environmental elements for each species

More research is needed to develop guidelines for this section.
2.2.3.2     Identify inter-specific inter-animal distances require

More research is needed to develop guidelines for this section.

2.2.3.3        Address appropriateness of single-sexed groups

More research is needed to develop guidelines for this section.

2.2.4         Introductions

Standard: Institutions must have the ability to manage elephant introductions and separations.

Measurement: There must be appropriate facilities and protocols in place for all phases of elephant
introductions.




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Explanation: All institutions must have the staff and the appropriate facilities to be able to manage
both elephant introductions and separations, including introductions/separations of a new female to a
herd and, if the institution is a breeding facility, females to males for breeding, newborn calf to its mother,
and calf and mother to the herd.

3.        Health and Nutrition

3.1       Diet - Standards for nutrient requirements for all life stages

See 2.1.1.3, 2.1.1.4 and 2.1.1.5. Other resources include Food, the Elephant Husbandry and Resource
Guide, Appendix 1, Nutrition Advisory Group Handbook, “Elephants: Nutrition and Dietary Husbandry”
(Ullrey et al. 1997).

Standard: Elephant weights and/or body condition scores should be recorded three times a year. For
Asian elephants, the Wemmer body condition index (BCI) can be used (see Appendix 2) and body
condition index scores in the 6 to 10 range should be maintained. (See Appendix 2). Diet and/or exercise
programs must be in place for elephants.

Measurement: Weight records and/or body condition scores should be reviewed. Diet and exercise
programs modified as needed to maintain elephant physical well-being.

Explanation: Elephants may be outside the normal body condition score range and still be healthy.
These individuals may not need to have specialized diet or exercise plans in place.

3.2       Influence of the following variables on dietary requirements

3.2.1       Age (infant, juvenile, reproductive adult, senescent adult, etc.)

See Appendix 1

Explanation: Obesity is a health concern for all animals, including elephants, and excessive weight gain
should be avoided through proper diet and exercise. For infants, a normal growth rate should be 1 to 2 lbs
per day over the first three years. Excess weight early and too rapid growth may cause long-term harm to
the elephant’s physical well-being. Significant exercise and limiting the high-energy supplements will help
control weight gain in calves and elephants of all ages.

3.2.2        Body size

See 3.1

3.2.3        Reproductive status

Standard: Elephants’ diets should be carefully monitored during pregnancy, and elephants should
engage in a prenatal exercise program to control excessive weight gain during pregnancy.

Measurement: Weight records and/or body condition scores should be reviewed.

Explanation: Elephants should be prevented from significant weight gain during pregnancy.

3.2.4        Seasonal changes in ambient temperature

Not a significant factor for elephants.

3.2.5        Seasonal changes in body condition

Generally, not an issue with our elephant population.




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3.2.6      Seasonal changes in nutritional requirements

Standard: Elephants should be fed in accordance to the recommendations of the Elephant TAG/SSP
Nutrition Advisor.

Measurement: Diet sheets and nutritional/intake records should be reviewed.

Explanation: If changes are made to diets as a result of seasonal availability of items, then care should
be taken to implement changes gradually (over 1-2 weeks) to avoid digestive upsets (Ullrey et al. 1997).

3.2.7     Activity levels

Standard: Activity levels should be sufficient to maintain the physical and psychological well-being of
the elephant.

Measurement:         Diet sheets, weight records, body condition scores, exercise protocols and
nutritional/intake records should be reviewed.

Explanation: In the absence of scientific data to indicate the precise amount of activity needed to
maintain good physical and psychological well-being of an elephant, activity levels, weight, BCI and diet
composition should be frequently reviewed to maintain appropriate overall health parameters.

3.2.8      Health status

Standard: Diets should be flexible and should be adaptable to a wide range of individual elephant needs
and various health issues, while adhering to the recommendations of the Elephant TAG/SSP Nutrition
Advisor.

Measurement: Diet sheets, weight records, health records and nutritional/intake records are reviewed.

Explanation: The elephant team must work closely with the veterinary and nutrition teams to balance
medical and nutritional requirements with behavioral components and activity levels for each elephant.

3.2.9     Palatability, texture, processing, etc. that will encourage species-appropriate
appetitive behaviors

Standard: Every institution must have a browse program/protocol as a part of their elephant
management program.

Measurement: Browse protocol and elephant health/dental records should be reviewed.

Explanation: Elephants must be provided with browse material large enough to avoid molar impaction
and rotation. Since elephant teeth migrate forward (not vertically), it is important that the right type of
food is offered to promote dental health and allow for the natural progression of each molar.

3.3     Medical management

Standard: A veterinarian with experience in large mammal medicine must be on call at all times to deal
with routine elephant health evaluation and treatment and medical emergencies.

Measurement: Records of annual medical exams and other treatments must be on file. Copies of AZA
Elephant TAG/SSP medical protocols should be on file and utilized at the institution.

Explanation: Guidelines for routine exams, quarantine, preshipment testing and necropsy are available
from the AZA Elephant TAG/SSP Veterinary Advisor.

3.3.1      Quarantine and hospitalization




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Standard: Quarantine protocols, periods and parameters for elephants must be in place.

Measurement: AZA Elephant TAG/SSP protocols available along with institutional written protocols.

Explanation: Due to the size, strength, and social nature of elephants, it may be logistically difficult to
maintain isolation from other animals during arrival and quarantine. The Recommended Preshipment
Protocol for Elephants lists a comprehensive battery of tests to detect disease prior to shipment. It is
important that the receiving institution work closely with the sending institution to ensure that all (or as
many as possible) of the listed tests are conducted and results reviewed. Following the preshipment
protocol may help compensate for some of the quarantine compromises that may be required. Regardless
of preshipment test results, every attempt should be made to maintain some degree of physical separation
from the resident elephants after arrival.

Current quarantine practices recommend a minimum 30-90 day quarantine period for most species
found in zoos and aquaria. Social concerns, physical facility design, and availability of trained elephant
staff may dictate a modified quarantine protocol. The final decision for specific quarantine protocols at
each institution should be made by the veterinary staff in consultation with the elephant management
staff. For additional information, refer to the Elephant Husbandry Resource Guide, AZA Quarantine
Guidelines, and the AAZV Preventive Medicine Recommendations.

3.3.1.1    Problems arising from isolation of social taxa

Standard: Every institution should have the ability to introduce, manage and maintain social groupings
of elephants.

Measurement: Daily records of social groupings should be reviewed. Introduction protocols/records
should be reviewed.

Explanation: As a highly social species, female elephants must be returned to their social group as soon
as possible. Although interaction between elephant care staff and elephants can be beneficial, they are not
a sufficient substitute for species-appropriate elephant-to-elephant interactions.

3.3.2      Preventive medicine (testing, vaccinations, parasite control, etc.)

Standard: Each elephant must be given a thorough annual physical examination (Mikota et al. 1994).
Elephant weights and/or body condition scores should be recorded three times a year.

Measurement: Written documentation of the exams and their results, the weights and/or the body
condition scores taken at the time of each weight must be reviewed. Written protocols are in place for all
preventative elephant medicine and AZA Elephant TAG/SSP guidelines available.

Explanation: Institutions must adhere to USDA Animal and Plant Health Inspection Service (APHIS)
requirements for testing and treatment of tuberculosis. A veterinarian or trained veterinary technician
must perform fecal examinations to look for parasites and other problems on a regular basis (Samuel et
al., 2001). Results must be recorded. Body weights and/or body condition must be assessed and recorded
at least three times a year, through actual weighing or through the use of standardized body measurement
tables, photographs, or similar, previously validated techniques (e.g., Sreekumar and Nirmalan, 1990).
These results must be reviewed after each measurement is taken. Regular vaccinations, as determined by
the veterinary staff in concert with the Elephant TAG/SSP Veterinary Advisor, must be given. Annual
vaccinations may include rabies and tetanus.

3.3.2.1.   Daily care

Standard: All elephants must be visually inspected and behaviorally assessed on a daily basis

Measurement: Daily records and reports must be reviewed.




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Explanation: An assessment must be made and any unusual behavior (including instances of
aggression), physical characteristics or activities should be immediately reported to the supervisor, and
recorded in a daily log. Specifically, reports should include observations such as condition of urine and
feces, eating and drinking patterns, administration of medications (if any), and general condition and
behavior.

3.3.2.2     Foot care

Standard: The elephants should be free of foot injuries or foot disease. Staff must be trained to provide
foot care and the elephants must be trained to accept that care. Each elephant facility must have a written
protocol for foot care. If foot injuries or foot disease are present, a current treatment regimen must be in
place.

Measurement: Elephant feet are in good condition and need only periodic pad and nail trimming.
Records and protocols on file and foot care and/or treatment protocols in place. Implementation of the
protocols/treatment is evident in condition of the elephant’s feet.

Explanation: An institution’s foot care protocol should include daily cleaning and inspection of all
elephants’ feet. If foot injury or disease is present, evidence should be documented of the institution’s
review of the potential cause or causes of the foot injury or foot disease. Where causes are identified,
changes made to address these causes must be documented. Taking baseline foot radiographs or
thermographs of all adult elephants and keeping them on file is suggested. In some cases, it may be
appropriate to annually monitor selected elephants (i.e., those that have a history of chronic foot
problems).

3.3.2.3     Skin care

Standard: Elephants must be trained to accept regular skin care and staff must be trained to provide
that care.

Measurement: Each elephant facility must have a written protocol for routine skin care and show
evidence of its implementation. These records and protocols should be reviewed.

Explanation: An elephant’s skin must be thoroughly inspected on a daily basis and cared for as needed
through bathing, removal of dead skin, and treatment of dry skin or other skin problems. The elephant’s
skin should be supple, free of dead skin buildup, not cracked or dry and free of folliculitis.

3.3.2.4     Daily exercise

Standard: An exercise program must be in place for the herd as a whole or for each individual elephant.

Measurement: Each elephant facility must have a written protocol for routine exercise and show
evidence of its implementation. These records and protocols should be reviewed.

Explanation: Elephant weights and/or body condition scores should be recorded three times a year. For
Asian elephants, the Wemmer body condition index (BCI) can be used (see Appendix 2) and body
condition index scores in the 6 to 10 range should be maintained. Exercise protocols should be in place for
maintaining good body condition and exercise should be increased for elephants over the optimal body
condition score. True exercise levels required for elephants, measured in distances walked per day, are not
known. Recent data collected from radio collared wild elephants indicates much shorter daily travel
distances than previously reported. Current studies are in progress on distances traveled daily by
elephants by several research groups and in several AZA institutions. The weight and/or the body
condition score, combined with the absence of disease, foot and leg problems are the indicators that the
amount of exercise is sufficient for the elephant on their specific diet in their specific situation. As with
humans or any other species, overall health is a combination of factors, including exercise, diet and
psychological factors.




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3.3.2.5    Husbandry training

Standard: All elephants must be trained to reliably present the behaviors listed on the AZA Standard
Elephant Program Behavioral Components checklist. All elephants must be trained to permit a complete
body exam daily and to allow successful completion of all necessary care and husbandry procedures.

Measurement: The AZA Standard Elephant Program Behavioral Components checklist should be
completed by the institution annually, and maintained for review at accreditation.

Explanation: The key to keeping elephants healthy and treating them when they are sick relies on the
ability to monitor, test and administer health care and treatment. Proactive training makes monitoring
elephant health possible and makes diagnostic testing and therapeutic treatment in times of compromised
health less stressful for the elephant and the elephant care team.

Checklist of AZA Standard Elephant Program Behavioral Components
If individual elephants vary, please note the number of elephants that fall into each category.

                                                                                                  COMPLETE
                                                                    NOT                 IN
                       BEHAVIOR                                                                      &
                                                                  TRAINED            TRAINING
                                                                                                  RELIABLE
Bathe / scrub skin
Treat skin
Trim all feet
Eye exam
Ear exam
Mouth exam
Tooth exam
Tusk exam
Tusk trim
Blood collection (note frequency of collections)
Urine collection
Vaginal exam
Rectal palpation
Enema
Transrectal ultrasound
Accepts injections
Accepts oral medications
Enters chute (remains inside with doors closed)
Allows chute walls to move
Allows husbandry procedures to be performed by staff
Allows veterinary procedures to be performed by vet
Trunk wash for TB testing
Foot x-ray
Separation
Leg restraint
Reproductive assessment completed




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3.3.2.6    Elephant Restraint Devices (ERD)

Standard: All elephant facilities should have an ERD. If a facility does not have an ERD, staff must
demonstrate a method of restraint that allows necessary husbandry, veterinary, and reproductive
procedures to occur in a safe and efficient manner for all elephants in their collection. Use of the ERD
must not be weather dependent.

Measurement: ERD in place and functional. All elephants trained to use the ERD, or the institution
demonstrates its protocols and ability to do ERD functions without the ERD.

Explanation: ERDs must effectively restrict the movement of an elephant while simultaneously allowing
elephant care staff access to the elephant for veterinary procedures. ERDs must be able to comfortably
contain an elephant for prolonged veterinary or husbandry procedures

3.3.2.7    Restraint

Standard: All elephants must be trained to allow restraint using ERDs, rope, chain, or other materials of
sufficient strength. Elephants must not be subjected to unnecessary prolonged restraint. Any planned
restraint over two hours must be approved by the institution’s administration, elephant management
committee, and veterinarian. The institution’s safety committee and/or the institutional animal welfare
committee should be included in the decision making process. All new construction and major
renovations must be designed in a manner that minimizes the regular need for tethering.

Measurement: Protocols in place for tethering guidelines are reviewed.

Explanation: Tethering is an acceptable method of temporary restraint for elephants. Prolonged
tethering may be necessary for transport and for veterinary treatment. Elephants can be easily trained to
accept tethering.

3.3.2.8     Immobilization

Standard: Veterinary protocols must be established for potential immobilization of an elephant, either
for standing or full sedation.

Measurement: Veterinary immobilization protocols are reviewed.

Explanation: The Elephant TAG/SSP Veterinary Advisor can be consulted for the most current and
effective sedation and immobilization techniques.

3.3.2.9    Management of neonates and geriatric animals

Standard: Neonatal exam and hand-rearing protocols must be part of the written birth protocols.
Management and treatment plans for each geriatric elephant should be developed by the elephant
management team and veterinarian and revised regularly as the elephant ages.

Beginning January 1, 2013, institutions must use the standardized annual reporting process to report
all elephant births and mortalities and provide a description of the specific practices and protocols used
during each event (See 5.4).

Measurement: Birth protocol is reviewed, including plans for neonatal exam and hand-rearing.
Geriatric management and treatment plan is reviewed. After January 1, 2013, annual reports of births
and mortalities are reviewed.

Explanation: Specific treatment for geriatric elephants will be developed with coordination of the
veterinary and management teams. There are no current specific standards. The Elephant Husbandry
Resource Guide includes a chapter on hand-rearing and can be a useful resource in the development of a
facilities hand-rearing protocol.




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3.3.2.10    Management during pregnancy

Standard: Pregnant elephants must have a written diet and exercise program to prevent excessive
weight gain during pregnancy.

Measurement: Birth protocol is reviewed, including plan for exercise and diet management during
pregnancy.

Explanation: An elephant that is overweight at time of parturition significantly increases the risk of
dystocia and other parturition complications. Elephants in good body condition should gain no more than
5% of their body weight during pregnancy.

Nulliparous females over age 24 years have had limited success delivering calves and have experienced
dystocias and retained fetuses. Institutions should take all factors into account and research the potential
challenges and options available when considering breeding elephants in this reproductive class.

3.4     Reproduction

3.4.1  Seasonal changes in physiology and behavior associated with reproduction and
management implications of such changes.

Standard: Each male and female elephant of potential reproductive age must have an initial
reproductive assessment and follow-up assessments on a regular basis by transrectal ultrasound, and all
female elephants of potential reproductive age must have their progesterone cycle monitored to verify
current reproductive status and assess overall reproductive health.

Measurement: Samples for reproductive assessment for females taken and analyzed at least annually.
Semen samples collected from bulls regularly (annually where practical) document current viability. AZA
Elephant TAG/SSP recommendations followed.

Explanation: Exceptions for reproductive assessment include elephants with known reproductive
problems, actively breeding elephants, or those with documented medical/behavioral conditions that
preclude them from breeding.

3.4.2     Facilities for parturition and management of females during parturition and calf
introductions

Standard: Breeding facilities must have a birth protocol in place, which provides for care of the mother
during pregnancy and parturition and safety of the calf immediately after birth.

Measurement: Birth protocol is reviewed.

Explanation: In order to avoid incidents of calf injury or unsuccessful births due to lack of a plan or lack
of preparedness, a detailed birth protocol must be written for all pregnant elephants. For first time
mothers, this protocol must include the ability to restrain the mother and retrieve the calf at parturition if
necessary. The protocol must include methods of care of the mother in case of birth complications
requiring veterinary intervention. There are several excellent birth protocols available from successful
breeding institutions. The Elephant Husbandry Resource Guide can be a useful resource for developing
the institutional birth protocol.

3.4.3      Hand-rearing and reintroduction protocols

Standard: Written hand-rearing and reintroduction management plans should be included as a part of
the birth protocol.

Measurement:        Birth protocol is reviewed, including plans for hand-rearing and reintroduction
management.




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Explanation: Protocols must be in place and supplies on hand well in advance (at least 30 days) of
earliest expected parturition date in case hand-rearing is necessary. Every attempt should be made to
reunite an elephant calf with its mother as soon as possible following birth.

3.4.4      Recommended means and duration of contraception

Standard: There are no standards for contraception with elephants at this time.

Measurement: Not applicable.

Explanation: Currently, there is not a need for contraception with either African or Asian elephants in
human care. Contraception information is available on-line at the AZA Wildlife Contraception Center’s
web site at www.stlzoo.org/contraception.

4.        Behavior management

Standard: All institutions must have an elephant training program in place which allows elephant care
providers and veterinarians the ability to accomplish all necessary elephant care and management
procedures. A training program must be consistent with the industry standard to assure inter-
institutional consistency.

Measurement: Review training and health records and observe elephant/staff interactions to
determine if elephant training program is successful and that elephant care needs are being successfully
met.

Explanation: Elephant training terminology and descriptions of specific behaviors are outlined in the
PEM course curriculum. The PEM-recommended list of commands and their corresponding behaviors are
ones that every elephant and elephant keeper must know so that basic husbandry and veterinary practices
can be accomplished.

4.1 Daily behavioral assessment (Standard applicable beginning January 1, 2013)

Standard: A daily behavioral assessment will be conducted for each elephant and all unusual behavior or
any instances of aggression should be documented in the daily report and/or in an incident report form, if
appropriate.

Measurement: Daily records and reports are reviewed.

Explanation: A daily assessment should be made and any unusual behavior (including instances of
aggression) should be immediately reported to the supervisor, and recorded in a daily log.

By September 1, 2012, the Elephant TAG/SSP will provide guidance to institutions on elephant
aggression in the form of a widely applicable scale/index so that there is consistent understanding
regarding implementation of this Standard.

4.2     Successful methodologies for managing elephants

4.2.1     Training methods

Standard: All institutions must have an elephant training program in place which allows elephant care
providers and veterinarians the ability to accomplish all necessary elephant care and management
procedures. Each institution will adopt and implement an institutional training methodology that
promotes the safest environment for elephant care professionals and visitors and ensures high quality
care and management of the elephants for routine husbandry, medical management, physical well-being
and overall elephant welfare. By 1 September 2013, institutions must train their elephant care
professionals to manage and care for elephants with barriers and/or restraints in place that provide
employee safety.




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Measurement: Institutions must be able to demonstrate that all AZA Standards for Elephant
Management and Care are met. By 1 September 2013, institutions must demonstrate that elephant
care professionals are trained to manage and care for elephants with barriers and/or restraints in place.

Explanation: Appropriate elephant training may employ several training aids or tools. If properly
executed training procedures are ineffective in eliminating aggressive or inappropriate behavior in a given
elephant, institutions should consider other alternatives, including bringing in a consultant and/or
transferring to a facility with more experienced staff or a different management system.

4.2.2      Elephant management policy

Standard: Each AZA member institution and related facility that holds elephants must have a written
elephant management policy. This policy must be consistent with AZA standards for elephant
management and care, and must support the Board mandate that as soon as possible and no later
than September 1, 2014, elephant care providers at AZA facilities with elephants shall not share the
same unrestricted space with elephants, except in certain, well-defined circumstances (outlined in d.
below).

An institution’s elephant management policy must, at minimum, include a description of the following
key components.
        a) Elephant management program’s missions and goals.
        b) Elephant management policies, including guidelines for handling, training, and        transport.
        c) Plan to separate elephants from each other, safely manage elephants that are aggressive
        towards other elephants, safely move elephants from one location to another, and safely manage
        elephants that are aggressive toward humans.
        d) Clear protocols for frequency and duration when elephant care professionals and elephants
        may share the same unrestricted space for the specific purposes of required* health and welfare
        procedures, transport, research, active breeding and calf management programs, and medical
        treatments and testing. *The word “required” is intended, first, to allow for a degree of flexibility,
        recognizing the wide array of conditions that occur in managing animals and, second, to indicate
        that a decision to engage in any specific exceptions should involve more than a single individual
        and must be approved by the facility director.
        e) Staff management policies, including guidelines for keeper safety.
        f) Individual elephant profiles and incident reports for all cases in which elephants show
        aggression toward keepers or the public, regardless if any injury actually resulted.
        g) Emergency response protocols. Institutions must be able to demonstrate readiness to
        respond to an emergency situation, such as a keeper injury, an elephant escape, or to natural
        disasters.
        h) Written protocol for routine foot care and evidence of its implementation
        i) Written environmental enrichment plan and evidence of its implementation
        j) Written exercise plan and evidence of its implementation

Measurement: An updated institutional Elephant Management Policy exists and all records and annual
     reports pertaining to elephant care and or management are reviewed.

Explanation: This policy should be developed with input from many parties, including elephant
keepers, managers, curators, veterinarians, safety experts and directors. It should follow a thoughtful
process taking into account the animals, staff and facility.

4.3    Procedures successful in facilitating introductions, including separation of
individuals from group, stationing, tolerance while feeding, cooperative feeding,
“howdy” units, visitation gates, etc.

Standard: Protocols must be in place for safe and effective introductions and control of potential social
issues.




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Measurement:        Institution must be able to demonstrate their ability to introduce and separate
elephants.

Explanation: Gradual introductions generally follow a pattern of increasing familiarity as follows:
olfactory and auditory contact, visual contact at a distance, close proximity visual contact, tactile contact
over or through a barrier that allows for either individual or group to move at choice out of tactile contact
range, and finally full unfettered introduction. Each phase should be observed and evaluated before
moving to the next introductory phase. When doing full introductions, it is important to maintain the
ability to intervene in any aggressive escalation and be able to either provide sufficient open or barrier
enhanced space for one elephant to avoid another, or multiple gates to facilitate safe separation of the
elephants. It should be cautioned that some elephants are able to very rapidly move through the
introductory stages and may become frustrated or increasingly aggressive if the introduction moves too
slowly. Hence, continual behavioral assessment of the introduction is important.

4.4     Enrichment programs

Standard: All institutions must have a written environmental enrichment plan for their elephants and
show evidence of implementation (See 1.4.6).

Measurement: Enrichment plan and records of daily enrichment activities should be reviewed.

Explanation: An effective enrichment program should promote species-appropriate behaviors. Two
useful resources on enrichment programs for elephants include the Elephant Husbandry Resource Guide
and www.animalenrichment.org.

5.      Management Structure, Safety and Program Assessment

5.1     Management structure, technical skills and competencies

Standard: Each institution must demonstrate a management structure which provides (1) staff training;
(2) program development and maintenance; and (3) communication with others about the elephant
program. The elephant program’s manager(s) and keepers must demonstrate knowledge about all
emergency protocols and continually improve elephant management techniques as the industry standards
evolve. Overall responsibility for the program must be clearly defined.

By November 2017, all elephant care professionals, managers and directors must complete PEM.

By November 2017, all elephant managers must complete the facilities-based PEM-II course.

Measurement: Institutional elephant management responsibility is clearly defined and understood by
elephant manager(s) and keepers. By November 2017, all elephant care professionals, managers and
directors have attended PEM I and are knowledgeable in institutional safety and elephant care protocols.
By November 2017, all elephant manager(s) have attended PEM II.

Explanation: Most institutions typically assign one person to be the Elephant Manager, however, some
institutions have more than one person sharing the duties described above.

5.1.1       Keeper safety proficiency (Standard applicable beginning June 1, 2013)

Standard: Each institution must implement the standardized methods and protocols to evaluate and
maintain records of each elephant care professional’s safety-proficiency, in a manner that integrates
his/her experience level with the specific behavior profiles of the elephants in his/her care.

Measurement: Written evaluations of each elephant care professional’s safety-proficiency exist and are
up to date.




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Explanation: An elephant keeper training and safety proficiency program should include regular check-
ins with the elephant manager(s) and should assess the progress of all employees in safely handling the
elephants at his or her facility.

5.2       Animal and keeper safety

Standard: A minimum of two qualified elephant keepers must be present within visual and auditory
contact during any contact with elephants (any time a keeper is within trunk’s reach of an elephant).

Measurement: Related keeper injuries should be reported annually (See 5.4).

Explanation: A qualified elephant keeper is a person the institution acknowledges as a trained,
responsible individual, capable of and specifically experienced in the training and care of elephants.

5.2.1      Elephant aggression

Standard: Any elephant that displays aggression towards an elephant care provider(s) must be
immediately documented and evaluated by the elephant management team and, as soon as possible,
should be managed with barriers or restraints in place between the elephant and that care provider(s).

Measurement: Daily reports and incident reports should be reviewed. By January 1, 2013, daily
behavioral assessments should be available and should be reviewed.

Explanation: AZA is committed to maximizing the safety of elephant care staff while continuing to
advance the care and welfare of the elephants. Individual elephants occasionally display aggression
toward a particular keeper which may warrant managing with barriers or restraints in place when that
particular keeper is present. If properly executed training procedures are ineffective in eliminating
aggressive or inappropriate behavior in a given elephant, institutions should consider other alternatives,
including bringing in a consultant and/or transferring to a facility with more experienced staff or a
different management system.

5.3       Visitor safety and acceptable forms of human/animal interaction

Standard: Elephant enclosures must be designed to ensure that no physical contact is possible between
the visitors and the elephants that is not directly supervised and under the control of trained elephant
staff.

Measurement: No incidents of visitor injury or inappropriate contact with elephants.

Explanation: All elephant/human interaction must be supervised by institutionally qualified elephant
staff. Where elephant rides are done, or elephants are walked in public areas or outside their normal
exhibit containment, protocols, assessments and reviews must be documented to ensure staff and public
safety.

5.4       Program assessment

Standard: Each institution must perform an annual review of its overall elephant management
program, including any elephant related injuries or safety incidents, elephant management policies and
procedures, elephant containment parameters and structures, staff performance and program goals.

Beginning January 1, 2013, Standard 5.4 will change to read: Each institution must perform an
annual review of its overall elephant management program including:
   •    The circumstances under which elephant care professionals share unrestricted space with
        elephants versus when barriers and/or restraints are in place.
   •    The number of workplace injuries or fatalities, if any, that occurred in the care and management
        of elephants and the specific conditions under which each occurred.




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     •   The number of elephant births and mortalities and a description of the specific practices and
         protocols used during each event.
     •   Elephant management policies, procedures and protocols
     •   Elephant containment parameters and structures
     •   Staff performance and program goals

Measurement: Written report of the annual program assessment with recommendations for actions to
be taken where appropriate. After January 1, 2013, this report shall be submitted to the Accreditation
Commission, the AZA Elephant TAG/SSP and the AZA Staff.

Explanation: Elephant management continues to evolve as new information, knowledge and
technologies become available. An annual review of the entire program will assist in identifying areas of
unwanted change, assessing programs strengths and needs, and developing action plans to meet the goals
of the program.

6.       Conservation, Education, and Research

6.1      Conservation and research activities

Standard: AZA Zoos should contribute to in situ and ex situ conservation and research efforts.

Measurement: Records of participation in situ and ex situ conservation and research efforts should be
reviewed.

Explanation: AZA zoos that currently exhibit or desire to exhibit elephants should make every effort to
maintain elephants in their collections so that they can contribute to conservation through public
education, scientific research, and the support of field conservation. Elephants are an important flagship
species and the cornerstone of many members’ African and Asian exhibit areas. (Board of Directors
3/21/00). Every institution should contribute in some way to in situ conservation of elephants and their
habitats (EMA 1999, Hutchins and Smith, 2000). AZA members are strongly encouraged to provide
financial, personnel, logistical, and other support for priority research and conservation initiatives listed
in the AZA Elephant TAG/SSP Strategic Plan. Every institution should contribute in some way to elephant
research activities (Keele and Dimeo-Ediger 1997, EMA 1999, Hutchins and Smith, 2000). Involvement in
one or more of the following disciplines is strongly recommended: behavior, cognition, reproduction,
communication, enrichment, health (disease/pathology, nutrition), and education.

6.2      Education programs

Standard: Every institution should institute a program to educate zoo visitors about elephant and
elephant conservation issues (EMA 1999, Hutchins and Smith, 2000).

Measurement: Records of elephant education program should be reviewed.

Explanation: Assistance is available from the Elephant TAG/SSP Education Advisor. Every institution
should have up-to-date educational graphics and/or information about elephants on display to the public.

7.       Cooperative management

Standard: All acquisition, transfer, transition, or breeding of elephants in AZA institutions is subject to
approval of the AZA Elephant TAG/SSP. All breeding, management and transfer recommendations of the
AZA Elephant TAG/SSP should be followed. The success of cooperative breeding programs depends on
all institutions supporting TAG/SSP recommendations.

If differences regarding TAG/SSP recommendations occur between the TAG/SSP Steering Committee and
a member institution, the AZA SSP Handbook clearly articulates the process that both parties must utilize
to resolve these differences prior to engaging in the Animal Management Reconciliation Policy.




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Measurement:        Records of participation and cooperation with the Elephant TAG/SSP should be
reviewed.

Explanation: The goals and mission of the Elephant TAG/SSP will only be met if each AZA institution
managing elephants honors its commitment as either a holding or breeding facility. Each institution must
make every effort to abide by Elephant TAG/SSP breeding and transfer recommendations.


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Appendix 1 - Nutrition

Table 1 - from Nutrition Advisory Group Handbook, “Elephants: Nutrition and Dietary
Husbandry” (Ullrey et al. 1997).

                       Maintenance,       Late                         Juvenile
    Nutrient                                             Lactation
                       Breeding           pregnancy                    growth

    Crude Protein, %   8-10a              12             12-14b        12-14c
    Lysine, %          0.3                0.4            0.4-0.5       0.5-0.6
    Calcium, %         0.3                0.5            0.5           0.5-0.7
    Phosphorus, %      0.2                0.3            0.3           0.3-0.4
    Magnesium, %       0.1                0.1            0.1           0.1
    Potassium, %       0.4                0.4            0.5           0.4
    Sodium, %          0.1                0.1            0.1           0.1
    Sulphur, %         0.15               0.15           0.15          0.15
    Iron, ppm          50                 50             50            50
    Copper, ppm        10                 10             10            10
    Manganese, ppm     40                 40             40            40
    Zinc, ppm          40                 40             40            40
    Cobalt, ppm        0.1                0.1            0.1           0.1
    Iodine, ppm        0.6                0.6            0.6           0.6
    Selenium, ppm      0.2                0.2            0.2           0.2
    Vitamin A, IU/kg   3000               3000           3000          3000
    Vitamin D, IU/kg   800                800            800           800
    Vitamin E, IU/kg   100                100            100           100
    Thiamine, ppm      3                  3              3             3
    Riboflavin, ppm    3                  3              3             3
a
  Adult maintenance, 8% CP, breeding bull, pregnant cow (1st two-thirds of pregnancy), 10%CP.
b
  First year of lactation, 14% CP, 2nd year of lactation, 12% CP
c
  Weanling, 14% CP; 3-year old, 13% CP, 4-year old to year old, 12% CP.

Deficiencies in vitamin E in elephants in human care has lead to a range of symptoms, including
necrotizing myopathies, anemia, reproductive failure (Kenny 2001), capture myopathy (Dierenfeld and
Dolensek 1988; Barnett 1990), and white muscle disease (Dierenfeld and Dolensek 1988). Levels of
circulating α-tocopherol in wild elephants have been recorded at 0.77 μg/ml; circulating levels in
elephants in human care showing no clinical signs of vitamin E deficiency had an average level of only



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0.43 μg/ml (Dierenfeld 1989). In order to increase circulating levels of α-tocopherol, supplementation of
elephant diets with natural and artificial sources of vitamin E is recommended.

Grass hay with an ADF of > 30% should be provided to elephants (Ullrey et al., 1997), and can be mixed
with legume hays. All hay fed should be of high quality, properly dried and cured, and regularly assessed
for nutritional content (Oftedahl and Allen, 1996). To provide a more nutritionally complete diet,
concentrated pellets can be offered in addition to hay. These pellets should be high-fiber and low in
starch. Providing browse for elephants increases foraging time, can add important nutritional benefits,
and can promote dental health. As with other food items offered to elephants, it is important to have
browse nutritionally analyzed.


Appendix 2 – Body Condition Index

Criteria and point scores used to assess body condition in Asian elephants (Elephas maximus). When a
particular body region is intermediate between two criteria, an intermediate point score (i.e. 0.5, 1.5
points) should be assigned.

A. Head - temporal depression (view from several angles)
    2 points:  full and convex in outline when viewed from behind (at the level of the neck or shoulder);
               frontal ridge vaguely outlined at best.
    1 point:   slightly to moderately concave; frontal ridge defined.
    0 points: deeply concave; frontal ridge forms a crater-like rim around the temporal depression.

B. Scapula (shoulder blade) (view from side)
    2 points:   spinous process of the shoulder blade not visible, or slightly visible when the foreleg is in
                certain positions.
    1 point:    spinous process visible as a vertical ridge with a concavity between the ridge and the
                posterior edge of the scapula.
    0 points: spinous process pronounced and bladelike with the acromial process pronounced as a
                knot.

C. Thoracic region (view from side)
    2 points:    ribs not visible, barrel smooth.
    1 point:     some ribs visible, but the extent and demarcation not pronounced.
    0 points: many ribs strongly demarcated (even behind the scapula) with pronounced intercostal
                 depressions.

D. Flank area - immediately in front of pelvic girdle (view from side and behind)
    1 point:     no depression visible; flank bulges outwards in front of the pelvis.
    0 points: depression visible as a sunken area immediately in front of pelvis.

E. Lumbar vertebrae - behind ribs and in front of pelvis (view from behind, an elevated vantage point may
be necessary)
    2 points:  not visible, lower back smooth and rounded.
    1 point:   visible as a ridge; skin slopes away from the top of the ridge; height of the vertebrae does
               not exceed width.
    0 points: visible as a knife-like blade; sides of spinal ridge almost parallel, and the height equal to
               or exceeds the width.

F. Pelvic bone - external angle of the ilium (view from several angles)
    2 points:    not visible (or slightly visible); rump region between the ilium and caudal vertebrae filled
                 with tissue (and not forming a depressed zone).
    1 point:     visible but not pronounced; the rump is a slightly depressed zone between the ilium and
                 the caudal vertebrae.
    0 points: visible as a jutting bone; rump is a pronounced sunken zone between ilium and the caudal
                 vertebrae.



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Acknowledgment to Directors:

“The AZA Board of Directors recognizes all the incredible work that has taken place in order to comply
with this policy since it was originally adopted in 2011. In particular, the Board recognizes the work of the
Elephant TAG in developing and carrying out this policy, the PDC for creating and implementing the
associated training programs, and the Accreditation Commission for ensuring compliance. The Board
also recognizes and appreciates the work of the elephant holding institutions that have made physical
changes to their facilities and protocol changes to their elephant care program, as well as the open and
honest dialogue that has taken place to help make certain that elephant care professionals have the safest
working conditions possible.”




                  ___________________________________________________
                                  ___________________




                         Maximizing Occupational Safety of Elephant Care
                                         Professionals
                              At AZA-accredited and AZA-certified
                                           Facilities


The Association of Zoos and Aquariums (AZA) continually strives to advance the occupational safety of
elephant care professionals1 as well as the care and welfare of elephants. Through a series of AZA actions
over the past two decades, AZA has attempted to promote significant improvements in safety, care and
welfare. Among other things, AZA has developed a Principles of Elephant Management training course
and has adopted minimum Standards for Elephant Management and Care, which were made mandatory
in 2001. These Principles and Standards have assisted AZA entities and organizations in developing sound
practices regarding elephant care professionals.

In January 2011, the AZA Board of Directors initiated another review of the occupational safety of
elephant care professionals. As part of this review, in May 2011 the AZA convened a special meeting of all
directors of AZA facilities2 with elephants and their elephant managers to discuss occupational safety in
elephant care and management. While every facility is as different as are their elephants, a number of
factors emerged from this discussion that have and will continue to increase workplace safety and reduce
occupational risk, including adherence to high standards, increased staff training, well-developed
management communications and protocols, and frequent program evaluation.

Concurrent with this review, in March 2011, the Association of Zoos and Aquariums Board of Directors
adopted revised Accreditation Standards for Elephant Management and Care.3 These are comprehensive,
performance-based standards that were developed over several years.

In March 2014, the Board of Directors convened a task force to review the 2011 policy and proposed
language that would better reflect the original intent to maximize the safety of elephant care professionals.




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The above-listed safety measures notwithstanding, preliminary information suggests that the amount of
time (both frequency and duration) an elephant care professional spends with an elephant in the same
unrestricted space increases occupational risk.4 Therefore the Board of Directors is taking the following
measures to maximize the safety of elephant care staff by limiting the sharing of space with elephants,
while continuing to advance the care and welfare of elephants.

As soon as possible and no later than September 1, 2014, elephant care providers at AZA facilities with
elephants shall not share the same unrestricted space with elephants, except for certain, limited
exceptions outlined in II.d below. Within six (6) months of reissuance of this Policy, the Director may
request a variance in writing to the Accreditation Commission to allow time for the Institution to meet the
criteria of II.d below. Variances will expire June 1, 2017.

Restricted contact is defined as managing elephants with a primary containment barrier between human
and elephant.5 Tethers may be used and if used must be placed on at least two (2) legs of the elephant
(one front and one back). Tethers must be placed on the elephant from outside the primary containment
barrier prior to entry into the shared space.6 Routine husbandry should not be performed exclusively
while elephants are on tethers.

In order to maximize safety while working in restricted contact, keepers must always monitor the position
of themselves and their elephant(s) in relation to the barrier/restraints, the reach of the elephant(s)
especially the reach of the trunk and the behavior of the elephant(s). The head and/or torso of a person
must never cross the plane of the primary containment barrier unless the elephant is on restraints as this
is no longer restricted contact.

The Board recognizes that, in order to achieve the above-stated goal, a transition period will
be necessary. This transition period is sequenced to encompass:

        •    Additional work from the AZA Elephant Taxonomic Advisory Group (TAG) to support AZA
             facilities in safely managing elephants and providing advanced care and welfare;
        •    Program safety assessments;
        •    Immediate steps regarding the management of aggressive elephants;
        •    Program planning and documentation;
        •    Staff training; and
        •    Facilities/infrastructure changes.

 The Board:
        I.   Tasks the AZA Elephant Taxonomic Advisory Group (TAG) with the following:
             a.   By September 1, 2012, to develop standardized methods and protocols for AZA
                  facilities to maintain daily behavioral profiles/ethograms for each elephant and
                  document all instances of aggression7 to be applied in item II.e. below;
             b. By September 1, 2012, to develop an appendix to this document that provides guidance
                and examples to AZA facilities making modification to their infrastructure to
                accommodate this change in policy (see item II.i. below).
             c.   By September 1, 2012, to develop standardized methods and protocols for AZA facilities
                  to report annually on:
                  1. The exceptions in which elephant care professionals share unrestricted space with
                      elephants versus when barriers and/or restraints are present (see item II.d).
                  2. The number of workplace injuries or fatalities, if any, that occurred in the care
                      and management of elephants and the specific conditions under which each




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               occurred.
           3. The number of elephant births and mortalities and a description of the specific
               practices and protocols used during each event.
      d. By January 1, 2013, to develop standardized methods and protocols for AZA facilities to
         evaluate and maintain records of each elephant care professional’s safety-proficiency, in
         a manner that integrates their experience level with the specific behavioral profiles of
         the elephants in his/her care (to be applied in II.g. below).
      e.   Convene a task force to research means of successful breeding, health care and welfare
           that will be increasingly effective with barriers in place between elephant care
           professionals and elephants.

  II. Directs all AZA facilities with elephants in their care to:
      a.   As soon as possible, move any elephant that displays aggression towards an elephant
           care provider(s) into management and care with barriers or restraints in place between
           that elephant and that care provider(s).
      b. By January 1, 2012, perform at least one of the semi-annual program safety assessments,
         as outlined in AZA Elephant Standard 1.4.9.5.
      c. By January 1, 2012, specifically address the facility’s elephant program in the
          risk management policy required in AZA Accreditation Standard 11.4.1.
      d. By September 1, 2012, amend their existing elephant management plans to
         include clear exception protocols (including frequency and duration) when
         elephant care professionals and elephants may share the same unrestricted
         space.8
           When there are crises or medical emergencies or for birth management, written
           protocols used with dangerous animals apply. Examples include critically ill elephants,
           elephant down, hand rearing of elephant calves (up to 24 months of age) and in rare
           cases geriatric cows that require special care as prescribed by the staff veterinarian.
           The following are not considered to be crisis or medical emergencies and therefore are
           not exceptions.
           • Trunk washes
           •   Foot care
           •   Blood draw
           •   Research
           •   Exercise
           •   Bathing
           •   Donor/guest interaction
           •   Routine husbandry
           •   Calf training (after 24 months of age)
           •   Transportation
           •   Routine care and facilities maintenance (e.g. feeding and cleaning of the barn
               and/or exhibit)

      e.   By January 1, 2013, maintain daily behavioral profiles/ethograms for each elephant and
           document all instances of aggression.
      f.   By January 1, 2013 provide a report (required annually) to the Accreditation
           Commission, the Elephant TAG, and the AZA staff that, for the previous year, defines:




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                1. The exceptions under which elephant care professionals share unrestricted space
                    with elephants versus when barriers and/or restraints are in place.
                2. The number of workplace injuries or fatalities, if any, that occurred in the care
                    and management of elephants and the specific conditions under which each
                    occurred.
                3. The number of elephant births and mortalities and a description of the specific
                    practices and protocols used during each event.
                The Accreditation Commission and/or AZA staff will follow up where institutional
                reports indicate challenges in meeting the elephant safety standards.
           g.   By June 1, 2013, evaluate and maintain records of each elephant care
                professional’s safety-proficiency, in a manner that integrates their experience level
                with the specific behavioral profiles of the elephants in his/her care.
           h. By September 1, 2013, train their elephant care professionals to manage and care
              for elephants with barriers and/or restraints in place that provide employee safety.
           i.   By September 1, 2014, have put in place and implemented use of adequate
                infrastructure to manage and care for elephants with barriers and/or restraints in place
                that provide employee safety.
           j.   By January 1, 2015, if a facility cannot meet the infrastructure standard (see item II.i.
                above), it must apply for a variance. Before the variance can be issued by the
                Accreditation Commission the facility must describe to the Commission its plan to meet
                the standard. Variances will expire June 1, 2017.

       III. Tasks the Professional Development Committee to:
           a.   By September 1, 2012, update the Principles of Elephant Management-I course
                curriculum, which shall include mechanisms to:
                1. Manage and care for elephants with barriers and/or restraints in place.
                2. Minimize the frequency and duration elephant care professionals share
                    unrestricted space with elephants subject to the exceptions outlined in item II.d.
                    above.
                3. Develop and maintain detailed elephant behavioral profiles/ethograms.
                All elephant care professionals9, managers and directors of AZA facilities with
                elephants will complete by November 2017.
           b. By September 1, 2016, create and deliver a series of online elephant training modules on
              subjects including: safety, elephant record keeping, behavioral profiling and developing
              and maintaining elephant ethograms, positive operant conditioning, assessment of
              elephant aggression, and assessment of personal safety-proficiency.
                All elephant care professionals will complete by June 2017.
           c.   By September 2013, create a facilities-based Principles of Elephant Management-II
                course curriculum, which includes experience with managing live elephants with the use
                of barriers and restraints and the application of advanced principles of elephant
                management, care, welfare, and occupational safety.
                All elephant managers will complete by November 2017.

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1
    The term “elephant care professionals” includes all who provide for the care and welfare of elephants
    including veterinary care and other health care providers.

2
    In this document the term “AZA facilities” refers to all AZA-accredited and AZA-certified Related
    Facilities.

3
    References to “elephant standards” refer to “AZA Standards for Elephant Management and Care” as
    approved by the AZA Board of Directors in March 2011.

4
    The Board understands that non-AZA entities and organizations may assess and address these risks in a
    different manner, and the policies adopted herein are only intended to be applied to AZA facilities.

5
    See standard 1.4.9.1 for a definition of elephant containment barriers.

6
    See Standard 3.3.2.7 for an explanation of tethering requirements.

7
    This is an expansion of Elephant Standards: 2.2.1.9 (Daily and life stage variation in patterns of social
    affiliation, which requires that a behavioral profile must be maintained for each individual elephant and
    updated annually); 3.3.2.1 (Daily Care, which requires that all elephants must be visually inspected on a
    daily basis); and, 5.2 (Animal and Keeper Safety, which encourages that a record of all elephant-related
    keeper injuries or aggression directed at keepers should be kept, and related keeper injuries or aggression
    directed at keepers, and elephant behavioral profiles should be reviewed annually.).

8
    This is an expansion of Elephant Standard 4.1.1 Training Methods.

9
    Veterinary staff are encouraged but not required to complete this course. Elephant managers who have
    already completed PEM-I will not be required to re-take the course but will be required to complete the
    online elephant training modules outlined in III.b.




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                        ANIMAL CONTACT WITH THE GENERAL PUBLIC

     Nearly every contact with other living organisms, whether it be with humans or other animals, carries
some risk of disease transmission. Diseases that are spread from animals to humans are called zoonoses
(adj. = zoonotic diseases). Responsible zoos should and do make reasonable attempts to limit the risk of
the spread of disease from the animals in their care to their employees and to the general public. 4,9 For
the general public, the risk of contracting disease from most zoo animals is minimal to nonexistent due to
their distance and isolation from the animals. However, contact areas for the general public can present
increased risks that can be controlled with reasonable precautions. For this paper, contact areas refers to
those areas in which there is direct physical contact between animals and people. These precautions are
most effective when they are part of an overall preventative medicine program for the zoological park. 5,8

Risks of zoonotic disease can be markedly reduced by avoiding direct animal contact. However, this
forgoes many valuable educational experiences and the establishment of a direct relationship between
animals and the public. A reasonable alternative is adequate hand washing for those in direct contact
with the animals. Hand washing is perhaps the single most effective personal hygiene procedure for
reducing the risk of infection. 4 Given that fact, all areas in which the public has direct contact with
animals should have access to hand washing facilities that are in the immediate vicinity of the contact (or
an equivalent; e.g., bacteriocidal hand-wipes).

As outlined by the AZA and the USDA’s Animal Welfare Act, animal contact areas should always be
supervised by a trained zoo representative. Obviously, animals that are ill, should not be used. Human
food consumption should not occur in the immediate area of contact. Additionally, zoological institutions
should be aware that the Centers for Disease Control (CDC) standards advise additional precautions may
be necessary for humans that they classify as at increased risk of disease, including those that are
immunocompromised. When a reportable disease is identified, all appropriate local, state, and federal
regulatory officials should be contacted.

More detailed information on zoonotic diseases may be obtained from a variety of veterinary and medical
textbooks and journals, 1,6 and from public health officials. Additionally, the AZA’s Quarantine Protocol
provides further testing recommendations. 7 Also referenced at the end of this report is a review of some
of the risks associated with animals and immunocompromised humans. 3 Following is a list of disease
considerations and control programs recommended for animals commonly used in contact programs.
Depending on the disease and history of the animals, testing protocols may vary from an initial or
incoming quarantine test, to yearly repetitions. This protocol should be at the discretion of the
institutional veterinarian.

                                          Reptiles and Amphibians

Most notable among the disease risks presented by reptiles is the transmission of Salmonella sp.
Salmonellosis is a common and often nonpathogenic infection of reptiles (in one survey, according to
species, the infection rate ranged from 3 to 55 percent). 2 Diagnosis may be difficult. A cloacal swab or
other sample positive on culture for Salmonella sp. is diagnostic for infection. However, due to
intermittent fecal shedding of these organisms, false negative cultures frequently occur. So it is difficult, if
not impossible to ascertain with certainty that an animal is Salmonella “negative”. Therefore, all reptiles
should be treated as salmonella carriers. Attempts to eliminate Salmonella carriers with antibiotic
therapy have been unsuccessful and may be contraindicated as they can lead to chronic carrier states and
increased resistance of these bacteria to antibiotics. Risks of transmission can be reduced in two ways: 1)
avoid all direct contact with reptiles or surfaces with which they have come in contact, or, 2) allow only
supervised contact followed by hand washing as previously described.

Reptiles can also transmit a variety of other organisms, mostly gastrointestinal in origin, and the same
procedures described above should be effective in reducing the risks of transmission to those in contact.
These other risks include other gram negative bacterial infections. Reptiles used in contact areas should
be free of snake mites and pentastomids (e.g., Armillifer sp.).
Amphibians may present several of the same zoonotic risks as reptiles, so again, contact should be
followed by hand washing.



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                                                     Birds

Birds used in contact areas should be free of chlamydiosis and zoonotic parasites (e.g., giardia).
Chlamydiosis testing is appropriate for members of the orders Psittaciformes, Galliformes, and
Columbiformes. As in reptiles, salmonellosis can be present and difficult to diagnose and so, birds should
be treated as suspects. In the general human population, avian tuberculosis is generally considered to
have very low zoonotic potential, however, it can present significant risks for immunocompromised
individuals. Care should be taken to avoid public contact with known infected flocks.


                                             Mammals—General

All mammals are considered at risk for infection with rabies. Current rabies vaccines are licensed for use
in only six domestic species: dogs, cats, ferrets, sheep, horses, and cows. For wild-caught individuals of
most species, a prolonged (three-six month) quarantine is necessary to reduce the risk that they are
infected with the virus. Even then, some species such as skunks, foxes, raccoons, and bats may still
represent a greater risk.

Any skin lesions compatible with dermatomycosis (“ringworm”) should be carefully evaluated in order to
prevent transmission to those in direct contact with them.


                                            Mammals—Primates

Unless extensive testing has been performed for a variety of viral, parasitic, and bacterial diseases, all
direct public contact with primates should be avoided. Public contact also places the primates at
considerable risk of contracting diseases from humans.


                            Mammals—Small Ruminants/Neonatal Ruminants

All small ruminants; e.g., pygmy goats, sheep, dwarf cattle, llamas, etc., that are greater than six months
of age and used in contact areas should be tested for tuberculosis, brucellosis, and leptospirosis.
Obviously, any animals with lesions compatible with sarcoptic mange (mange mite = Sarcoptes scabeii)
should be removed from contact. Any animals with lesions compatible with contagious ecythema (“orf” in
man) should be tested and removed from contact until proven negative. Calves should be checked and
found free of Cryptosporidium sp. and other infections with protozoa. Other diseases of a potential
zoonotic nature include infection with Coxiella burneti (Q-fever) in endemic areas. Additionally, recent
reports indicate that infection with Johnes disease (Mycobacterium paratuberculosis) may present
zoonotic concerns, primarily in goats.


                                              Mammals—Swine

These animals should be checked for gastrointestinal infection with Balantidium sp. efforts made to
control this infection. Additionally, consideration should be given to regular vaccination for the bacterial
disease, Erysipelothrix rhusipathae (“diamond skin disease”).


                                       Mammals—Small Carnivores

In general, due to the potential for bites, small carnivores should be used in contact areas only with
extreme caution. Due to the risk of bites, small felids are generally not used in direct contact. If they are,
care must be taken that such animals are negative for infection with Toxoplasma gondii. All carnivores
should be tested for and be free of zoonotic species of roundworms such as Baylascaris sp. Small
carnivores (e.g., raccoons and skunks) obtained from the wild may present a greater risk of rabies and
their use should be avoided in contact areas.



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                                    Mammals—Rodents and Lagomorphs

When using rodents and lagomorphs in contact areas, consideration should be given to the risk of bites,
past history, and exposure to hantavirus, salmonella, and tularemia.


                                            Mammals—Chiroptera

At the present time, CDC regulations effectively prohibit the use of bats in direct contact areas.


                                              Fish/Aquatic Tanks

Due to the potential for infection with atypical mycobacteria, Vibrio sp., Erysipelothrix rhusiopathae, and
a variety of gram negative bacteria, contact with fish or touch tanks should also be followed by hand
washing.


                                                    Summary

It is important to evaluate the risks of zoonotic diseases in a rational context. Contact animals can
provide a valuable educational experience for visitors and participants in public programs to zoological
parks and aquariums. Most zoonotic diseases of concern in public areas can be prevented with reasonable
testing and quarantine programs and proper hand-washing techniques.

These are intended to be general guidelines and the risk of diseases can vary by area, so each zoological
institution should develop its own zoonoses control program. Two excellent resources for reviewing
testing and preventative procedures for many of these diseases are the American Association of Zoo
Veterinarians= Infectious Disease Notebook, 1 and the American Veterinary Medical Association’s
Zoonoses Updates. 6 In summary, the most effective method for disease prevention is a complete and
thorough veterinary program and common sense sanitary measures.

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Ambassador Animal Policy
Originally approved by the AZA Board of Directors – 2003
Updated and approved by the Board – July 2008 & June 2011
Modified from "Program Animal" to "Ambassador Animal" to avoid confusion with "Animal Programs"; approved by
the CEC; no change to meaning of these terms - January 2015

The Association of Zoos & Aquariums (AZA) recognizes many benefits for public education and,
ultimately, for conservation in ambassador animal presentations. AZA’s Conservation Education
Committee’s Ambassador Animal Position Statement summarizes the value of ambassador animal
presentations (see pages 65-67).

For the purpose of this policy, an Ambassador Animal is defined as “an animal whose role includes
handling and/or training by staff or volunteers for interaction with the public and in support of
institutional education and conservation goals”. Some animals are designated as Ambassador Animals on
a full-time basis, while others are designated as such only occasionally. Ambassador Animal-related
Accreditation Standards are applicable to all animals during the times that they are designated as
Ambassador Animals.

There are three main categories of Ambassador Animal interactions:

         1. On Grounds with the Ambassador Animal Inside the Exhibit/Enclosure:
      i. Public access outside the exhibit/enclosure. Public may interact with animals from outside the
         exhibit/enclosure (e.g., giraffe feeding, touch tanks).
     ii. Public access inside the exhibit/enclosure. Public may interact with animals from inside the
         exhibit/enclosure (e.g., lorikeet feedings, ‘swim with’ programs, camel/pony rides).
         2. On Grounds with the Ambassador Animal Outside the Exhibit/Enclosure:
      i. Minimal handling and training techniques are used to present Ambassador Animals to the public.
         Public has minimal or no opportunity to directly interact with Ambassador Animals when they
         are outside the exhibit/enclosure (e.g., raptors on the glove, reptiles held “presentation style”).
     ii. Moderate handling and training techniques are used to present Ambassador Animals to the
         public. Public may be in close proximity to, or have direct contact with, Ambassador Animals
         when they’re outside the exhibit/enclosure (e.g., media, fund raising, photo, and/or touch
         opportunities).
    iii. Significant handling and training techniques are used to present Ambassador Animals to the
         public. Public may have direct contact with Ambassador Animals or simply observe the in-depth
         presentations when they’re outside the exhibit/enclosure (e.g., wildlife education shows).
3. Off Grounds:
      i. Handling and training techniques are used to present Ambassador Animals to the public outside
         of the zoo/aquarium grounds. Public may have minimal contact or be in close proximity to and
         have direct contact with Ambassador Animals (e.g., animals transported to schools, media, fund
         raising events).

These categories assist staff and accreditation inspectors in determining when animals are designated as
Ambassador Animals and the periods during which the Ambassador Animal-related Accreditation
Standards are applicable. In addition, these Ambassador Animal categories establish a framework for
understanding increasing degrees of an animal’s involvement in Ambassador Animal activities.

Ambassador animal presentations bring a host of responsibilities, including the safety and welfare of the
animals involved, the safety of the animal handler and public, and accountability for the take-home,
educational messages received by the audience. Therefore, AZA requires all accredited institutions that
make ambassador animal presentations to develop an institutional ambassador animal policy that clearly
identifies and justifies those species and individuals approved as ambassador animals and details their
long-term management plan and educational program objectives.




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AZA’s accreditation standards require that education and conservation messages must be an integral
component of all ambassador animal presentations. In addition, the accreditation standards require that
the conditions and treatment of animals in education programs must meet standards set for the
remainder of the animal collection, including species-appropriate shelter, exercise, appropriate
environmental enrichment, access to veterinary care, nutrition, and other related standards. In addition,
providing ambassador animals with options to choose among a variety of conditions within their
environment is essential to ensuring effective care, welfare, and management. Some of these
requirements can be met outside of the primary exhibit enclosure while the animal is involved in a
program or is being transported. For example, free-flight birds may receive appropriate exercise during
regular programs, reducing the need for additional exercise. However, the institution must ensure that in
such cases, the animals participate in programs on a basis sufficient to meet these needs or provide for
their needs in their home enclosures; upon return to the facility the animal should be returned to its
species-appropriate housing as described above.




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Ambassador Animal Position Statement
LAST REVISION 1/28/03
Re-authorized by the Board June 2011
Updated 1/28/15 to change "program animal" to "ambassador animal"

THE CONSERVATION EDUCATION COMMITTEE (CEC) OF THE ASSOCIATION OF ZOOS AND
AQUARIUMS SUPPORTS THE APPROPRIATE USE OF AMBASSADOR ANIMALS AS AN
IMPORTANT AND POWERFUL EDUCATIONAL TOOL THAT PROVIDES A VARIETY OF BENEFITS
TO ZOO AND AQUARIUM EDUCATORS SEEKING TO CONVEY COGNITIVE AND AFFECTIVE
(EMOTIONAL) MESSAGES ABOUT CONSERVATION, WILDLIFE AND ANIMAL WELFARE.

Utilizing these animals allows educators to strongly engage audiences. As discussed below, the use of
ambassador animals has been demonstrated to result in lengthened learning periods, increased
knowledge acquisition and retention, enhanced environmental attitudes, and the creation of positive
perceptions concerning zoo and aquarium animals.


Audience Engagement
Zoos and aquariums are ideal venues for developing emotional ties to wildlife and fostering an
appreciation for the natural world. However, developing and delivering effective educational messages in
the free-choice learning environments of zoos and aquariums is a difficult task.

Zoo and aquarium educators are constantly challenged to develop methods for engaging and teaching
visitors who often view a trip to the zoo as a social or recreational experience (Morgan and Hodgkinson,
1999). The use of ambassador animals can provide the compelling experience necessary to attract and
maintain personal connections with visitors of all motivations, thus preparing them for learning and
reflection on their own relationships with nature.

Ambassador animals are powerful catalysts for learning for a variety of reasons. They are generally active,
easily viewed, and usually presented in close proximity to the public. These factors have proven to
contribute to increasing the length of time that people spend watching animals in zoo exhibits (Bitgood,
Patterson and Benefield, 1986, 1988; Wolf and Tymitz, 1981).

In addition, the provocative nature of a handled animal likely plays an important role in captivating a
visitor. In two studies (Povey, 2002; Povey and Rios, 2001), visitors viewed animals three and four times
longer while they were being presented in demonstrations outside of their enclosure with an educator
than while they were on exhibit. Clearly, the use of ambassador animals in shows or informal
presentations can be effective in lengthening the potential time period for learning and overall impact.

Ambassador animals also provide the opportunity to personalize the learning experience, tailoring the
teaching session to what interests the visitors. Traditional graphics offer little opportunity for this level of
personalization of information delivery and are frequently not read by visitors (Churchman, 1985;
Johnston, 1998). For example, Povey (2001) found that only 25% of visitors to an animal exhibit read the
accompanying graphic; whereas, 45% of visitors watching the same animal handled in an educational
presentation asked at least one question and some asked as many as seven questions. Having an animal
accompany the educator allowed the visitors to make specific inquiries about topics in which they were
interested.


Knowledge Acquisition




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Improving our visitors' knowledge and understanding regarding wildlife and wildlife conservation is a
fundamental goal for many zoo educators using ambassador animals. A growing body of evidence
supports the validity of using ambassador animals to enhance delivery of these cognitive messages as well.

       MacMillen (1994) found that the use of live animals in a zoomobile outreach program
        significantly enhanced cognitive learning in a vertebrate classification unit for sixth grade
        students.
       Sherwood and his colleagues (1989) compared the use of live horseshoe crabs and sea stars to the
        use of dried specimens in an aquarium education program and demonstrated that students made
        the greatest cognitive gains when exposed to programs utilizing the live animals.
       Povey and Rios (2002) noted that in response to an open-ended survey question (“Before I saw
        this animal, I never realized that . . . ”), visitors watching a presentation utilizing an ambassador
        animal provided 69% cognitive responses (i.e., something they learned) versus 9% made by
        visitors viewing the same animal in its exhibit (who primarily responded with observations).
       Povey (2002) recorded a marked difference in learning between visitors observing animals on
        exhibit versus being handled during informal presentations. Visitors to demonstrations utilizing a
        raven and radiated tortoises were able to answer questions correctly at a rate as much as eleven
        times higher than visitors to the exhibits.


Enhanced Environmental Attitudes
Ambassador animals have been clearly demonstrated to increase affective learning and
attitudinal change.

       Studies by Yerke and Burns (1991) and Davison and her colleagues (1993) evaluated the effect live
        animal shows had on visitor attitudes. Both found their shows successfully influenced attitudes
        about conservation and stewardship.
       Yerke and Burns (1993) also evaluated a live bird outreach program presented to Oregon fifth-
        graders and recorded a significant increase in students' environmental attitudes after the
        presentations.
       Sherwood and his colleagues (1989) found that students who handled live invertebrates in an
        education program demonstrated both short and long-term attitudinal changes as compared to
        those who only had exposure to dried specimens.
       Povey and Rios (2002) examined the role ambassador animals play in helping visitors develop
        positive feelings about the care and well-being of zoo animals.
       As observed by Wolf and Tymitz (1981), zoo visitors are deeply concerned with the welfare of zoo
        animals and desire evidence that they receive personalized care.


Conclusion
Creating positive impressions of aquarium and zoo animals, and wildlife in general, is crucial to
the fundamental mission of zoological institutions. Although additional research will help us
delve further into this area, the existing research supports the conclusion that ambassador
animals are an important tool for conveying both cognitive and affective messages regarding
animals and the need to conserve wildlife and wild places.

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                         RECOMMENDATIONS FOR DEVELOPING AN
                       INSTITUTIONAL AMBASSADOR ANIMAL POLICY

LAST REVISION 2003
Re-authorized by the Board June 2011
Updated 1/28/15 to change "program animal" to "ambassador animal"


Rationale
Membership in AZA requires that an institution meet the AZA Accreditation Standards collectively
developed by our professional colleagues. Standards guide all aspects of an institution's operations;
however, the accreditation commission has asserted that ensuring that member institutions demonstrate
the highest standards of animal care is a top priority. Another fundamental AZA criterion for membership
is that education be affirmed as core to an institution's mission. All accredited public institutions are
expected to develop a written education plan and to regularly evaluate program effectiveness.

The inclusion of animals (native, exotic and domestic) in educational presentations, when done correctly,
is a powerful tool. CEC's Ambassador Animal Position Statement describes the research
underpinning the appropriate use of ambassador animals as an important and powerful educational tool
that provides a variety of benefits to zoo and aquarium educators seeking to convey cognitive and affective
messages about conservation and wildlife.

Ongoing research, such as AZA's Multi-Institutional Research Project (MIRP) and research conducted by
individual AZA institutions will help zoo educators to determine whether the use of ambassador animals
conveys intended and/or conflicting messages and to modify and improve programs accordingly and to
ensure that all ambassador animals have the best possible welfare.

When utilizing ambassador animals our responsibility is to meet both our high standards of animal care
and our educational goals. Additionally, as animal management professionals, we must critically address
both the species' conservation needs and the welfare of the individual animal. Because "wild creatures
differ endlessly," in their forms, needs, behavior, limitations and abilities (Conway, 1995), AZA, through
its Animal Welfare Committee, has recently given the responsibility to develop taxon- and species-specific
animal welfare standards and guidelines to the Taxon Advisory Groups (TAG) and Species Survival Plan®
Program (SSP). Experts within each TAG or SSP, along with their education advisors, are charged with
assessing all aspects of the taxons' and/or species’ biological and social needs and developing Animal Care
Manuals (ACMs) that include specifications concerning their use as ambassador animals.

However, even the most exacting standards cannot address the individual choices faced by each AZA
institution. Therefore, each institution is required to develop an ambassador animal policy that articulates
and evaluates program benefits. The following recommendations are offered to assist each institution in
formulating its own Institutional Ambassador Animal Policy, which incorporates the AZA Ambassador
Animal Policy and addresses the following matters.


The Policy Development Process
Within each institution, key stakeholders should be included in the development of that institution's
policy, including, but not limited to representatives from:

 the Education Department
 the Animal Husbandry Department




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     the Veterinary and Animal Health Department
     the Conservation & Science Department
     the Behavioral Husbandry Department
     any animal show staff (if in a separate department)
     departments that frequently request special ambassador animal situations (e.g., special events,
      development, marketing, zoo or aquarium society, administration)

Additionally, staff from all levels of the organization should be involved in this development (e.g.,
curators, keepers, education managers, interpreters, volunteer coordinators).

To develop a comprehensive Ambassador Animal Policy, we recommend that the following components
be included:


I. Philosophy
In general, the position of the AZA is that the use of animals in up close and personal settings, including
animal contact, can be extremely positive and powerful, as long as:

           1. The use and setting is appropriate.
           2. Animal and human welfare is considered at all times.
           3. The animal is used in a respectful, safe manner and in a manner that does not misrepresent or
              degrade the animal.
           4. A meaningful conservation message is an integral component. Read the AZA Board-approved
              Conservation Messages.
           5. Suitable species and individual specimens are used.

Institutional ambassador animal policies should include a philosophical statement addressing the above,
and should relate the use of ambassador animals to the institution's overall mission statement.


II. Appropriate Settings
The Ambassador Animal Policy should include a listing of all settings both on and off site, where
ambassador animal use is permitted. This will clearly vary among institutions. Each institution's policy
should include a comprehensive list of settings specific to that institution. Some institutions may have
separate policies for each setting; others may address the various settings within the same policy.
Examples of settings include:

      I.       On-site programming
                A.      Informal and non-registrants:
                          1.   On-grounds programming with animals being brought out (demonstrations,
                               lectures, parties, special events, and media)
                          2.   Children's zoos and contact yards
                          3.   Behind-the-scenes open houses
                          4.   Shows
                          5.   Touch pools
                B.      Formal (registration involved) and controlled settings
                          1.   School group programs
                          2.   Summer Camps
                          3.   Overnights
                          4.   Birthday Parties
                          5.   Animal rides
                          6.   Public animal feeding programs
     II.       Offsite and Outreach
1.             PR events (TV, radio)




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2.        Fundraising events
3.        Field programs involving the public
4.        School visits
5.        Library visits
6.        Nursing Home visits (therapy)
7.        Hospital visits
8.        Senior Centers
9.        Civic Group events

In some cases, policies will differ from setting to setting (e.g., on-site and off-site use with media). These
settings should be addressed separately, and should reflect specific animal health issues, assessment of
distress in these situations, limitations, and restrictions.


III. Compliance with Regulations
All AZA institutions housing mammals are regulated by the USDA's Animal Welfare Act. Other federal
regulations, such as the Marine Mammal Protection Act, may apply. Additionally, many states, and some
cities, have regulations that apply to animal contact situations. Similarly, all accredited institutions are
bound by the AZA Code of Professional Ethics. It is expected that the Institution Ambassador Animal
Policy address compliance with appropriate regulations and AZA Accreditation Standards.


IV. Collection Planning
All AZA accredited institutions should have a collection planning process in place. Ambassador animals
are part of an institution's overall collection and must be included in the overall collection planning
process. The AZA Guide to Accreditation contains specific requirements for the institution collection plan.
For more information about collection planning in general, please see the Collection Management pages
in the Members Only section.

The following recommendations apply to ambassador animals:

     1. Listing of approved ambassador animals (to be periodically amended as collection changes).
        Justification of each species should be based upon criteria such as:
         o Temperament and suitability for program use
         o Husbandry requirements
         o Husbandry expertise
         o Veterinary issues and concerns
         o Ease and means of acquisition / disposition according to the AZA code of ethics
         o Educational value and intended conservation message
         o Conservation Status
         o Compliance with TAG and SSP guidelines and policies
     2. General guidelines as to how each species (and, where necessary, for each individual) will be
        presented to the public, and in what settings
     3. The collection planning section should reference the institution's acquisition, transfer and
        transition policies.


V. Conservation Education Message
As noted in the AZA Accreditation Standards, if animal demonstrations are part of an institution's
programs, an educational and conservation message must be an integral component. The Ambassador
Animal Policy should address the specific messages related to the use of ambassador animals, as well as
the need to be cautious about hidden or conflicting messages (e.g., "petting" an animal while stating
verbally that it makes a poor pet). This section may include or reference the AZA Conservation Messages.




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Although education value and messages should be part of the general collection planning process, this
aspect is so critical to the use of ambassador animals that it deserves additional attention. In addition, it is
highly recommended to encourage the use of biofacts in addition to or in place of the live animals.
Whenever possible, evaluation of the effectiveness of presenting ambassador animals should be built into
education programs.


VI. Human Health and Safety
The safety of our staff and the public is one of the greatest concerns in working with ambassador animals.
Although extremely valuable as educational and affective experiences, contact with animals poses certain
risks to the handler and the public. Therefore, the human health and safety section of the policy should
address:

    1. Minimization of the possibility of disease transfer from non-human animals to humans, and vice-
       versa (e.g., handwashing stations, no touch policies, use of hand sanitizer)
    2. Safety issues related to handlers' personal attire and behavior (e.g., discourage or prohibit use of
       long earrings, perfume and cologne, not eating or drinking around animals, smoking etc.)

AZA's Animal Contact Policy provides guidelines in this area; these guidelines were incorporated into
accreditation standards in 1998.


VII. Animal Health and Welfare
Animal health and welfare are the highest priority of AZA accredited institutions. As a result, the
Institutional Ambassador Animal Policy should make a strong statement on the importance of animal
welfare. The policy should address:

    1.   General housing, husbandry, and animal health concerns (e.g. that the housing and husbandry for
         ambassador animals meets or exceeds general AZA standards and that the physical, social and
         psychological needs of the individual animal, such as adequate rest periods, provision of
         enrichment, visual cover, contact with conspecifics as appropriate, etc., are accommodated).
    2.   Where ever possible provide a choice for animal program participation, e.g., retreat areas for
         touch tanks or contact yards, evaluation of willingness/readiness to participate by handler, etc.)
    3.   The empowerment of handlers to make decisions related to animal health and welfare; such as
         withdrawing animals from a situation if safety or health is in danger of being compromised.
    4.   Requirements for supervision of contact areas and touch tanks by trained staff and volunteers.
    5.   Frequent evaluation of human / animal interactions to assess safety, health, welfare, etc.
    6.   Ensure that the level of health care for the ambassador animals is consistent with that of other
         animals in the collection.
    7.   Whenever possible have a “cradle to grave” plan for each ambassador animal to ensure that the
         animal can be taken care of properly when not used as an ambassador animal anymore.
    8.   If lengthy “down” times in ambassador animal use occur, staff should ensure that animals
         accustomed to regular human interactions can still maintain such contact and receive the same
         level of care when not used in programs.


VIII. Taxon Specific Protocols
We encourage institutions to provide taxonomically specific protocols, either at the genus or species level,
or the specimen, or individual, level. Some taxon-specific guidelines may affect the use of ambassador
animals. To develop these, institutions refer to the Conservation Programs Database.

Taxon and species -specific protocols should address:




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    1. How to remove the individual animal from and return it to its permanent enclosure, including
       suggestions for operant conditioning training.
    2. How to crate and transport animals.
    3. Signs of stress, stress factors, distress and discomfort behaviors.

Situation specific handling protocols (e.g., whether or not animal is allowed to be touched by the public,
and how to handle in such situations)

    1.   Guidelines for disinfecting surfaces, transport carriers, enclosures, etc. using environmentally
         safe chemicals and cleaners where possible.
    2.   Animal facts and conservation information.
    3.   Limitations and restrictions regarding ambient temperatures and or weather conditions.
    4.   Time limitations (including animal rotation and rest periods, as appropriate, duration of time
         each animal can participate, and restrictions on travel distances).
    5.   The numbers of trained personnel required to ensure the health and welfare of the animals,
         handlers and public.
    6.   The level of training and experience required for handling this species
    7.   Taxon/species-specific guidelines on animal health.
    8.   The use of hand lotions by program participants that might touch the animals


IX. Logistics: Managing the Program
The Institutional Policy should address a number of logistical issues related to ambassador animals,
including:

    1. Where and how the ambassador animal collection will be housed, including any quarantine and
       separation for animals used off-site.
    2. Procedures for requesting animals, including the approval process and decision making process.
    3. Accurate documentation and availability of records, including procedures for documenting
       animal usage, animal behavior, and any other concerns that arise.


X. Staff Training
Thorough training for all handling staff (keepers, educators, and volunteers, and docents) is clearly
critical. Staff training is such a large issue that many institutions may have separate training protocols and
procedures. Specific training protocols can be included in the Institutional Ambassador Animal Policy or
reference can be made that a separate training protocol exists.

It is recommended that the training section of the policy address:

    1. Personnel authorized to handle and present animals.
    2. Handling protocol during quarantine.
    3. The process for training, qualifying and assessing handlers including who is authorized to train
       handlers.
    4. The frequency of required re-training sessions for handlers.
    5. Personnel authorized to train animals and training protocols.
    6. The process for addressing substandard performance and noncompliance with established
       procedures.
    7. Medical testing and vaccinations required for handlers (e.g., TB testing, tetanus shots, rabies
       vaccinations, routine fecal cultures, physical exams, etc.).
    8. Training content (e.g., taxonomically specific protocols, natural history, relevant conservation
       education messages, presentation techniques, interpretive techniques, etc.).
    9. Protocols to reduce disease transmission (e.g., zoonotic disease transmission, proper hygiene and
       hand washing requirements, as noted in AZA's Animal Contact Policy).




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    10. Procedures for reporting injuries to the animals, handling personnel or public.
    11. Visitor management (e.g., ensuring visitors interact appropriately with animals, do not eat or
        drink around the animal, etc.).


XI. Review of Institutional Policies
All policies should be reviewed regularly. Accountability and ramifications of policy violations should be
addressed as well (e.g., retraining, revocation of handling privileges, etc.). Institutional policies should
address how frequently the Ambassador Animal Policy will be reviewed and revised, and how
accountability will be maintained.


XII. TAG and SSP Recommendations
Following development of taxon-specific recommendations from each TAG and SSP, the institution policy
should include a statement regarding compliance with these recommendations. If the institution chooses
not to follow these specific recommendations, a brief statement providing rationale is recommended.




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                      Policy on the Presentation of Animals
                                Approved by the Board of Directors – July 2008


The Association of Zoos & Aquariums (AZA) is dedicated to excellence in animal care and welfare,
conservation, education, research, and the presentation of animals in ways that inspire respect for wildlife
and nature. AZA’s position is that animals should always be presented in adherence to the following core
principles:

1. Animal and human health, safety, and welfare are never compromised.
2. Education and a meaningful conservation message are integral components of the presentation.
3. The individual animals involved are consistently maintained in a manner that meets their social,
   physical, behavioral, and nutritional needs.



                Apes in Media and Commercial Performances
Apes, including chimpanzees, gorillas, bonobos, orangutans, and gibbons, are intelligent, sensitive, long-
lived and highly social animals. As humans’ closest living relatives, they are fascinating, and ape infants
are magnetically appealing. These attributes have made apes popular as performers in commercial
entertainment and advertising programs. But this popularity and attractiveness masks the often cruel and
dangerous practices commonly required to make apes compliant in such appearances.

This White Paper presents a brief summary of the justification for:

 Eliminating the use of apes as performers in commercial entertainment.

 Establishing standards to ensure that public presentations and interpretive programs portray apes
  respectfully and accurately represent the biology and conservation status of apes.

Rationale

1. An ape infant normally remains with its mother for several years in a group environment, learning
   social skills essential for development of normal adult behaviors. But apes destined to be performers or
   photographic props are typically removed from their mother shortly after birth and, thus, are denied
   opportunities for normal social and psychological development. This has several commercial
   advantages to an owner. Infants removed in this manner will be appealing and remain submissive for
   handling by humans for several years. Mothers whose infants are removed will resume sexual cycling
   and produce another profitable infant quickly.

   But apes raised by humans in the absence of other members of their species will not normally acquire
   the skills to be socially and sexually competent as juveniles and adults. They may never readjust to life
   in a normal social group, and thus they are usually relegated to social and sexual isolation, which often
   leads to abnormal behaviors such as self-mutilation. For these reasons, it typically is not feasible to
   involve these individuals in conservation-based breeding programs.

2. Although endearing as infants, apes generally become physically powerful and unpredictable as they
   near adulthood. Their continued use as performers or props is potentially very dangerous to their
   handlers and audiences. Thus, handlers of ape performers often must use food deprivation, physical
   abuse, continuous tranquilization, or even electric shock to maintain control. Additionally, the animals
   may be modified to reduce their ability to cause harm, for example by removing their teeth. It should
   be noted that the apparent “smile” of a performing chimpanzee is actually a well-documented
   expression of fear. Such physical and psychological effects are difficult to alleviate even if the ape is
   rescued and placed in a caring environment. More often however, when ape performers become too
   difficult to handle, they lose their commercial value and are sold to roadside menageries with inexpert




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   handlers and often inhumane conditions.

3. Dressing apes in human clothing, or training them to engage in unnatural (usually human) behaviors,
   while entertaining to some, inaccurately portrays their biology and conservation status. Since
   conservation efforts rely on informed public opinion, these practices serve to undermine
   communications vital to achieving conservation. The use of apes in advertisements and other
   commercial performances can lead people to conclude falsely that apes make good pets.

4. Because apes and humans are genetically so similar, both are susceptible to many of the same
   communicable diseases. Close and unprotected contact between performing apes, their handlers, and
   audiences can threaten all with viral, bacterial, and parasite infection.

In summary, the use of apes in media and commercial performances should be eliminated.




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       AGREEMENT BETWEEN FDA AND AZA REGARDING USE OF ANIMAL DRUGS

1.   The drug administration programs at AZA accredited zoos and aquariums will be overseen by a
     licensed veterinarian and drugs administered by trained personnel.

2.   Drugs will not be purchased for or diverted to the food fish aquaculture industry.

3.   Approved drugs will be used wherever possible and extra label use of approved drugs will follow FDA
     Compliance Policy Guidelines.

4.   Clinical records will reflect source and quantity of medication, medication used, dosage or
     concentration, duration and dates of treatment, and disease and animal treated.

5.   Visitors to aquariums and aquatic zoo exhibits will not be exposed to drugs used to treat fish.

6.   Occupational Safety and Health Administration (OSHA) guidelines will be followed to protect staff
     from exposure to drugs used to treat fish.

7.   Disposal of drugs used to treat fish diseases will follow applicable federal and state environmental
     guidelines.

8.   Fishes treated with non-FDA-approved drugs for food fish will not be released into the wild without
     appropriate depuration.

9.   The AZA will monitor its member institutions regarding these matters through its rigorous
     accreditation process.




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                             Policy for Full Participation
                        in the Species Survival Plan ® Program
                         Adopted by the AZA Board of Directors
                                    March 26, 2009

Cooperative animal management and conservation are among the primary goals of the Association of
Zoos & Aquariums (AZA). These goals are best exemplified by the Association’s shared commitment to its
cornerstone animal management and conservation program: the Species Survival Plan ® (SSP). The AZA
Board of Directors recognizes that: 1. Cooperative animal management is vital to the long-term survival of
professionally managed zoological parks and aquariums and their valuable and often irreplaceable live
animal collections; and 2. All AZA-accredited institutions and Certified Related Facilities should be fully
committed to the animal management, conservation, and public education goals as well as the
collaborative spirit of the SSP partnership. Therefore, in 2000, the Board adopted the first policy of Full
Participation in the SSP program by all AZA member institutions.

An SSP Master Plan articulates long- and short-term goals for a population. It plans the “family tree” of
each managed population to minimize the rate of loss of genetic diversity and maintain the long-term
demographic stability of the population. Breeding and other population management recommendations
are made for each animal with consideration of logistical feasibility, animal welfare, and other factors that
can improve SSP outcomes. In addition to breeding recommendations, Master Plans also include a
recommendation not to breed certain animals for sound husbandry reasons and the betterment of the
population. The Board recognizes that, in the collaborative process of managing the SSPs, the
responsibility of each SSP Management Group is to make sound Master Plan recommendations, and also
recognizes that, at times, these may conflict with a member institution’s plans.

The Board emphasizes the responsibility of all institutions to cooperate in SSP Master Planning. If
differences occur between an SSP’s recommendations and a participating institution, the SSP Coordinator
and the IR have a joint responsibility to work collaboratively to resolve it. When an SSP recommendation
is fundamental to the collaborative management of the ex situ population, then the SSP recommendation
should take precedence. In this process, all institutions’ clearly stated and reasonable needs will be
considered. If an SSP recommendation is not fundamental to the collaborative management of the ex situ
population, then the SSP Management Group may elect to change it before the Master Plan is finalized.
Thus, when an SSP Master Plan is approved its animal management recommendations will accurately
reflect the vital needs of both the SSP and the participating institutions.

The Policy for Full Participation in the SSP Program ensures that AZA Accredited Institutions and
Certified Related Facilities have input into the SSP Master Planning process and that they fully
comprehend, agree to, and follow the final SSP recommendations. The Board now further defines Full
Participation in the SSP program, and the processes used to achieve Full Participation, as follows:

   The Institutional Liaison (IL) at AZA Accredited Institutions or Certified Related Facilities will ensure
    that an Institutional Representative (IR) is appointed for each SSP species the institution/facility
    owns or holds, or for which the institution selects to support as defined by the SSP Management
    Group.

   Each IR must serve as the primary point of contact for all matters relating to their assigned SSP and
    will ensure that their institution responds to SSP needs for information during Master Planning.
   Periodically and regularly, the SSP Coordinator will ask each participating institution’s IR how their
    institution will participate in the SSP: breeding, non-breeding (where an institution cannot breed due
    to space, or other factors), or support.

   Prior to the Master Plan development, at the request of the SSP Coordinator, each IR will provide all
    relevant data regarding individual SSP animals to the corresponding SSP Coordinator and Studbook
    Keeper in a timely manner. Further, IRs must ensure that all proposed acquisitions, transfers, or
    transitions of the SSP species are included in the SSP Master Plan or, if the Master Plan is already




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    published, are approved in advance by the SSP Coordinator or, preferably the SSP Management
    Group. SSP Coordinators and IRs must work collaboratively to develop an SSP Master Plan that
    strives to meet the needs of the SSP program and the needs of participating institutions.

   A draft of the SSP Master Plan, which must include a written record of all animal management
    recommendations, will be published on the AZA web site for a 30-day comment period and the SSP
    Coordinator will notify all IRs as soon as the Plan is available for comment. IRs at all participating
    institutions must inform the SSP Coordinator during the comment period that they will adhere to the
    Master Plan recommendations, or why they cannot, which will initiate the resolution discussions
    described below. If all participants agree with the recommendations, the final Master Plan will be
    published and implemented.

   Each IR must ensure that their institution’s Director and IL are aware of the Master Plan and its
    recommendations and must initiate a collaborative discussion with the SSP Coordinator to resolve
    differences regarding Master Plan recommendations during the comment period. All involved should
    maintain accurate records of all related communications and discussions.

   If a resolution with no change to the SSP recommendations is found, then the final Master Plan will
    be published and implemented.

   If a resolution that causes changes in the SSP recommendations is reached, the edited Master Plan
    will be re-posted for a final 30-day comment period. IRs at institutions affected by the edited
    recommendation(s) must respond to the SSP Coordinator during the final comment period regarding
    their agreement to adhere to the recommendations; institutions not affected by the changes will not
    need to respond again. At this stage, the finalized Master Plan will be published and all institutions
    agreeing to adhere to the Master Plan’s recommendations will commence implementing the Plan.

   If no resolution is found through direct discussion between the SSP Coordinator and the IR(s), they
    must work cooperatively with the IL, institutional Director, and corresponding TAG Chair to find one.
    If necessary, the discussion can extend for an additional 30 days, during which time the institution
    disputing a recommendation must not engage in any breeding or acquisitions and / or dispositions of
    species that run counter to the SSP recommendations.

If differences are not resolved by the steps outlined above, then the SSP Coordinator and / or any other
involved parties must request that AZA’s Wildlife Conservation Management Committee (WCMC)
mediate the situation as defined in the AZA Animal Management Reconciliation Policy and, again, the
institution disputing the recommendation must not engage in any breeding, acquisitions, transfers, and /
or transitions that run counter to the SSP recommendations until the mediation and, if necessary, the
reconciliation process is complete. Emergencies or other extraordinary circumstances will be considered
for the health and welfare of the animals. Institutions not affected by the disagreement will continue
carrying out their recommendations. (See: http://www.aza.org/board-policies/ ).




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                               Species Survival Plan ® –
                        Animal Management Reconciliation Policy
                             Adopted by the AZA Board of Directors
                                        March 26, 2009

The success of cooperative breeding programs depends on all institutions supporting Species Survival Plan 
(SSP) recommendations. Therefore, the Board emphasizes the crucial nature of the cooperative process in the
development of SSP Master Plans to ensure that animal management recommendations accurately reflect the
vital needs of both the SSPs and participating Accredited Institutions and Certified Related Facilities.

If differences regarding SSP recommendations occur between the SSP Management Group and a member
Institution, AZA’s Full Participation Policy clearly articulates the process that both parties must utilize to
resolve them prior to engaging in the Animal Management Reconciliation process. However, if such differences
cannot be resolved, then the parties involved must request that AZA’s Wildlife Conservation Management
Committee (WCMC) mediate the situation.

 WCMC will (1) determine if all efforts to resolve differences have been exhausted and, (2) determine if the
   recommendations in question are fundamental to the cooperative management of the ex situ population. If
   both situations are true, then WCMC will notify all parties and appoint a Mediation Task Force which
   includes the WCMC Chair / designee, one member of WCMC selected by each party to represent them, the
   SSP Coordinator, the institution’s Director and two other institutional representatives, and AZA’s VP of
   Animal Conservation.

 The Mediation Task Force will conduct a confidential review of the situation in less than 30 days. Within 2
   weeks of the completed review, the WCMC Chair / designee will draft a mediation report describing a
   consensus decision, which will be reviewed by the participating parties. Comments on the draft report must
   be returned within a week of distribution. The WCMC Chair / designee will consider all comments and
   produce a final mediation report. Assuming a resolution is reached, the report will be submitted to all
   participants involved in the process and the matter will be closed.

 If the mediation process yields no resolution, WCMC must notify all parties and initiate the reconciliation
   process, during which the institution in question must not engage in any breeding, acquisitions, transfers,
   and / or transitions that run counter to the SSP until a resolution is found. The Reconciliation Committee,
   over which the WCMC Chair / designee presides, will include the institution’s Director or designee, the
   WCMC Board Liaison, and AZA’s Sr. VP of Conservation, VP of Animal Conservation, and Executive
   Director. The Reconciliation Committee will consider the Mediation Task Force report and determine if
   additional information is required.

 In its call for greater accountability, the AZA Board holds that action by the Accreditation Commission and /
   or the Ethics Board can be taken against a member institution that: (1) demonstrates a pattern of a failure to
   participate and / or (2) demonstrates an action contrary to an SSP program recommendation which
   threatens the short- or long-term management of the ex situ population. Therefore, the Reconciliation
   Committee will specifically consider if either of these instances is found to be valid.

 If it is determined that the member institution’s action is not detrimental to the cooperative management of
   the ex situ population, then the Master Plan will be changed accordingly and the results of these findings
   will be incorporated into a reconciliation final report submitted to the AZA Conservation Office.

 If it is determined that the member institution’s action is detrimental to the cooperative management of the
   ex situ population, and / or is part of a pattern of a failure to participate, then the Master Plan will stand as
   is and the Reconciliation Committee will notify the institution that they must comply with it. If the
   institution refuses this directive, the Reconciliation Committee will note this in the reconciliation final
   report filed with AZA’s Conservation Office and provide the report to the Accreditation Commission and the
   Ethics Board for consideration.




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              AZA Policy on Responsible Population Management:
           Acquisitions, Transfers and Transitions by Zoos & Aquariums
                 Approved by the AZA Board of Directors July 2014

PREAMBLE

The Association of Zoos & Aquariums (AZA) was established, among other reasons, “…to
foster continued improvement of the zoological park and aquarium profession through the
development and regulation of high standards of ethics, conduct, education and scholarly
attainments.” The stringent requirements for AZA accreditation and high standards of
professional conduct are unmatched by similar organizations and also far surpass the United
States Department of Agriculture’s Animal and Plant Health Inspection Service’s requirements
for licensed animal exhibitors. Every AZA member must abide by a Code of Professional Ethics
(https://www.aza.org/Ethics/). In order to continue these high
standards, AZA-accredited institutions and certified related facilities   In this Policy “AZA member institutions”
should make it a priority, when possible, to acquire animals from and     refers to AZA-accredited institutions and
                                                                          certified related facilities (zoological parks
transfer them to other AZA member institutions or other regional zoo      and aquariums). “AZA members” may refer
associations and their members.                                           to either institutions or individuals.
                                                                                     Non – AZA entities includes facilities not
                                                                                     accredited or certified by the AZA, facilities in
AZA-accredited institutions and certified related facilities cannot                  other zoological regions, academic institutions,
fulfill their important missions of conservation, education, and                     museums, research facilities, private
                                                                                     individuals, etc.
science without living animals. Responsible management and the
long-term sustainability of living animal populations necessitates that
some individuals be acquired and that others be transferred or                       Acquisition of animals can occur through
transitioned at certain times. Furthermore, priority for acquisition and             breeding (births, hatchings, cloning, and
                                                                                     division of marine invertebrates = “fragging”),
transfer activities should be the long-term sustainability of living                 trade, donation, lease, loan, transfer (inter- and
animal populations among AZA-accredited and certified related                        intra-institution), purchase, collection,
                                                                                     confiscation, appearing on zoo property, or
facilities, and between AZA member institutions and non-AZA                          rescue and/or rehabilitation for release.
entities with animal care and welfare standards aligned with AZA.
                                                                                     Transfer/transition occurs when an animal
AZA member institutions that acquire animals from the wild, directly                 leaves the institution for any reason. Reasons
or through commercial vendors, should perform due diligence to                       for transfer or transition may include
                                                                                     cooperative population management (genetic,
ensure that zoos/aquariums are not creating a commercial market that                 demographic or behavioral management),
promotes the taking of those animals from nature and/or that is                      animal welfare or behavior management
                                                                                     reasons (including sexual maturation and
detrimental to the survival of species in the wild. Animals should                   individual management needs). Types of
only be solicited and acquired from non-AZA entities that are known                  transfer include withdrawal through donation,
                                                                                     trade, lease, loan, inter- and intra-institution
to operate legally and conduct their business in a manner that reflects              transfers, sale, escape, theft. Types of
and/or supports the spirit and intent of the AZA Code of Professional                transition include reintroduction to the wild,
                                                                                     humane euthanasia or natural death.
Ethics as well as this Policy.
                                                                                     “Dispose/Disposing of” in this document is
                                                                                     limited to complete and permanent removal of
I. INTRODUCTION                                                                      an individual via incineration, burying or other
                                                                                     means of permanent destruction.

The AZA Acquisition, Transfer and Transition Policy was created to
help (1) guide and support AZA-accredited and certified related facilities in their animal
acquisition and transfer/transition decisions, and (2) make certain that all acquisitions and
transfers/transitions are compatible with the Association’s stated commitment to save and protect
the wonders of the living natural world. This AZA Acquisition, Transfer and Transition Policy



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applies to individual animals, groups/colonies, and specimens (animal parts, materials, and
products). More specifically, the AZA Acquisition, Transfer and Transition Policy provides
guidance to AZA members to:

1. assure that the health and welfare of individual animals is considered during acquisition and
   transfer/transition activities,

2. assure that the health and conservation of populations, species,                   Attempts by members to circumvent AZA
   and ecosystems are carefully considered during acquisition and                     Animal Programs in the acquisition of animals
                                                                                      can be detrimental to the Association and its
   transfer/transition activities,                                                    Animal Programs. Such action may also be
                                                                                      detrimental to the species involved and may be
                                                                                      a violation of the Association’s Code of
3. maintain a proper standard of conduct for AZA members during                       Professional Ethics.
   acquisition and transfer/transition activities, including adherence
   to all applicable laws and regulations,

4. assure that animals from AZA member institutions and certified                     AZA’s scientifically-managed Animal
   related facilities are not transferred to individuals or organizations             Programs, including SSPs, have successfully
                                                                                      bred and reintroduced critically endangered
   that lack the appropriate expertise or facilities to care for them                 species for the benefit of humankind. To
   [see taxa specific appendices (in development)], and                               accomplish these critical conservation goals,
                                                                                      populations must be managed within “carrying
                                                                                      capacity” limits. At times, the number of
5. support the goals of AZA’s cooperatively managed populations                       individual animals in a population exceeds
   and associated Animal Programs [Species Survival Plans®                            carrying capacity, and while meaning no
                                                                                      disrespect for these individual animals, we
   (SSPs), Studbooks, and Taxon Advisory Groups (TAGs)].                              refer to these individual animals as “extra”
                                                                                      within the managed population.

This AZA Acquisition, Transfer and Transition Policy will serve as
the default policy for AZA member institutions. Institutions may
develop their own Acquisition, Transfer and Transition Policy in order to address specific local
concerns. Any institutional policy must incorporate and not conflict with the AZA acquisition
and transfer/transition standards.

II. LAWS, AUTHORITY, RECORD-KEEPING, IDENTIFICATION AND DOCUMENTATION

The following must be considered with regard to the acquisition or transfer/transition of all living
animals and specimens (their living and non-living parts, materials, and/or products):

1. Any acquisitions, transfers, and transitions must meet the               Examples of specimens include animal parts,
                                                                            materials and products including bodily fluids,
   requirements of all applicable local, state, federal and                 cell lines, clones, digestive content, DNA,
   international laws and regulations. Ownership and any applicable         feces, marine invertebrate (coral) fragments
                                                                            (“frags”), germplasm, and tissues.
   chain-of-custody must be documented. If such information does
   not exist, an explanation must be provided regarding such animals
   and specimens. Any acquisition of free-ranging animals must be done in accordance with all
   local, state, federal, and international laws and regulations and must not be detrimental to the
   long-term viability of the species in the wild.

2. The Director/Chief Executive Officer of the institution must have final authority for all
   acquisitions and transfers/transitions.




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3. Acquisitions or transfers/transitions must be documented through institutional record keeping
   systems. The ability to identify which animal is being transferred is very important and the
   method of identifying the animal should be documented. Any existing documentation must
   accompany all transfers. To standardize institutional animal records data, records guidelines
   have been developed for certain species
   (https://www.aza.org/AnimalCare/detail.aspx?id=3150).

4. For some colonial, group-living, or prolific species, it may be impossible or highly
   impractical to identify individual animals when these individuals       Examples of colonial, group-living, or prolific
   are maintained in a group. When considered as a group, these            species include and are not limited to certain
   species are therefore maintained, acquisitioned, transferred, and       terrestrial and aquatic invertebrates, fish,
                                                                           sharks/rays, amphibians, reptiles, birds,
   transitioned as a group or colony, or as part of a group or colony.     rodents, bats, big herds, and other mammals,


5. If the intended use of specimens is to create live animal(s), their acquisition and transfer
   should follow the same guidelines. If germplasm is acquired or transferred with the intention
   of creating live animal(s), ownership of the offspring must be clearly defined in transaction
   documents (e.g., breeding loan agreements).

    Institutions acquiring, transferring, transitioning or disposing of specimens should consider
    current and possible future uses as new technologies become available. All specimens from
    which nuclear DNA could be recovered should be carefully considered as these basic DNA
    extraction technologies already exist.

6. AZA member institutions must maintain transaction documents (e.g., confirmation forms,
   breeding agreements) which provide the terms and conditions of animal acquisitions,
   transfers and loans, including documentation for animal parts, products and materials. These
   documents should require the potential recipient or provider to adhere to the AZA
   Acquisition, Transfer and Transition Policy, all relevant AZA and member policies,
   procedures and guidelines, and the AZA Code of Professional Ethics, and must require
   compliance with the applicable laws and regulations of local, state, federal, and international
   authorities.

7. In the case of animals (living or non-living) and their parts, materials, or products (living or
   non-living) held on loan, the owner’s written permission should
   be obtained prior to any transfer and should be documented in           Transaction documents must be signed by the
   the institutional records.                                              authorized representatives of both parties, and
                                                                           copies must be retained by both parties*. In
                                                                                     the case of loans, the owner’s permission for
8. AZA SSP and TAG necropsy and sampling protocols should be                         appropriate activities should be documented in
                                                                                     the institutional records. This document(s)
   accommodated.                                                                     should be completed prior to any transfer. In
                                                                                     the case of rescue, confiscation, and
                                                                                     evacuation due to natural disasters, it is
9. Some governments maintain ownership of the species found                          understood that documents may not be
   within their borders. It is therefore incumbent on institutions to                available until after acceptance or shipping. In
                                                                                     this case documentation (e.g., a log) must be
   determine whether animals they are acquiring or transferring are                  kept to reconcile the inventory and chain of
   owned by a government entity, foreign or domestic, and act                        custody after the event occurs.
                                                                                     *In the case of government owned animals,
   accordingly by reviewing the government ownership policies                        notification of transfers must be sent to species
   available on the AZA website. In the case of government                           manager for the government owned species.
   owned animals, proposals for and/or notifications of transfers



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   must be sent to the species manager for the government owned species.

III. ACQUISITION REQUIREMENTS

A. General Acquisitions

1. Acquisitions must be consistent with the mission of the institution, as reflected in its
   Institutional Collection Plan, by addressing its exhibition/education, conservation, and/or
   scientific goals.

2. Animals (wild, feral, and domestic) may be held temporarily for                 Feral animals are animals that have escaped
   reasons such as assisting governmental agencies or other                        from domestication or have been abandoned to
                                                                                   the wild and have become wild, and the
   institutions, rescue and/or rehabilitation, research, propagation or            offspring of such animals. Feral animals may
   headstarting for reintroduction, or special exhibits.                           be acquired for temporary or permanent
                                                                                   reasons.

3. Any receiving institution must have the necessary expertise and
   resources to support and provide for the professional care and management of the species, so
   that the physical, psychological, and social needs of individual animals and species are met.

4. If the acquisition involves a species managed by an AZA Animal Program, the institution
   should communicate with the Animal Program Leader and, in the case of Green SSP
   Programs, must adhere to the AZA Full Participation Policy (http://www.aza.org/full-
   participation-in-ssp-program-policy/).

5. AZA member institutions should consult AZA Wildlife Conservation and Management
   Committee (WCMC)-approved TAG Regional Collection Plans (RCPs), Animal Program
   Leaders, and AZA Animal Care Manuals (ACMs) when making acquisition decisions.

6. AZA member institutions that work with commercial vendors that acquire animals from the
   wild, must perform due diligence to assure the vendors’ collection of animals is legal.
   Commercial vendors should have conservation and animal welfare goals similar to those of
   AZA institutions.

7. AZA member institutions may acquire animals through public donations and other non-AZA
   entities when it is in the best interest of the animal and/or species.

B. Acquisitions from the Wild

Saving species and wild animal populations for education and wildlife conservation purposes is a
unique responsibility of AZA member zoos and aquariums. The AZA recognizes that there are
circumstances where acquisitions from the wild are needed in order to maintain healthy, diverse
animal populations and to support the objectives of managed species programs, in which case
acquisitions from the wild may be a preferable choice to breeding in human care.

Acquiring animals from the wild can result in socioeconomic benefit and environmental
protection and therefore the AZA encourages environmentally sustainable/beneficial acquisition
from the wild when conservation is a positive outcome.



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1. Before acquiring animals from the wild, institutions are encouraged to examine alternative
   sources including other AZA institutions and other regional zoological associations or other
   non-AZA entities.
                                                                              The Lacey Act prohibits the importation,
2. When acquiring animals from the wild, both the long-term health            exportation, transportation, sale, receipt,
   and welfare impacts on the wild population as well as on                   acquisition or purchase of wildlife taken or
                                                                              possessed in violation of any law, treaty or
   individual animals must be considered. In crisis situations, when          regulation of the United States or any Indian
   the survival of a population is at risk, rescue decisions will be          tribal law of wildlife law.
   made on a case-by-case basis by the appropriate agency and                 In cases when there is no documentation
   institution.                                                               accompanying an acquisition, the animal(s)
                                                                              may not be transferred across state lines. If the
                                                                              animal was illegally acquired at any time then
3. Institutions should only accept animals from the wild after a risk         any movement across state or international
                                                                              borders would be a violation of the Lacey Act.
   assessment determines the zoo/aquarium can mitigate any
   potential adverse impacts on the health, care and maintenance of
   the permanently housed animals, and the animals being acquired.

IV. TRANSFER AND TRANSITION REQUIREMENTS

A. Living Animals

Successful conservation and animal management relies on the cooperation of many entities, both
AZA and non-AZA. While preference is given to placing animals with AZA-accredited
institutions or certified related facilities, it is important to foster a cooperative culture among
those who share AZA’s mission of saving species.

1. Any transfer must abide by the Mandatory Standards and General             Attempts by members to circumvent AZA
                                                                              Animal Programs in the transfer or transition
   Advisories of the AZA Code of Professional Ethics which                    of animals may be detrimental to the
   indicates that AZA members should assure that all animals in               Association and its Animal Programs (unless
                                                                              the animal or animals are deemed extra in the
   their care are transferred and transitioned in a manner that meets         Animal Program population by the Animal
   the standards of the Association, and that animals are not                 Program Coordinator). Such action may be
                                                                              detrimental to the species involved and may be
   transferred or transitioned to those not qualified to care for them        a violation of the Association’s Code of
   properly.                                                                  Professional Ethics.


2. If the transfer of animals or their specimens (parts, materials, and products) involves a
   species managed by an AZA Animal Program, the institution should communicate with that
   Animal Program Leader and, in the case of Green SSP Programs must adhere to the AZA
   Full Participation Policy (http://www.aza.org/full-participation-in-ssp-program-policy/).

3. AZA member institutions should consult WCMC-approved TAG Regional Collection Plans,
   Animal Program Leaders, and Animal Care Manuals when making transfer decisions.

4. Animals acquired as animal feed are not typically accessioned into the collection. There may
   be occasions, however, when it is appropriate to use accessioned animals that exceed
   population carrying capacity as feeder animals to support other animals. In some cases,
   accessioned animals may be transitioned to “feeder animal” status by the local institution as
   part of their program for long-term sustained population management of the species.



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5. In transfers to non-AZA entities, AZA members must perform
                                                                                       Examples of documentation include ZIMS
   due diligence and should have documented validation, such as a                      records, “Breeding Loan” agreements, chain-
   letter of reference, that the recipient has the expertise and                       of-custody logs, letters of reference, transfer
                                                                                       agreements, and transaction documents.
   resources required to properly care for and maintain the animals.
   Supporting documentation must be kept at the AZA member
   institution.
                                                                                       Examples of domestic animals may include
                                                                                       certain camelids, cattle, cats, dogs, ferrets,
6. Domestic animals should be transferred in accordance with                           goats, pigs, reindeer, rodents, sheep,
   locally acceptable farm practices, including auctions, and subject                  budgerigars, chickens, doves, ducks, geese,
                                                                                       pheasants, turkeys, and goldfish or koi.
   to all relevant laws and regulations.

7. AZA members must not send any non-domestic animal to auction or to any organization or
   individual that may display or sell the animal at an animal auction. See certain taxa-specific
   appendices to this Policy (in development) for information regarding exceptions.

8. Animals must not be sent to organizations or individuals that allow the hunting of these
   individual animals; that is, no animal from an AZA institution may be hunted. For purposes
   of maintaining sustainable zoo and aquarium populations, AZA-accredited institutions and
   certified related facilities may send animals to non-AZA organizations or individuals. These
   non-AZA entities (for instance, ranching operations) should follow appropriate ranch
   management practices and other conservation minded practices to support population
   sustainability.

9. Every loaning institution must annually monitor and document the conditions of any loaned
   specimen(s) and the ability of the recipient(s) to provide proper care. If the conditions and
   care of animals are in violation of the loan agreement, the loaning institution must recall the
   animal or assure prompt correction of the situation. Furthermore, an institution’s loaning
   policy must not be in conflict with this AZA Acquisition, Transfer and Transition Policy.

10. If living animals are sent to a non-AZA entity for research purposes, it must be a registered
    research facility by the U.S. Department of Agriculture and accredited by the Association for
    the Assessment & Accreditation of Laboratory Animal Care, International (AAALAC), if
    eligible. For international transactions, the receiving facility must be registered by that
    country’s equivalent body having enforcement over animal welfare. In cases where research
    is conducted, but governmental oversight is not required, institutions should do due diligence
    to assure the welfare of the animals during the research.

11. Transition: reintroductions and release to the wild. The reintroduction of animals must meet
    all applicable local, state, and international laws and regulations.
    Reintroductions may be a part of a recovery program and must be          Examples of “Transition” include movements
    compatible with the IUCN Reintroduction Specialist Group’s               of animals from zoo/aquarium populations to
                                                                             the wild through reintroductions or other legal
    Reintroduction Guidelines (http://www.iucnsscrsg.org/index.php).         means, or the transition of an animal from
                                                                                       living to dead.

12. Transition: humane euthanasia. Humane euthanasia may be
    employed for medical reasons to address quality of life issues for animals or to prevent the
    transmission of disease. AZA also recognizes that humane euthanasia may be employed for



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    managing the demographics, genetics, and diversity of animal populations. Humane
    euthanasia must be performed in accordance with the established euthanasia policy of the
    institution and follow the recommendations of current AVMA Guidelines for the Euthanasia
    of Animals (2013 Edition https://www.avma.org/KB/Policies/Documents/euthanasia.pdf) or
    the AAZV’s Guidelines on the Euthanasia of Non-Domestic Animals.

B. Non-Living Animals and Specimens

AZA members should optimize the use and recovery of animal remains. All transfers must meet
the requirements of all applicable laws and regulations.

1. Optimal recovery may include performing a complete necropsy including, if possible,
   histologic evaluation of tissues which should be a key component of optimal recovery before
   specimens’ use in education/exhibits. AZA SSP and TAG necropsy and sampling protocols
   should be accommodated. This information should be available
   to SSP Programs for population management.                           It is best practice for modern zoos and
                                                                                  aquariums to establish relationships with
                                                                                  nearby museums or other biorepositories, so
2. The educational use of non-living animals, parts, materials, and               that they can maximize the value of animals
   products should be maximized, and their use in Animal Program                  when they die (e.g., knowing who to call when
                                                                                  they have an animal in necropsy, or specimens
   sponsored projects and other scientific projects that provide data             for cryopreservation).
   for species management and/or conservation must be considered.
                                                                                  Natural history museums that are members of
                                                                                  the Natural Science Collections Alliance
3. Non-living animals, if handled properly to protect the health of               (NSCA) and frozen biorepositories that are
                                                                                  members of the International Society of
   the recipient animals, may be utilized as feeder animals to                    Biological and Environmental Repositories
   support other animals as deemed appropriate by the institution.                (ISBER) are potential collaborators that could
                                                                                  help zoos find appropriate repositories for
                                                                                  biological specimens.
4. AZA members should consult with AZA Animal Program
   Leaders prior to transferring or disposing of remains/samples to
   determine if existing projects or protocols are in place to optimize use.

5. AZA member institutions should develop agreements for the
                                                                                  When specimens are transferred, the
   transfer or donation of non-living animals, parts, materials,                  transferring and receiving institutions should
   products, and specimens and associated documentation, to non-                  agree on data that must be transferred with the
                                                                                  specimen(s). Examples of associated
   AZA entities such as universities and museums. These                           documentation include provenance of the
   agreements should be made with entities that have appropriate                  animal, original permits, tags and other
                                                                                  metadata, life history data for the animal, how
   long term curation/collections capacity and research protocols, or             and when specimens were collected and
   needs for educational programs and/or exhibits.                                conserved, etc.




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                             CODE OF PROFESSIONAL ETHICS


                                               PREAMBLE

The continued existence of zoological parks and aquariums depends upon recognition that our profession
is based on the respect for the dignity of the animals in our care, the people we serve, and most
importantly, for each other. Members of the American Association of Zoological Parks and Aquariums
(known as American Zoo and Aquarium Association or "AZA") have an important role in the preservation
of our heritage. To fulfill this role, we must understand the relationships we share with the public, the
animals under our care, and with each other. A consequent obligation of membership is to maintain high
standards of ethical conduct. Members must have the courage and foresight to live up to their
responsibilities within principles of professionalism.

A code of ethics provides standards by which we can judge our professional conduct. We must find in our
consciences the point against which to test our actions. It is our desire to maintain the respect and
confidence of fellow members and the public that ought to provide us with incentive for the highest degree
of ethical conduct. The possible loss of that respect and confidence numbers among the severest
sanctions possible.

So long as our profession is guided by these principles, ours will continue to be a respected profession.


                                 CODE OF PROFESSIONAL ETHICS


The following Code of Professional Ethics of the American Zoo and Aquarium Association (AZA) shall
form the basis for all disciplinary actions of the Association.

Deviation by a member from the AZA Code of Professional Ethics or from any of the rules officially
adopted by the Board of Directors supplemental thereto, or any action by a member that is detrimental to
the best interest of the zoo and aquarium profession and the AZA, shall be considered unethical conduct.
The member shall be subject to investigation by the AZA Ethics Board and, if warranted, to disciplinary
action by the Ethics Board and/or the AZA Board of Directors. The Code is intended as an inspirational
guide for members and as a basis for disciplinary action.

This Code cannot apply to nonmembers, except as they have agreed to follow the Code in a signed
agreement to participate in an AZA program. This Code defines the type of ethical conduct the public has
a right to expect, not only of staff members of an institution but also of their nonprofessional employees
and associates in all matters pertaining to professional zoological park and aquarium employment. The
director and/or governing authority of a member institution should ultimately be responsible for the
conduct of their employees and others affiliated with the member institution.

The Obligations of Professional Ethics set forth are aspirational in character and represent the objectives
towards which every member should strive.

The Code's Mandatory Standards, unlike the Obligations of Professional Ethics, are mandatory in
character and, if violated, may result in disciplinary action. The Mandatory Standards, to be uniformly
applied to all members, establish a level of conduct below which no member may fall without being
subject to disciplinary action. The Code makes no attempt to prescribe either disciplinary procedures or
penalties for violation of Mandatory Standards. The severity of judgment against a member found to be in
violation of a Mandatory Standard shall be determined by the character of the offense and the attendant
circumstances. The Ethics Board, in applying the Mandatory Standards, may find interpretive guidance
in the basic principles embodied in the standards and objectives reflected in the Obligations of
Professional Ethics.




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The Board of Directors and Ethics Board shall be responsible for interpreting the Code of Professional
Ethics, subject to all provisions of the Charter and Bylaws. The Ethics Board shall investigate allegations,
render decisions, and prescribe subsequent actions and/or penalties. An appeal may be made to the AZA
Executive Committee within thirty (30) days of the date of mailing the Ethics Board decision to the
complainant and defendant. Appeals may be granted if the Executive Committee concludes that the
complainant or defendant appealing the Ethics Board decision has demonstrated that (1) there are new
facts, not known at the time of the Ethics Board investigation, which the Executive Committee believes
may have changed the outcome; or (2) the Ethics Board did not follow relevant AZA procedures; or (3) the
penalty recommended by the Ethics Board was excessive under the circumstances. An appeal
shall be granted upon a majority vote of the AZA Executive Committee. If the request for an appeal is
granted, the Board of Directors shall hear the appeal at its next regularly scheduled meeting. The
appellate decision of the Board of Directors shall be final and cannot be appealed.


I. OBLIGATIONS OF PROFESSIONAL ETHICS

In order to promote high standards of conduct in our profession, the AZA has formulated the following
basic principles for the guidance of its members:

AS A MEMBER OF THE AZA, I PLEDGE TO:

A.   Realize that I have moral responsibilities not only to my professional associates, my fellow
     employees, and the public, but also to the animals under my care.
B.   Display the highest integrity, the best judgment or ethics possible, and use my professional
     skills to the best interests of all.
C.   Deal fairly with members in the dissemination of professional information and advice.
D.   Use only legal and ethical means when seeking to influence governmental legislation or
     regulations.
E.   Promote the interests of wildlife conservation, biodiversity, and animal welfare to the public
     and to colleagues.
F.   Maintain high standards of personal, professional, and business conduct and behavior.
G.   Promote the interests of AZA and do my full share of work in support of the concepts and
     ideals of AZA.
H.   Cooperate with qualified zoos/aquariums and other qualified persons/organizations in breeding
     programs of endangered and other species.
I.   Aid the professional development of those who enter the zoological park and aquarium
     profession by assisting them to understand the functions, duties, and responsibilities of the
     profession.
J.   Seek opportunities to be of constructive service in civic affairs and, to the best of my ability,
     advance the understanding of all nature to the community in which I live.
K.   Encourage publication of significant achievements in breeding husbandry, medical
     technology, architecture, etc., in the appropriate publications generally familiar to members.
L.   Endeavor at all times to improve zoos and aquariums.


II. MANDATORY STANDARDS

1.   MAINTAINING INTEGRITY AND COMPETENCE OF THE ZOOLOGICAL PARK
     AND AQUARIUM PROFESSION
     a. A member shall make no materially false statement or deliberately fail to disclose a
        material fact in connection with an application for membership or accreditation in AZA.
     b. A member shall not endorse the application for membership in AZA of a person known by that
        member to be unqualified in respect to character, education, length of service, or some other
        relevant factor.

2.   MISCONDUCT
     a. A member shall not violate a Mandatory Standard.




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     b. A member shall not solicit the aid of another individual to circumvent, or assist another to
        violate, a Mandatory Standard.
     c. A member shall not knowingly engage in activities contrary to local, state, federal, or
        international laws as such laws relate to our profession; and a member will, to the best of his or
        her ability, cooperate with governmental agencies regulating animal welfare and animal
        transactions.
     d. A member shall not engage in conduct that adversely affects, or is prejudicial to, the
        concepts and ideals of the AZA.
     e. A member shall make every effort to assure that all animals in his/her collection and under
        his/her care are disposed of in a manner which meets the current disposition standards of
        the Association and do not find their way into the hands of those not qualified to care for
        them properly.

3.   DISCLOSURE OF INFORMATION
     a. A member shall not knowingly misinform others regarding animal records or specimen
        disposition, professional information, and advice.
     b. A member shall not alter animal records or alter the facts concerning age, condition, or
        other material information about any animal in order to affect the sale, trade, loan, or
        other transaction with respect to such animal.
     c. A member shall immediately bring to the attention of the Ethics Board of the AZA any
        information concerning a clear violation of a Mandatory Standard.
     d. A member shall issue no statement to the public which he/she knows (or should know) to
        be false or misleading.


GENERAL ADVISORIES

The policies outlined below have been previously adopted by the AZA Board of Directors and are
considered to expand the interpretation of the AZA Code of Professional Ethics that was developed to
guide ethical conduct of all members. Amendments can be proposed by the AZA Board of Directors, the
Ethics Board, and/or AZA members. Any proposed changes shall be reviewed by the Ethics Board and, as
appropriate, by legal counsel. Proposed changes shall be submitted to the AZA Board of Directors for
action.

Animal Auctions (1981)

AZA members offering wildlife for sale at auctions attended by the general public are in violation of the
AZA Code of Professional Ethics, specifically Mandatory Standards, 2-e, which states, "As a member of
AZA, I pledge to...make every effort to assure that all animals...do not find their way into the hands of
those not qualified to care for them properly."

Use of Animal Exchange (1984)

Individuals may utilize Animal Exchange to purchase specimens if the following criteria are followed: the
individual should, during the initial contact, identify his or her intentions and make the seller aware if the
specimen(s) will go to the purchaser's private collection and not the zoo in question (adopted by the
Ethics Board at the direction of the AZA Board).

Notification of Ethics Code Violations (1986-revised 1993)

Copies of all final actions (the denial of an appeal to the Executive Committee or notification to the
complainant and defendant of the appellate decision) regarding violations of the Code of Professional
Ethics shall be sent to the Director, Chief Executive Officer, or Governing Authority of the institution of
the defendant(s) involved. Such final actions shall be published in Communiqué, including a brief and
factual statement of the action, including the name(s) of the defendant(s) involved in the violation and a
listing of the sections of the Code which were violated to provide guidance for AZA members.




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Procurement of SSP Animals (1986-modified 1990-revised 1993)

Attempts by members to circumvent AZA conservation programs in the procurement and/or disposition
of specimens of SSP animals are detrimental to the Association and its conservation programs. Such
action may be detrimental to the species involved and could be construed as a violation of the
Association's Code of Professional Ethics. All Association members should work through SSP species
coordinators and appropriate propagation groups in efforts to procure or dispose of specimens of SSP
species.


                                             ETHICS BOARD

The Ethics Board, elected by the membership, has separate duties from the AZA Board of Directors. The
Ethics Board shall consist of nine (9) members. The Ethics Board proposed guidelines on the function of
the Ethics Board for consideration during the San Diego Annual Conference in 1977. The AZA Board of
Directors unanimously adopted these guidelines and revised them in 1993:

All Ethics Board matters shall be handled in accordance with the objectives and standards of the
Association’s Code of Professional Ethics.

Matters called to the attention of the Ethics Board must be in writing and addressed to the Chairman or
any member of the Ethics Board. The ethics charge must be signed by the complainant and must contain
a full statement of the matter to be reviewed by the Ethics Board.

An individual filing an ethics complaint shall be advised that full disclosure of the complaint shall be
made available to all parties concerned. At this time, the complainant has the right to withdraw the
complaint; and thus, the matter will be closed.

The Ethics Board, the complainant, and the defendant shall at all times during the investigation maintain
strict confidentiality regarding the case.

The initial responsibility of the Ethics Board is to determine the validity of the charge(s). If the charge(s)
appears to be valid, the Ethics Board shall initiate a full investigation. Once a full investigation is
initiated, the Ethics Board must determine if an Ethics Code violation has occurred and what action
and/or penalty is necessary. In making its determination, the Ethics Board shall consult, where necessary
or appropriate, with AZA legal counsel. The Ethics Board has the responsibility and authority to issue a
judgment and determine disciplinary actions. The AZA Board of Directors serves as an appellate board.

The AZA Board of Directors may also direct the Ethics Board to perform additional duties as needed.

The following procedures are hereby established:

The Chairman of the Ethics Board will distribute copies of all duly received ethics complaints to members
of the Ethics, Board, the AZA President, Executive Director, Deputy Director, and the AZA Board Liaison
to the Ethics Board. All correspondence pertaining to the case shall be marked “Confidential.” The
Chairman shall request each Ethics Board member to render an opinion as to the validity of the complaint
and make a recommendation on how to proceed and action to be taken.

The Chairman shall review all recommendations, suggest an Ethics Board action and, if necessary,
arrange an appearance before the Ethics Board and/or a site visitation.

The Ethics Board may dismiss any charge for which there is insufficient evidence to pursue the
investigation or for which there is no apparent violation of the Ethics Code. The complainant, defendant,
and the Board of Directors shall be notified by the Ethics Board of the decision, for which there is no
appeal.

The Ethics Board may determine that there is no clear violation or proof of a violation but that there is
concern about the conduct of a member. The Ethics Board may issue a letter of concern.



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If the Ethics Board determines that a violation of the Code has occurred, the following options shall be
considered: (A) Letter of Reprimand from the Ethics Board. (B) Letter of Reprimand from the Ethics
Board and the AZA Board of Directors. (C) Censorship and suspension of certain membership privileges
(up to 2 years), to be determined on a case-by-case basis. (D) Expulsion from AZA membership for a
minimum of two years. The Ethics Board may function as an investigative body as it determines whether
or not a violation has occurred. The Ethics Board shall make its determination based upon the greater
weight of the evidence presented to it. Ethics matters often do not involve legal matters but are founded
on moral values and industry standards and practices. Where necessary or appropriate, the Ethics Board
shall consult with AZA legal counsel.

The Ethics Board shall deliberate, during a meeting or conference call, on the final determination and
action to be taken. Actions by the Ethics Board shall require a two-thirds (2/3) vote of its members.
When a two-thirds (2/3) majority vote of guilty is not received the issue shall be dropped.

The Chairman of the Ethics Board shall submit a report to the President, Executive Director, Deputy
Director, AZA Board Liaison Representative, and legal counsel, if necessary, with the Ethics Board’s
findings and course of disciplinary action to be taken prior to advising the complainant and defendant.

The Chairman of the Ethics Board shall advise the complainant and the defendant of the findings and
action taken by the Ethics Board.

An appeal may be made to the AZA Executive Committee within thirty (30) days of the date of mailing the
Ethics Board decision to the complainant and defendant. Appeals may be granted if the Executive
Committee concludes that the complainant or defendant appealing the Ethics Board decision has
demonstrated that (1) there are new facts, not known at the time of the Ethics Board investigation, which
the Executive Committee believes may have changed the outcome; or (2) the Ethics Board did not follow
relevant AZA procedures; or (3) the penalty recommended by the Ethics Board was excessive under the
circumstances. Appeals shall be granted upon a majority vote of the AZA Executive Committee. The AZA
Board of Directors shall hear the appeal at its next regularly scheduled meeting. The appellate decision of
the Board of Directors shall be final and cannot be appealed.

At least one member of the Ethics Board shall be present during the appeal.

The Ethics Board shall notify the complainant and the defendant of the final action of the AZA Board of
Directors once the appellate decision has been rendered.




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GENERAL ADMINISTRATIVE POLICIES

Accidents Involving Injury or Welfare. Should an accident occur at an accredited
institution involving serious injury or affecting the welfare of a visitor, staff, or institution
animal, a written report must be submitted to the Accreditation Commission within thirty (30)
days explaining what happened and noting what actions are being taken by the institution as a
result. The Commission will determine if a special inspection or other action is necessary and
will notify the institution in writing once a decision has been made.

Considerations for submitting such reports include:
Staff Injuries – site and/or animal-related injury to staff, causing death or significant trauma
resulting in extended hospital stay and/or sustained disability.
Public Injuries – site and/or animal-related injury to people other than staff, causing death or
significant trauma resulting in extended hospital stay and/or sustained disability.
Animal Incidents – these include unusual circumstances involving a single animal or group
of animals, and/or incidents of mass mortality; escape of a dangerous animal or mass escapes of
any species within the zoo or during transport; or death/grievous trauma to individuals of an
endangered or other notable species within the zoo or during transport.

Accidents Resulting In Human Fatality: An on-site inspection shall be automatic after
any accident involving an animal that results in a human fatality. The inspection shall focus on
the incident and shall be scheduled to take place as soon after the incident as can be reasonably
scheduled. Site related human fatalities not involving an animal shall be immediately assessed
by AZA relative to the AZA Accreditation Standards. The Commission shall determine if a
special inspection is necessary in those cases and will notify the institution in writing once a
decision has been made. Institutions are responsible for submitting a written report to the
Accreditation Commission as noted under “Accidents Involving Injury or Welfare”, above.

Accreditation Cycle: The cycle of accreditation shall be five years, after which an institution
must undergo the full accreditation process again. Exceptions: In cases where an applicant
processes and is granted accreditation on a cycle in conflict with the geographic rule, its initial
accreditation cycle will be shortened to four and a half years to place it on the proper seasonal
cycle for future inspections (see Geographic Location, page 94). If an extension is granted, the
year of extension shall be deducted from the institution’s subsequent five-year accreditation
cycle if the institution receives accreditation at the end of the year of extension (see Extensions
of Accreditation, page 94). If an institution is tabled, the year of tabling shall be deducted from
the institution’s subsequent five-year accreditation cycle if the institution receives accreditation
at the end of the tabled year (see Table Accreditation, pages 21–22 of the 2015 Guide to the
Accreditation of Zoological Parks and Aquariums).

Addition of an Elephant Inspector. For institutions with elephants, an inspector who
specializes in elephants will be added to the regular team and will focus on the institution’s
elephant program.

Addition of a Specialist Inspector. It is occasionally necessary for a specialist inspector to
be added to an inspection team. The Commission will determine, on a case by case basis, when
this is justified and will notify the institution. Examples would be zoological parks with
aquarium facilities of a sufficient size and nature to require an inspection team member




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specializing in aquatics. The same would be true of aquariums with exhibits containing land-
based animals, etc.

Attendance At The Hearing (Who Should Be There). The institution’s CEO/Director
must attend the hearing to answer questions, authorize action, and to make any statements
desired. The CEO/Director may bring to the hearing any individual(s) he or she would like to
have present. This may include members of the institution’s staff, governing authority, support
organization, or local government officials. If the CEO/Director cannot attend, a written
notification must be provided to AZA as soon as possible. The notification must include an
explanation, and give full authority to an individual selected by the CEO/Director to represent
the institution in place of the CEO/Director.

CEO/Director Requirement For Applicants Not Currently Accredited. Any
institution not currently accredited may not apply for accreditation if it is without a permanent,
full-time CEO/Director. Materials may not be submitted under the leadership of an Interim or
Acting Director.

CEO/Director Vacancy. When a vacancy occurs in the position of CEO/Director an
accredited institution must notify the Accreditation Commission in writing, and a follow-up
letter must be submitted to the Commission every six months thereafter reporting the status of
the search until such time as the position is filled. An accredited institution that is without the
services of a permanent, full-time, compensated CEO/Director for longer than one year may be
subject to loss of accreditation and membership.

CEO/Director Vacancy Occurring Immediately After Receiving Accreditation. If a
CEO/Director vacates his or her position at the institution within ninety days of receiving
accreditation, the Commission may, in its discretion, require written biannual progress reports,
or may require that the institution reprocess again at the earliest opportunity to do so once a
new CEO/Director is in place.

Change of Governance. A change in governance refers to a change of the governing
authority, such as from a governmental agency to society or vice versa. If a change in
governance occurs, a letter or affidavit from the CEO or chairperson of the new governing
authority is required pledging to uphold and abide by accreditation standards, including the
AZA Charter & Bylaws, Code of Ethics, Acquisitions, Transfers, and Transitions Policy, and
other related policies. The letter must be sent to the Commission within 30 days of the
governance change.

Change of Location. In the event of a relocation of an accredited institution, the institution
must reprocess for accreditation as soon as the new location is officially open. An application
must be received by the submission deadline that falls immediately prior to, or following, the
opening.

Change of Ownership. A change in ownership refers to the sale or formal transfer of
ownership of an institution. In the event of a change in ownership of an accredited institution,
the institution must reprocess for accreditation within 12 months, regardless of when its
accreditation is scheduled to expire. A letter or affidavit from the CEO or chairperson of the
purchasing or receiving organization is also required pledging to uphold and abide by
accreditation standards, including the AZA Charter & Bylaws, Code of Ethics, Acquisitions,
Transfers, and Transitions Policy, and other related policies. The letter must also indicate the
new owner’s intent to submit materials applying for accreditation within the required time
period. The letter must be sent to the Commission within 30 days of final sale or transfer.




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Change of Scope. Accredited institutions must notify the Commission in writing in the event
that a change in the scope of its facility occurs (for example, the opening of a new exhibit of
significant proportions, or an exhibit that changes the overall scope of the institution, such as an
aquarium in a zoo, or land-based animals in an aquarium, etc.). The Commission may assign a
team, or individual, to conduct an inspection. Cost of such inspection shall be borne by the
accredited institution concerned. (See Interim and Follow-up Inspections, page 95.)

Complaints. If a documented, written complaint is received from a member of the general
public, the institution’s staff, or a professional colleague regarding an AZA-accredited
institution, the Commission will take steps to determine the situation and, based upon its
findings, will make recommendations to the institution, or take appropriate action. In some
cases the Commission may assign a team to conduct an inspection. (See Interim and Follow-
up Inspections, page 95.)

Elephant Management and Care – Requesting A Temporary Variance Under the
AZA Standards. Institutions requesting a temporary variance under the AZA Standards For
Elephant Management and Care should submit that request to the Accreditation Commission at
the time it becomes apparent that a temporary variance may be needed. The request should be
in the form of a letter detailing the temporary variance being requested, and should include all
necessary documentation. The Commission will consider the requested temporary variance and
will thereafter notify the institution of its decision. Variances may be granted for one-year, and
must be re-applied for annually. NOTE: institutions not currently AZA-accredited must be in
full compliance with AZA standards at the time application is made.

Extensions of Accreditation. Under extenuating or special circumstances extensions of
accreditation may be granted to extend current accreditation by one year. An institution
desiring an extension must submit a request in writing to the Accreditation Commission,
including a full explanation as to why the extension is being requested, as soon as possible to
avoid a potential lapse in accreditation and AZA membership. Before considering the request,
the Commission may require a site visit to assess the institution’s ability to maintain
accreditation standards during the period of extension. If a site visit is deemed necessary, it
must take place prior to any decision being made by the Commission. The Commission will
thereafter make a determination, and the institution will be notified. A second extension will be
considered only in extreme cases, and will require a site visit. If an extension is granted, the
year of extension shall be deducted from the institution’s subsequent five-year accreditation
cycle should the institution receive accreditation at the end of the year of extension. [NOTE:
Missing a deadline will not be considered an acceptable reason for extension of accreditation.
Extenuating or special circumstances shall not include a vacancy in the position of
CEO/Director.]

Geographic Location and Accreditation Cycle. To optimize weather conditions for
inspectors and to create a more even distribution of the case load for the Commission,
institutions located in geographic areas that typically experience a mild winter season will be
placed on a five-year accreditation cycle that affords a fall-winter inspection (i.e., will have their
accreditation expire in March). Institutions located in geographic areas that typically experience
a harsh winter season will be placed on a five-year accreditation cycle that affords a spring-
summer inspection (i.e., will have their accreditation expire in September). In cases where an
applicant processes and is granted accreditation on a cycle in conflict with the geographic rule,
its initial accreditation cycle will be shortened to four and a half years to place it on the proper
seasonal cycle for future inspections. NOTE: Because aquariums, by their nature, are




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primarily indoor facilities, they will be placed on a five-year accreditation cycle that affords a
fall-winter inspection (i.e., will have their accreditation expire in March).

Institutional Membership In AZA: Institutional membership and participation in AZA
must be maintained as a condition of accreditation.

Institutions Under Construction. Institutions currently being constructed may apply for
accreditation prior to the opening date; however, the on-site inspection will not take place until
the institution is officially open to the general public and a permanent, full-time CEO/Director
has been on board for at least six months. (See Deadlines and Early Submittals page 11 of the
2015 Guide to the Accreditation of Zoological Parks and Aquariums).

Institutions Within Institutions. In order to be accredited, a zoological park or aquarium
which is a part of a larger institution (such as a university, museum, or botanical garden) must
be distinct enough to be separately identified and must adequately fulfill the definition of a
zoological park or aquarium as earlier defined. When accreditation is granted in such cases, it
will apply only to the zoological park or aquarium concerned and not to the non-zoological
activities of the larger organization in fields in which AZA has no expertise.

Interim and Follow-up Inspections. The Accreditation Commission or AZA Board of
Directors may, at its discretion, assign a team to conduct an interim or follow-up inspection of
any AZA-accredited institution at any time during the five-year accreditation period. A follow-
up inspection shall be conducted for all tabled institutions at the end of the tabled period, as a
condition of proceeding forward in the process. While on site, the individual or team may, at
their discretion, inspect all or portions of the institution. Cost of such inspection shall be borne
by the institution as a requirement of maintaining and/or achieving accreditation. (See Mid-
Cycle Inspections, page 96).

**Mentoring Program. The Commission, itself, does not conduct “pre-accreditation”
inspections. However, the Commission strongly encourages institutions that are not AZA-
accredited to have their operations evaluated by an official mentor approved and assigned by the
Accreditation Commission prior to submitting an application. The Commission recommends
that currently-accredited institutions consider doing the same prior to undergoing the process
again when accreditation expires at the end of five-years (see Long Term Expectations page 23
of the 2015 Guide to the Accreditation of Zoological Parks and Aquariums). To request
assignment of a Commission-approved mentor, the institution should contact AZA accreditation
staff. A Commission-approved mentor is a professional from an accredited institution who
serves regularly as an inspector, is a past or present member of the Accreditation Commission,
or an Accreditation Commission Advisor. The Commission-approved mentor is considered by
the Accreditation Commission as being particularly well versed in current accreditation
standards, expectations, and fundamental AZA philosophies and best practices, and can be
consulted throughout the preparation phase. The mentor will be available to the institution by
phone throughout the preparation process to provide guidance regarding policies, procedures,
agreements, situations, philosophies, and the assembly of the application materials as needed.
In addition, it is considered important that the mentor visit the applicant institution for an
unofficial inspection at least once, and thereafter as desired by the institution. Following the
inspection, the mentor will provide a list identifying all things (including physical facilities and
related issues, as well as practices and/or documents) that need work prior to making
application, or before the official inspection, as the case may be. Additionally, in the case of
first-time applicants, the mentor will provide a professional opinion as to whether the
institution is best advised to make application later rather than sooner and, if later, may
continue to work with the institution long-term in guiding it to full readiness. Any costs




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incurred by the mentor (including related travel, accommodations, and meals) are to be
reimbursed directly to the mentor by the applicant institution.

Mentors should be requested at least one year prior to submitting an application, and no
earlier than five years prior to submitting an application. Mentors cannot be provided at the
time of application or after an application is submitted. Having a mentor does not guarantee
that an institution will be granted accreditation. Accreditation can only be achieved by a
judgment from the AZA Accreditation Commission that the applicant institution meets or
exceeds all AZA standards, and supports and employs AZA practices and philosophies.

**[NOTE: AZA is in the process of creating a formalized mentoring program to be called
“Candidate for Membership”. At such time as this program becomes available, it will replace the
mentoring system described above for institutions that are not currently accredited by AZA. The
“Candidate for Membership” program is anticipated to launch in 2015. Please check with the
AZA office for details.]

Mid-Cycle Inspections. The Accreditation Commission may, at its discretion, require a mid-
cycle inspection as a condition of maintaining accreditation. When such an inspection is
required, the visiting team will focus on key areas identified when accreditation was issued, and
will also review the institution as a whole. Cost of such inspection shall be borne by the
institution as a condition of maintaining accreditation. An application and application fees are
not required.

Mid-cycle inspections may apply to the following:

     • Institutions that are tabled and receive accreditation one year later.

     • Institutions that meet minimum standards when accreditation is granted but that the
       Commission believes may be challenged in successfully maintaining AZA standards
       throughout the full five-year cycle of accreditation.

Multiple Facilities Under One Authority. If two or more institutions are under the same
ownership and governing authority, administration, or control, are located adjacent to each
other, and public admittance for all institutions is covered by a single entrance fee, they will be
considered as a single institution. In such cases, the institution(s) should first submit a request
in writing for the consideration of the Commission. All facilities are subject to inspection.
Should the Commission determine that the institutions do not meet the above criteria,
processing as separate facilities will be necessary.

Offsite Facilities. The inspection will include an institution’s offsite facilities. An offsite
facility is one that is owned and operated by the institution, is not open to the public, and
operates in support of the institution. Institutions must list all offsite facilities. Examples of
offsite facilities include, but are not limited to: food storage areas, maintenance, quarantine,
and animal holding areas. The Primary Reviewer, in consultation with the inspection team
chair, will determine which of these areas need to be inspected.

Rescinding Accreditation. The Commission may rescind accreditation at any time if it
concludes that accreditation standards are not being consistently met and maintained.

Temporary Closings. Institutions temporarily closed to the public will retain their
accreditation and their AZA membership. Should an institution’s cycle of accreditation review
fall within the period of temporary closure, an extension must be requested in writing prior to




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the institution’s regular deadline for submission of accreditation materials. During the period of
closure, a written Progress Report must be submitted every six months until such time as the
institution has re-opened. Upon re-opening, the institution must submit materials for full
accreditation review by the first deadline that falls after re-opening. In the case of institutions
closed for less than six (6) months, a waiver may be requested in writing.




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